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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION
   ____________________________________
   LILA WILSON, MATTHEW                    :
   MARTINO, THOMAS WILSON,                 :    CASE NO: 17-cv-23033-SCOLA-TORRES
   TERESA GARELLA, MARY BLUE,              :
   RYAN BROWN, BRIAN MAYTUM,               :
   LEIGH GLASBAND, NICK                    :
   PANOPOULOS, CARISSA                     :
   MACCHIONE, SYDNEE                       :
   JOHNSON, JORGE CRUZ, DEBBIE             :
   GRAY, LORNE SPELREM, and                :
   ISMAEL ORRANTIA                         :
   on behalf of themselves and all others  :
   similarly situated,                     :
                                           :
          Plaintiffs,                      :
                                           :
                  v.                       :
                                           :
   VOLKSWAGEN GROUP OF                     :
   AMERICA, INC. and Volkswagen AG, :
                                           :
          Defendants.                      :
   ____________________________________:

                             AMENDED CLASS ACTION COMPLAINT

           The Plaintiffs, based on personal knowledge as to themselves, and upon information and

   belief as to all other matters, allege as follows:

                                      NATURE OF THE CLAIMS

           1.      This case arises out of a life-threatening defect in the Volkswagen CC.

           2.      People trust and rely on motor vehicle manufactures to make cars with reliable

   critical safety features to prevent clear danger of death or personal injury.

           3.      Motor vehicle suspension systems are one of the critical safety features that

   people trust and rely on car manufacturers to make.




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          4.      The Defendants designed, manufactured, installed, marketed, sold, and/or

   distributed CC model vehicles with defective suspension components.

          5.      This Action is brought on behalf of a nationwide class of owners and lessees of

   Volkswagen CC model vehicles who, from 2009 to the present, leased or purchased Volkswagen

   CC model vehicles (the “Class Vehicles”).

          6.      This Action is also brought on behalf of state sub-classes of owners and lessees

   from Arizona, California, Florida, Georgia, Louisiana, Missouri, New Jersey, New York, North

   Carolina, Ohio, Pennsylvania, Texas, Utah, and Virginia who, from 2009 to the present, leased

   or purchased Volkswagen CC model vehicles.

          7.      Together, these owners and lessees of the Class Vehicles are referred to herein as

   the Class Members.

          8.      The Defendants, Volkswagen Group of America, Inc. and Volkswagen AG (“the

   Defendants” or “Volkswagen”), designed, manufactured, tested, warranted, distributed, and sold

   the defective Volkswagen CC model vehicles from 2010 to the present.

   I.     The CC’s Suspension System Is Defective
          A.      A Properly Designed And Functioning Suspension System Must Allow The
                  Car To Maintain Its Proper Camber
          9.      A vehicle’s suspension connects the vehicle to its wheels.

          10.     A vehicle’s suspension is designed to maximize and maintain the friction and

   contact between the tires and the road surface, to provide vehicle stability with safe handling and

   tire control, and to ensure the ride comfort of the passengers.

          11.     Typically, a vehicle’s suspension system will be designed to cause the vehicle’s

   tires to contact the road at a specified set of angles, called alignment specifications.

          12.     The primary alignment specifications are called toe, caster, and camber.


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           13.     Camber is the amount of angle at which the tire slants away from the vertical axis,

   while being viewed from the front or back of the vehicle.

           14.     Vehicles that are operated with incorrect camber develop improper and

   accelerated tire wear, which is sometimes referred to as, among other things, tire “cupping” or

   “feathering.”

           15.     Improper and accelerated tire wear is very dangerous, because it degrades a

   vehicle’s handling, particularly in emergency situations, such as attempts to avoid objects in the

   road.

           16.     Volkswagen itself acknowledges this in the Owner’s Manuals for the Class

   Vehicles, which warn that “[d]riving with worn or damaged tires can lead to loss of vehicle

   control, sudden tire failure including blowouts and sudden deflation, crashes and serious

   personal injuries.” (emphasis added).

           17.     Furthermore, a recent study by the National Highway Transportation Safety

   Administration (“NHTSA”) showed that tire-related crashes were more likely when the vehicle’s

   tire tread is worn down or degraded, which is precisely the kind of damage that the Defect

   presents. The NHTSA study also stated that “inadequate tread depth can also cause blowouts of

   tires,” which has happened to two of the named plaintiffs in this action.

           18.     Properly designed and functioning suspension components should allow a

   technician to adjust the vehicle’s camber in the event that it deviates from the manufacturer’s

   alignment specifications, either because of normal use or because it came off the assembly line

   misaligned.




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           B.     The CC’s Suspension System Is Defective Because It Does Not Permit The
                  CC To Maintain Proper Camber

           19.    The CC’s suspension components are defective because they do not allow

   technicians to adjust the vehicles’ front camber and do not allow sufficient adjustments to the

   rear camber if they deviate from Volkswagen’s alignment specifications.            This Amended

   Complaint refers to the faulty suspension system as the “Defect.”

           20.    As a practical matter, all vehicles will eventually deviate from the manufacturer’s

   alignment specifications, either as soon as they roll off the assembly line or through normal use.

           21.    Thus, all CCs, either as soon as they roll off the assembly line or through normal

   use, develop a misaligned camber that cannot be corrected via the suspension components that

   Volkswagen built into the vehicles.

           22.    As a result of the misaligned camber, CCs develop improper and accelerated tire

   wear.

           23.    Simply changing the vehicles’ tires will not solve the problem, because the new

   tires will also suffer improper and accelerated wear.

           C.     Volkswagen Has Lied To CC Drivers About The True Cause Of Their
                  Improper And Accelerated Tire Wear

           24.    Volkswagen has offered no solution to this problem. Instead, as discussed further

   below, it has instructed its dealers to cover up the problem by telling CC drivers that the

   improper and accelerated tire wear that they have suffered was caused by, for example, erratic

   driving or bad tires, rather than the Defect, and that the only solution is to repeatedly replace

   prematurely worn tires.

           25.    Volkswagen’s instructions to its dealers are knowingly false. In fact, the improper

   and accelerated tire wear on CC vehicles is caused by the Defect.



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              26.   In addition, although there are permanent fixes for the Defect, Volkswagen has

   refused to publicize or authorize them and, as a result, Volkswagen dealers refuse to disclose

   these fixes to CC drivers or to perform the necessary repairs.

              27.   For example, one permanent solution to the defect is to remove the CCs’ existing

   control arm assemblies and replace them with different control arm assemblies that allow for

   sufficient adjustments to the vehicles’ camber.

              28.   Adequate aftermarket control arm assemblies currently exist and have existed on

   the market and could have been used by VW dealers to make this repair on the Class Vehicles.

              29.   Volkswagen knows of the existence of the adequate aftermarket parts.

   Nevertheless, Volkswagen has refused to issue any bulletins to its authorized dealers explaining

   this repair or to authorize the repair for at least two reasons.

              30.   First, Volkswagen has not acknowledged the Defect and the methods for repairing

   it because doing so would acknowledge that the CC’s existing suspension system is defective.

              31.   Second, Volkswagen’s express warranty requires Volkswagen to pay for the

   replacement of defective parts and workmanship and thus would cover the cost of the repairs

   necessary to permanently fix the Defect. But the warranty does not cover tire wear or driver

   error. Thus, by refusing to acknowledge that the improper and accelerated tire wear is caused by

   the Defect, Volkswagen has also avoided its contractual obligation to pay for the necessary

   repairs.

              32.   Rather than acknowledge the Defect, Volkswagen continues to order its dealers to

   defraud CC drivers by telling them that the appropriate repair is to repeatedly replace the

   vehicles’ tires, which is not, in fact, an adequate fix because it does not actually correct the

   underlying problem with the vehicles’ suspension systems.



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          33.     Since at least 2010, Volkswagen knew or should have known that the Class

   Vehicles are defective, that they suffer from the Defect, and that they are not fit for their

   intended purpose of providing consumers with safe and reliable transportation. Nevertheless,

   Volkswagen actively concealed this safety defect and failed to disclose it either to the Plaintiffs

   or to the Class Members.

          34.     Volkswagen concealed the Defect from the public while continuing to advertise

   its products as safe and reliable, showing a blatant disregard for public welfare and safety.

   Moreover, Volkswagen violated its affirmative duty, imposed under the Transportation Recall

   Enhancement, Accountability, and Documentation Act (the “TREAD Act”), to promptly advise

   customers about known defects.

          35.     Volkswagen also failed to warn the Plaintiffs and the Class Members about the

   Defect. In fact, even during the Class Vehicles’ warranty period, Volkswagen refused to correct

   or pay for the damage caused by the Defect.

          36.     Had the Plaintiffs and the other Class Members known about the Defect at the

   time of lease or purchase, they would not have bought or leased the Class Vehicles or, at the very

   least, they would have paid less for the Class Vehicles.

          37.     Prior to leasing or, as the case may be, purchasing the Class Vehicles, the

   Plaintiffs and the other Class Members did not know that the Class Vehicles suffered from the

   Defect and did not contemplate that the tires on the Class Vehicles would have to be replaced

   repeatedly and well in advance of their expected tread life. Nor were they aware that they would

   have to continue changing the Class Vehicles’ tires repeatedly over the entire life of the vehicles.




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            38.   As a result of the Defect, coupled with Volkswagen’s omissions and

   misrepresentations with respect to that Defect, the Plaintiffs and the Class Members have

   suffered an ascertainable loss of money (in the form of extra payments for degraded tires they

   have had to replace), a significant diminution in the value (including the resale value) of their

   Class Vehicles, and did not receive the benefit of their bargain.

                                            THE PARTIES

            39.   Lila Wilson is a Florida citizen who resides at 1773 Skyline Lane, Sebastian, FL

   32958.

            40.   Matthew Martino is a New Jersey citizen who resides at 20 Rutgers Avenue,

   Berkeley Heights, NJ 07922.

            41.   Thomas Wilson is a Texas resident who resides at 7131 Cypress Prairie Drive

   Cypress, TX 77433.

            42.   Teresa Garella is a Pennsylvania resident who resides at 1243 Snee Drive

   Pittsburgh, PA 15236.

            43.   Mary Blue is a Missouri resident who resides at 145 Brackleigh Lane

   Florissant, MO 63031.

            44.   Ryan Brown is a North Carolina resident who resides at 105 Zircon Lane

   Knightdale, NC 27545.

            45.   Brian Maytum is a California resident who resides at 4866 St. Augustine Drive

   Elk Grove, CA 95758.

            46.   Leigh Glasband is a Georgia resident who resides at 1515 Range Heights Terrace

   Loganville, GA 30052.




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            47.   Nick Panopoulos is an Ohio resident who resides at 1813 Westview Drive NE

   Warren, OH 44483.

            48.   Carissa Macchione is a New York resident who resides at 23 Aspen Road, Kings

   Park, NY 11755.

            49.   Sydnee Johnson is a Virginia resident who resides at 10402 Twin Knoll Way,

   Upper Malboro, MD 20772.

            50.   Jorge Cruz is a Texas resident who resides at 4901 Bridgewood Drive, Kaline, TX

   76549.

            51.   Debbie Gray is a Louisiana resident who resides at 2228 Halsey Avenue, New

   Orleans, LA 70114.

            52.   Lorne Spelrem is an Arizona resident who resides at 2250 East Deer Valley Road,

   Unit 30, Phoenix, AZ 85024.

            53.   Ismael Orrantia is a Utah resident who resides at 11289 Sandy Dunes, Sandy, UT

   84094.

            54.   The Defendant, Volkswagen Group of America, Inc., is a New Jersey corporation

   with its headquarters and principal place of business in Herndon, Virginia.

            55.   The Defendant, Volkswagen AG, is a German corporation and the parent

   company of Volkswagen Group of American, Inc. Its headquarters and principle place of

   business are in Wolfsburg, Germany. The two Defendants are herein referred to collectively in

   this Amended Complaint as “Volkswagen” or “Defendants” unless otherwise specified.

                                   JURISDICTION AND VENUE

            56.   Jurisdiction is proper in this Court pursuant to the Class Action Fairness Act, 28

   U.S.C. § 1332(d), because members of the proposed Plaintiff Class are citizens of states different



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   from the Defendants’ home states, and the aggregate amount in controversy exceeds $5,000,000,

   exclusive of interest and costs.

           57.      This Court has personal jurisdiction over the Plaintiffs because the Plaintiffs

   submit to the Court’s jurisdiction. This Court has personal jurisdiction over Volkswagen,

   pursuant to Florida Statutes § 48.193(1)(a)(1), (2), and (6), because it conducts substantial

   business in this District; some of the conduct giving rise to the Amended Complaint took place in

   this District; and some of the Plaintiffs’ claims arise out of the Defendants operating, conducting,

   engaging in, or carrying on a business or business venture in this state or having an office or

   agency in this state, committing a tortious act in this state, and causing injury to property in this

   state arising out of the Defendants’ acts and omissions outside this state; and at or about the time

   of such injuries, Volkswagen was engaged in solicitation or service activities within this state, or

   products, materials, or things processed, serviced, or manufactured by Volkswagen anywhere

   were used or consumed within this state in the ordinary course of commerce, trade, or use.

           58.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391(a) because a

   substantial part of the events or omissions giving rise to these claims occurred in this District, the

   Defendants have caused harm to Class Members residing in this District, and the Defendants are

   residents of this District under 28 U.S.C. § 1391(c)(2), because they are subject to personal

   jurisdiction in this district.

                                      FACTUAL ALLEGATIONS

           59.      The Plaintiffs bring this Action on behalf of themselves and a class of similarly-

   situated consumers who have purchased or leased the Class Vehicles with the Defect. The Defect

   endangers the lives of the Class Vehicles’ occupants and other drivers, imposes substantial costs




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   and inconvenience on vehicle owners and lessees who must repeatedly replace the Vehicles’

   tires, and negatively affects the resale value of the Class Vehicles.

     I.   The Plaintiffs

          Lila Wilson (Florida):

          60.       On or about October 22, 2011, Lila Wilson purchased a new 2012 Volkswagen

   CC sport sedan from a Volkswagen dealership located at 1416 S. Harbor City Blvd., Melbourne,

   Florida 32901.

          61.       Ms. Wilson is retired and has driven approximately 3,500 miles per year on her

   CC vehicle.

          62.       Ms. Wilson’s CC suffers from the Defect, and it has suffered from the Defect

   from the moment the car was manufactured.

          63.       Within the first year of purchasing the CC, Ms. Wilson noticed that there was an

   issue with loud road noise.

          64.       On numerous occasions within her first three years of owning the car, Ms. Wilson

   drove 30-40 miles to the Volkswagen dealership in Melbourne, Florida, and specifically

   complained about the road noise.

          65.       The Volkswagen dealership in Melbourne, Florida, repeatedly looked at the car in

   response to Ms. Wilson’s concerns and told her that there was nothing wrong with the car.

          66.       The dealership failed to mention the Defect, even though it acknowledged the

   excessive and premature amount of wear and tear on the vehicle’s tires.

          67.       Upon information and belief, the Volkswagen dealership in Melbourne, Florida,

   reported Ms. Wilson’s complaints about her CC to Volkswagen, but Volkswagen actively

   concealed the Defect by advising the dealership that there was no defect. Instead, Volkswagen



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   advised the dealership to tell Ms. Wilson that the road noise and tire wear were simply a non-

   defective design attribute of her “sports car.”

          68.      Finally, after driving approximately 16,000 miles on the vehicle—and after

   repeatedly receiving false assurances from Volkswagen--Ms. Wilson took the car to a private

   mechanic near her home.

          69.      In or about December 2016, the mechanic told Ms. Wilson that her tires were

   excessively worn down and cupped, and that the premature wear and cupping were related to

   problems with the design of the car.

          70.      Ms. Wilson replaced all four tires on her vehicle for a cost of approximately

   $500-700 with alignment and balancing.

          Matthew Martino (New Jersey):

          71.      On or about June 22, 2012, Matthew Martino leased a new 2013 Volkswagen CC

   Sport from a Volkswagen car dealership located at 118 Morristown Road, Bernardsville, New

   Jersey 07924.

          72.      Mr. Martino’s CC suffers from the Defect, and it has suffered from the Defect

   from the moment the car was manufactured.

          73.      In August 2013, Mr. Martino brought his CC to the Volkswagen dealership where

   he bought it for its 30,000 mile service. At that service visit, the dealership noted that the inside

   of the front left tire on the CC was completely worn, and that the back rear tire was worn and

   cupped. The dealership recommended that Mr. Martino pay for two new tires and an alignment.

          74.      Mr. Martino asked the dealership about the cause of the wear and cupping and

   was told that it was likely caused by “rim damage.” Mr. Martino questioned the explanation as

   he did not notice any damage to his rims.



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          75.     Mr. Martino also asked the dealership whether the issues with the worn and

   cupped tires was covered by his warranty. The dealership told Mr. Martino that the warranty did

   not cover the issue.

          76.     Mr. Martino brought his car back in for service at the dealership again in April

   2014. This time, the dealership noted that all four tires were worn and cupped and needed to be

   replaced.

          77.     Mr. Martino again asked about the cause of the tire wear and cupping and about

   the warranty. The dealership again said that the issue was likely related to “rim damage” and

   that it was not covered by the warranty.

          78.     In December 2014, Mr. Martino brought his car to Firestone to replace the brakes.

   At this visit, Firestone informed Mr. Martino that all four tires were again cupped and worn and

   needed to be replaced.

          79.     Mr. Martino asked Firestone about the potential cause of the tire wear and

   cupping issue. Firestone told Mr. Martino that the issue was caused by a defect in the vehicle’s

   suspension design. Mr. Martino asked whether “rim damage” could cause the tire wear and

   cupping. Firestone answered that the wear and cupping was not the result of “rim damage.”

          80.     In June 2015, Mr. Martino attempted to surrender his vehicle to Volkswagen, but

   Volkswagen refused to accept it. In so refusing, Volkswagen’s representatives explained that

   they would not accept the vehicle because, once again, it needed new tires and wheels.

          81.     In November 2015, Mr. Martino brought the car back to the Volkswagen

   dealership. The dealership again noted that two of his tires needed to be replaced. Mr. Martino

   specifically asked the dealership if there was a problem with the design of the vehicle’s

   suspension. The dealership answered that there was no such problem.



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          82.     The dealership suggested that Mr. Martino replace the struts and mounts on his

   front left and rear tires. He took the car to Firestone, which replaced the struts and mounts on his

   rear tires. Nonetheless, in February 2016 and then in January 2017, Mr. Martino had to replace a

   total of six more tires—all prematurely worn and cupped—because of the Defect.

          83.     In January 2017, Mr. Martino brought his CC to a Volkswagen dealership in

   Flemington, New Jersey.       He specifically asked the dealership if the problems he was

   experiencing with his tires could be caused by the setting on the car’s camber or a defective

   suspension design, and he was told that the problems were not caused by an defect in the car.

          84.     Since the start of his lease, Mr. Martino has had to replace all four of his vehicle’s

   tires on at least four separate occasions because of the Defect.

          85.     Each tire replacement cost Mr. Martino approximately $800-$1000 with

   alignment and balancing.

          86.     Upon information and belief, the Volkswagen dealership in New Jersey reported

   Mr. Martino’s complaints about his CC to Volkswagen, but Volkswagen actively concealed the

   Defect by advising the dealership that there was no defect and by prompting the dealership to tell

   Mr. Martino that there was no defect.

          Thomas Wilson (Texas):

          87.     In or about February 2012, Thomas Wilson purchased a new 2012 Volkswagen

   CC LT from a Volkswagen dealership located at 17113 Katy Freeway, Houston, Texas 77094.

          88.     Mr. Wilson’s CC suffers from the Defect, and it has suffered from the Defect

   from the moment the car was manufactured.

          89.     Mr. Wilson took his CC to the Volkswagen dealership where it was purchased for

   its 10,000-mile service. At that service visit, the Volkswagen dealership informed Mr. Wilson



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   that the front tires on the vehicle were cupped and needed to be replaced. The dealership also

   told Mr. Wilson that the vehicle needed to be realigned.

          90.     Mr. Wilson asked if the recommended repairs were covered by his warranty. The

   dealership told him that the repairs were not covered by his warranty because the tire wear and

   cupping were considered “wear and tear” and not defects.

          91.     Mr. Wilson then went to a separate auto service provider to get his tires aligned

   and replaced because the quote this service provider gave Mr. Wilson was significantly lower

   than the price the Volkswagen dealership had given him.

          92.     Since purchasing the car, Mr. Wilson has had to replace all four tires of his

   vehicle on four separate occasions because of the Defect. Each replacement cost approximately

   $500-700 with alignment and balancing.

          93.     Earlier this year, Mr. Wilson took his car to have the tires replaced and aligned at

   a non-Volkswagen service provider. That provider told Mr. Wilson that the tire wear and

   cupping issues he was experiencing were common to the CC and that the service provider sees

   those issues with the CC all the time.

          94.     After hearing this, Mr. Wilson went back to the Volkswagen dealership and told

   the service manager there about what the other service provider had said about the CC. The

   Volkswagen service manager told Mr. Wilson that there was nothing wrong with the CC and that

   issues related to the CC’s tires were a result of Mr. Wilson not maintaining the vehicle properly.

          95.     Upon information and belief, the Volkswagen dealership in Texas reported Mr.

   Wilson’s complaints about his CC to Volkswagen, but Volkswagen actively concealed the

   Defect by advising the dealership that there was no defect and by prompting the dealership to tell

   Mr. Wilson that there was no defect.



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          Teresa Garella (Pennsylvania):

          96.     On or about March 24, 2014, Teresa Garella purchased a new 2014 Volkswagen

   CC from a Volkswagen car dealership located at 3694 Washington Rd., McMurray,

   Pennsylvania 15317.

          97.     Ms. Garella’s CC suffers from the Defect, and it has suffered from the Defect

   from the moment the car was manufactured.

          98.     Within her first 8,000 miles with the CC, Ms. Garella noticed that the CC emitted

   loud road noise.

          99.     On March 15, 2016, Ms. Garella brought her CC to the Volkswagen dealership in

   McMurray, Pennsylvania, for an inspection.

          100.    The inspection revealed that the car “may require attention in the near future”

   related to its “tire wear pattern and tread depth.”

          101.    The Volkswagen dealership never told Ms. Garella about the Defect.

          102.    On March 4, 2017, Ms. Garella brought her CC to the same Volkswagen

   dealership for another inspection.

          103.    This time, the car failed inspection because of the tread depth and tire wear issues.

          104.    Ms. Garella had to have all four tires replaced on her CC on March 11, 2017,

   because of the failed inspection and the Defect. The mileage on her CC at the time was only

   13,954 miles. The replacement tires cost Ms. Garella around $700-800 with alignment and

   balancing.

          105.    Upon information and belief, the Volkswagen dealership in Pennsylvania reported

   Ms. Garella’s complaints about her CC to Volkswagen, but Volkswagen actively concealed the




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   Defect by advising the dealership that there was no defect and by prompting the dealership to tell

   Ms. Garella that there was no defect.

          Mary Blue (Missouri):

          106.    In or about April 2014, Mary Blue purchased a 2012 Volkswagen CC at an auto

   dealership in Missouri.

          107.    The vehicle had approximately 28,000 miles on it at the time of purchase and

   came equipped with brand new tires.

          108.    Ms. Blue’s CC suffers from the Defect, and it has suffered from the Defect from

   the moment that the car was manufactured.

          109.    In March 2015, just one year after purchasing the vehicle, Ms. Blue had to have

   all four tires on her CC replaced because the tires were unevenly worn and cupped. But, because

   Ms. Blue could not afford to buy all four the tires at the same time, she replaced two in March at

   a cost of approximately $300 and two more in July at a cost of $470 (with alignment).

          110.    In February 2017, all four of the tires on Ms. Blue’s CC were unevenly worn and

   cupped. She again replaced all four tires at an approximate cost of $650.

          Ryan Brown (North Carolina):

          111.    In or about November 2015, Ryan Brown purchased a 2010 Volkswagen CC at an

   auto dealership located at 2900 N. Main St., Fuquay-Varina, North Carolina 27526.

          112.    The vehicle had approximately 78,000 miles on it at the time of purchase and

   came equipped with brand-new tires.

          113.    Mr. Brown’s CC suffers from the Defect, and it has suffered from the Defect from

   the moment the car was manufactured.




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           114.   In November 2016, just one year after purchasing the vehicle and with only about

   13,000 miles on the tires, Mr. Brown had to have all four tires replaced on his vehicle due to the

   Defect at a cost of $500-700 with alignment and balancing.

           115.   The mileage on the vehicle at the time of the first tire replacement was 91,393.

   Just 14,000 miles later, in approximately October 2017, Mr. Brown had to have all four tires

   replaced again because they were worn and cupped. The cost for the tires was approximately

   $290.

           116.   In October 2017, Mr. Brown took the car to a Volkswagen dealership in North

   Carolina to have the car realigned. Mr. Brown asked the dealership why he repeatedly needed to

   replace his tires due to wearing and cupping, and he was told that the uneven wear and cupping

   was due to an aggressive sports suspension set-up. The Volkswagen dealership never disclosed

   the defect to Mr. Brown.

           117.   Upon information and belief, the Volkswagen dealership in North Carolina

   reported Mr. Brown’s complaints about his CC to Volkswagen, but Volkswagen actively

   concealed the Defect by advising the dealership that there was no Defect and by prompting the

   dealership to tell Mr. Brown that there was no defect.

           Nick Panopoulos (Ohio):

           118.   On or about September 14, 2011, Nick Panopoulos purchased a new 2012

   Volkswagen CC Turbo from a Volkswagen dealership located at 7850 Market St., Boardman,

   Ohio 44512.

           119.   Mr. Panopoulos’ CC suffers from the Defect, and it has suffered from the Defect

   from the moment the car was manufactured.




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          120.     Approximately six months after he purchased the car, Mr. Panopoulos brought his

   CC back to the dealership to have the tires rotated. After the tires were rotated were rotated, Mr.

   Panopoulos began noticing a loud noise emanating from the tires whenever he was driving.

          121.     In or about August 2012, the car had approximately 12,000 miles on it. Mr.

   Panopoulos brought the car back to the Volkswagen dealership and complained about the noise.

   The dealership noted that the tires were worn unevenly and cupped. Mr. Panopoulos asked the

   dealership to explain why the tires were worn unevenly and cupped, and the dealership said that

   the car was out of alignment. The dealership also said that there was no other cause for the

   uneven wear or cupping. The dealership never mentioned the Defect.

          122.     The dealership realigned the car and rotated the tires and charged Mr. Panopoulos

   for those services. The realignment and tire rotation did not solve the problem. Mr. Panopoulos

   continued to experience loud noise emanating from the tires while driving.

          123.     He returned to the dealership and complained once again about the loud noise.

   The dealership once again realigned the car. It also replaced the tires with new tires and charged

   Mr. Panopoulos again for those services. Mr. Panopoulos again asked about the cause of the

   uneven wear and cupping, but the dealership continued to represent that there was nothing wrong

   with the car.

          124.     Instead, the dealership suggested that it was Mr. Panopoulos’ driving that was

   causing the uneven wear and cupping. Mr. Panopoulos is 86 years old, has been driving since

   1950, and has never received a speeding ticket.

          125.     As of this writing, Mr. Panopoulos’ vehicle has approximately 60,000 miles on it.

   Since the time of his purchase, Mr. Panopoulos has had to have all four tires replaced on his




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   vehicle four times, generally after approximately 15,000 miles each time, due to the Defect, at a

   cost of approximately $500-700 each time (with alignment and balancing).

          126.    The dealership never mentioned the Defect to Mr. Panopoulos, even though it

   acknowledged the excessive amount of wear and tear on the vehicle’s tires.

          127.     Upon information and belief, the Volkswagen dealership in Boardman reported

   Mr. Panopoulos’ complaints about his CC to Volkswagen, but Volkswagen actively concealed

   the Defect by advising the dealership that there was no defect, by prompting the dealership to tell

   Mr. Panopoulos that there was no defect, and to blame the uneven wear and cupping on Mr.

   Panopoulos.

          Brian Maytum (California):

          128.    In July 2015, Brian Maytum purchased a certified pre-owned 2014 Volkswagen

   CC R-Line from a Volkswagen dealership located at 9776 W. Stockton Blvd. Suite 2, Elk Grove,

   California 95757.

          129.    At the time Mr. Maytum purchased the vehicle, it had approximately 8,000 miles

   on it and was well within the warranty.

          130.    Mr. Maytum’s CC suffers from the Defect, and it has suffered from the Defect

   from the moment the car was manufactured.

          131.    In March 2016, Mr. Maytum brought his car to the dealership where he purchased

   it for a 20,000 mile service. The car had approximately 18,000 miles on it at the time of the

   service. At the service, the dealership initially rotated the tires. But, after noting that the tires

   were “feathering” and making excessive noise, the dealership rotated them back to their original

   position. The dealership never disclosed the Defect to Mr. Maytum.




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           132.    In December 2016, Mr. Maytum brought his car to a different Volkswagen

   dealership in California to perform a 30,000 mile service. The CC had approximately 28,000

   miles on it at the time of this service.

           133.    This dealership noted that all four tires were cupped on the inside. The dealership

   rotated the tires. The car was “howling” and extremely noisy after the rotation. Mr. Maytum

   returned to the very same dealership five days later to complain about the noise he was

   experiencing while driving.

           134.    The dealership told Mr. Maytum that the issues he was experiencing with his CC

   were common among CC’s and that the dealership had seen those same issues pop up frequently

   with other CC’s. Shortly thereafter, in or about May 2017, Mr. Maytum had to have all four tires

   replaced on his vehicle due to the Defect at a total cost of about $1,000 with alignment and

   balancing.

           135.    Upon information and belief, the Volkswagen dealerships in California reported

   Mr. Maytum’s complaints about his CC to Volkswagen, but Volkswagen actively concealed the

   Defect by advising the dealerships that there was no defect.

           Leigh Glasband (Georgia):

           136.    In or about May 2016, Leigh Glasband purchased a used 2013 Volkswagen CC in

   Lawrenceville, Georgia.

           137.    At the time of purchase, the vehicle had approximately 55,000 miles on it. As of

   this writing, the vehicle has approximately 80,000 miles on it.

           138.    Mr. Glasband’s CC suffers from the Defect, and it has suffered from the Defect

   from the moment the car was manufactured.




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          139.    Prior to purchasing the car, Mr. Glasband brought the CC for an inspection at a

   Volkswagen dealership located at 3500 Stone Mountain Hwy, Snellville, Georgia 30078.         Mr.

   Glasband brought the car to a Volkswagen dealership for the specific purpose of ensuring that it

   was free of defects before he purchased it.

          140.    The Volkswagen dealership told Mr. Glasband there was nothing wrong with the

   car except that it needed an alignment and two new front tires. The dealership told him that the

   car would be fine once these tasks were done. The dealership never disclosed the Defect to Mr.

   Glasband.

          141.    Mr. Glasband purchased the car after the Volkswagen dealership’s inspection and

   based on its representations. Because of the dealership’s recommendation, Mr. Glasband also

   had the car aligned and purchased two new front tires.

          142.    About three or four months later, Mr. Glasband brought the car into a service

   provider because the car was vibrating and pulling to one side while he was driving. The service

   provider noted that all four tires needed to be replaced because they were unevenly worn and

   cupped. Mr. Glasband paid approximately $400 or $500 to replace the rear tires. He did not

   replace the front tires because they had been replaced three months earlier.

          143.    Since the time of purchase, in approximately 25,000 miles of driving, Mr.

   Glasband has had to have all four tires on the vehicle replaced on two separate occasions because

   of the Defect at a cost of $500-700 each time, with alignment and balancing.

          Carissa Macchione (New York):

          144.    On or about January 22, 2014, Carissa Macchione leased a new 2014 Volkswagen

   CC R-Line model from a Volkswagen dealership located at 838 East Jericho Turnpike,

   Huntington Station, New York 11746.



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          145.    Ms. Macchione’s CC suffered from the Defect, and it has suffered from the

   Defect from the moment the car was manufactured.

          146.    On or about October 26, 2016Ms. Macchione surrendered her CC to the same

   Volkswagen dealership where she purchased the car.

          147.    As a result of the Defect, Ms. Macchione had to pay for several tire replacements

   and suffered several tire blow-outs during her lease period.

          148.    Specifically, on March 6, 2015, a tire blew out on Ms. Macchione’s CC while she

   was driving. She was driving no more than 15 miles per hour when the blow-out occurred. The

   blow-out was caused by the Defect.

          149.    On July 22, 2015, another tire blew out on Ms. Macchione’s CC while she was

   driving on a busy road. She was driving no more than 15 miles per hour when the blow-out

   occurred. The blow out was caused by the Defect.

          150.    On November 15, 2015, another tire blew out on Ms. Macchione’s CC while she

   was driving on the New Jersey interstate. She was driving at or below the speed limit when this

   blow-out occurred. The blow-out was caused by the Defect.

          151.    On September 20, 2016, a tire blew out on Ms. Macchione’s CC while she was

   driving on the New Jersey interstate. She was driving at or below the speed limit when this

   blow-out occurred. The blow-out was caused by the Defect.

          152.    Because of the Defect, Ms. Macchione has spent approximately $800 to $900 for

   replacement tires on her CC.

          153.    Ms. Macchione called the Volkswagen dealership where she bought the car after

   both the first and second tire blow-outs in 2015. She spoke to the service manager and asked if




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   there was anything wrong with the car. She specifically referenced online complaints about tire

   issues related to the CC.

          154.    The dealership failed to mention the Defect. Instead, the service manager at the

   dealership falsely told her that there was nothing wrong with the design of the car, and that the

   blow-outs were happening because the CC is a “low-lying vehicle.”

          155.    Upon information and belief, the Volkswagen dealership in New York reported

   Ms. Macchione’s complaints about her CC to Volkswagen, but Volkswagen actively concealed

   the Defect by advising the dealership that there was no defect, by prompting the dealership to tell

   Ms. Macchione that there was no defect, and by telling the dealership to advise Ms. Macchione

   that the tire blow-outs and the uneven tire wear and cupping were the result of a non-defective

   design attribute of her CC.

          156.    On August 7, 2017, Ms. Macchione sent a letter directly to Consumer Services for

   Defendant Volkswagen Group of America, Inc. In the letter, Ms. Macchione described, among

   other things, the issues she had experienced with the uneven tire wear, the tire cupping, and the

   tire blow-outs on her CC.

          Sydnee Johnson (Virginia):

          157.    In April 2011, Sydnee Johnson purchased a new 2011 Volkswagen CC Sport

   from a Volkswagen dealership located at 8433 Leesburg Pike, Vienna, Virginia 22182.

          158.    Ms. Johnson’s CC suffers from the Defect, and it has suffered from the Defect

   from the moment the car was manufactured.

          159.    Approximately six months after the purchase, Ms. Johnson brought her car to the

   Volkswagen dealership where she had bought it for an oil change.            During that visit, the




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   dealership noted that all four of her tires needed to be replaced because the insides of her tires

   were completely bald.

          160.     Ms. Johnson asked the dealership how she could possibly need new tires after

   only six months of driving. The dealership answered that the tire issues were caused by the way

   Ms. Johnson was “braking.” The dealership never mentioned the Defect. The dealership told

   Ms. Johnson that the new tires were not a part of her warranty package, and added that she had to

   pay $1,000 for the new tires.

          161.     Ms. Johnson has had to have the tires replaced on her CC about every six to eight

   months..      Except for the initial replacement done by the dealership, she has had all the

   replacements done at Firestone because Firestone’s prices for the tires are lower and because the

   dealership had told her that the tires were not covered by her warranty.

          162.     In December 2016, the back right side tire on Ms. Johnson’s CC blew out while

   her husband was driving on a busy road. She had just replaced the tires three months earlier.

   Ms. Johnson’s husband was driving at a safe speed and in a safe manner at the time of the blow-

   out. The tire blow-out was caused by the Defect.

          163.     Upon information and belief, the Volkswagen dealership in Virginia reported Ms.

   Johnson’s complaints about her CC to Volkswagen, but Volkswagen actively concealed the

   Defect by advising the dealership that there was no defect and by prompting the dealership to tell

   Ms. Johnson that there was no defect.

          Jorge Cruz (Texas):

          164.     In February 2015, Jorge Cruz purchased a new 2013 Volkswagen CC Sport from

   a Volkswagen dealership located at 3221 E Central Texas Expressway, Killeen, Texas 76543.




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           165.    Mr. Cruz’s CC suffers from the Defect, and it has suffered from the Defect from

   the moment the car was manufactured.

           166.    In February 2015, Mr. Cruz was in the U.S. Army and was stationed at Fort Hood,

   Texas. To ensure the safety and welfare of its personnel, the U.S. Army performs regular

   inspections of vehicles owned by U.S. Army personnel. Approximately six months after Mr.

   Cruz purchased the CC, the Army’s mechanics inspected the CC and noticed that the tires had

   been completely worn down.

           167.    Because the tires were so worn down, the CC failed the Army’s inspection. As a

   result, the Army ordered Mr. Cruz to buy new tires. In doing so, the Army explained that the

   state of Mr. Cruz’s tires presented a serious safety hazard.

           168.    Mr. Cruz then went to a local service provider and paid to have all four tires

   replaced on his vehicle. The service provider told Mr. Cruz that his tires were worn out

   unevenly and cupped. Mr. Cruz paid approximately $1,000 to have all four tires replaced. The

   vehicle had approximately 1,000 miles on it at the time of the tire replacement.

           169.    About eight months later, in approximately March or April 2016, Mr. Cruz was

   driving in the rain when he attempted to stop his car. As he pressed on the brakes, the car slid

   approximately ten feet, even though Mr. Cruz was driving carefully and within the speed limit.

   Feeling unsafe, Mr. Cruz took the car to the nearest mechanic he could find. The mechanic told

   Mr. Cruz that his CC’s two front tires were, again, completely bald. At the time, the car had

   approximately 9,000 miles on it. The mechanic rotated the rear tires to the front and put two new

   tires in the rear at a cost of $150.

           170.    Mr. Cruz was deployed to Afghanistan from April 2016 through January 2017.

   After being back for only two months, in or about March 2017, Mr. Cruz had to replace all four



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   tires again at a cost of approximately $800. These changes were necessary because of the uneven

   tire wear and cupping that, as before, were caused by the Defect.

          171.    After the March 2017 tire change, Mr. Cruz went to the Volkswagen dealership

   where he purchased the car and asked why his tires were repeatedly worn out and cupped. He

   was told that the reason his tires were worn out and cupped so frequently was because the CC

   was a “sports car.” Mr. Cruz also asked about the warranty and was told that the car was not

   covered by his warranty because “tires are not part of the warranty.”

          172.    Upon information and belief, the Volkswagen dealership in Texas reported Mr.

   Cruz’s complaints about his CC to Volkswagen, but Volkswagen actively concealed the Defect

   by advising the dealership that there was no defect and by prompting the dealership to tell Mr.

   Cruz that there was no defect.

          Debbie Gray (Louisiana):

          173.    On or about March 16, 2012, Debbie Gray purchased a new 2012 CC from a

   Volkswagen dealership located at 13940 Airline Hwy, Baton Rouge, Louisiana 70817.

          174.    Ms. Gray’s CC suffers from the Defect, and it has suffered from the Defect from

   the moment the car was manufactured.

          175.    On October 2, 2014, Ms. Gray brought her CC to a Volkswagen dealership in

   Metairie, Louisiana. She brought the car into the dealership because the car had for some time

   been making a very loud noise when she was driving at normal speeds. The dealership told Ms.

   Gray that her tires were unevenly worn and cupped and that she needed four new tires.

          176.    Ms. Gray had all four tires replaced and had the car aligned for a cost of

   approximately $1,000. Volkswagen never told Ms. Gray about the Defect.




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            177.   In or about September 2015, Ms. Gray brought the car in to be serviced at another

   Volkswagen dealership. During that service visit, the dealership again told Ms. Gray that she

   needed to replace two of her tires. She asked the dealership how that could be possible since she

   had replaced all four of her tires less than one year earlier.

            178.   The Volkswagen dealership recommended that she bring the car back to the

   dealership in Metairie that had previously replaced all four tires. When Ms. Gray brought her

   CC to the dealership in Metairie, that dealership likewise recommended that she replace two of

   the tires. Based on this representation, Ms. Gray agreed to the replacement at a cost of $233.

   Neither dealership ever told Ms. Gray about the Defect.

            179.   On September 8, 2016, Ms. Gray took her car to Firestone. Firestone advised Ms.

   Gray that all four of her tires were unevenly worn and cupped and that all four tires had to be

   replaced again. Ms. Gray agreed to have all four tires replaced at a cost of approximately $700.

            180.   Upon information and belief, the Volkswagen dealerships in Louisiana reported

   Ms. Gray’s complaints about her CC to Volkswagen, but Volkswagen actively concealed the

   Defect by advising the dealerships that there was no defect and by prompting the dealerships to

   tell Ms. Gray that there was no defect.

            Lorne Spelrem (Arizona):

            181.   In or about February 2013, Lorne Spelrem purchased a certified pre-owned 2012

   Volkswagen CC from a Volkswagen dealership located at 8801 W Bell Rd, Peoria, Arizona

   85382.

            182.   At the time of the purchase, the vehicle had approximately 35,000 miles on it and

   still had its full remaining factory warranty.




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          183.     Mr. Spelrem’s CC suffers from the Defect, and it has suffered from the Defect

   from the moment the car was manufactured.

          184.     After about one year, in which Mr. Spelrem drove the vehicle approximately

   15,000 miles, the CC’s two rear tires were unevenly worn and cupped. Mr. Spelrem went to a

   service provider and had the two rear tires replaced at a cost of approximately $400.

          185.     Then, in April 2015, with approximately 75,000 miles on the car, Mr. Spelrem

   had to replace all four of the CC’s tires because they were, again, unevenly worn and cupped.

   The replacement tires cost Mr. Spelrem approximately $900.

          186.     The car currently has approximately 108,000 miles on it and all four tires are

   again unevenly worn and cupped. Mr. Spelrem will have to spend another $900-$1,000 to

   replace them.

          187.     Mr. Spelrem recently went to a Volkswagen dealership in Tucson. Mr. Spelrem

   informed the dealership of the uneven wear and cupping on his CC’s tires and asked what might

   be causing the issue. The dealership told him that there was nothing wrong with the car.

   Importantly, the dealership did not disclose the Defect to Mr. Spelrem.

          188.     Upon information and belief, the Volkswagen dealership in Arizona reported Mr.

   Spelrem’s complaint about his CC to Volkswagen, but Volkswagen actively concealed the

   Defect by advising the dealership that there was no defect and by prompting the dealership to tell

   Mr. Spelrem that there was no defect.

          Ismael Orrantia (Utah):

          189.     In or about October 2015, Ismael Orrantia leased a new 2015 Volkswagen CC

   Sport Sedan from a Volkswagen dealership located 1070 Main St, Salt Lake City, Utah 84101.




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          190.    Mr. Orrantia’s CC suffers from the Defect, and it has suffered from the Defect

   from the moment the car was manufactured.

          191.    Approximately one year after Mr. Orrantia leased his CC, all four tires on the CC

   were unevenly worn and cupped. At the time, the CC had approximately 11,000 miles on it.

   Because of the Defect, Mr. Orrantia had all four tires on his car replaced and had the car aligned

   at an approximate cost of $800.

          192.    In November 2017, Mr. Orrantia brought his car to the Volkswagen dealership

   where he leased it for its 30,000 mile service. During this visit, the dealership informed Mr.

   Orrantia that all four of his tires were unevenly worn and cupped again. At the time, the car had

   approximately 27,500 miles on it.

          193.    The Volkswagen dealership told Mr. Orrantia that his car was out of alignment

   and that it needed new tires. The dealership never disclosed the Defect to Mr. Orrantia. Instead,

   the dealership suggested that Mr. Orrantia purchase new tires at the dealership. Mr. Orrantia

   declined the offer and decided that he would have the tires replaced at a tire shop.

          194.    Upon information and belief, the Volkswagen dealership in Utah reported Mr.

   Orrantia’s complaint about his CC to Volkswagen, but Volkswagen actively concealed the

   Defect by advising the dealership that there was no defect and by prompting the dealership to tell

   Mr. Orrantia that there was no defect.

          195.    The named Plaintiffs are not the only victims of the Defect. Some fifty-thousand

   Americans have purchased or leased the Class Vehicles over the last seven years. Each of these

   approximately fifty-thousand vehicles likewise suffers from the very same Defect—a defect that

   has nothing to do with the manner in which the vehicle is driven, the terrain on which the vehicle

   is taken, or the tires with which the vehicle is equipped.



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    II.    Volkswagen Knew About the Defect

           196.     As explained below, Volkswagen received notice of the Defect from at least five

   different sources.

                 A. Volkswagen Learned of the Tire Problems Almost Immediately Through Its
                    Supervision of Volkswagen Dealerships

           197.     Pursuant to Volkswagen’s warranty agreements, CC owners must take their

   vehicles to authorized Volkswagen dealerships in order to have any repairs covered by their

   warranties.

           198.     In addition, regardless of whether a particular repair or service is covered by a

   warranty, many CC drivers take their vehicles to authorized Volkswagen dealerships for repair

   and service because both Volkswagen and the dealerships claim that the authorized dealerships

   are particularly skilled and experienced at servicing, diagnosing, and repairing Volkswagen

   vehicles.

           199.     For example, Volkswagen’s website claims that local Volkswagen dealerships

   have the “best minds in the business”; that “[n]obody knows your car better than our

   Volkswagen Certified Technicians”; and that the owners and lessees of Volkswagen vehicles

   should “[g]o with the[se] pros[.]”

           200.     Upon information and belief, beginning at least in 2010, CC drivers began taking

   their cars to authorized Volkswagen dealerships to complain about improper and accelerated tire

   wear.

           201.     Upon information and belief, from 2010 to the present, thousands of CC drivers

   have taken their cars to Volkswagen dealerships because they were suffering improper and

   accelerated tire wear.




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          202.    Indeed, beginning in 2011, thirteen of the class representatives in this case

   complained to authorized Volkswagen dealerships that their CCs were suffering improper and

   accelerated tire wear. In addition, as discussed below, numerous posts on internet message

   boards and complaints to NHTSA beginning around the same time offer further evidence of the

   tremendous number of complaints about premature tire wear and tire cupping that CC drivers

   were making—and have continued to make—to Volkswagen dealers.

          203.    Through its close supervision of Volkswagen dealerships, Volkswagen itself

   learned of these complaints almost immediately.

                      1. The Dealerships Told Volkswagen Regional Service Representatives
                         About the Problems

          204.    Volkswagen employs regional service representatives that oversee approximately

   10-12 dealerships in a defined geographic area. These regional service representatives are in

   regular contact with the service departments of authorized Volkswagen dealerships.

          205.    Upon receiving a consumer complaint about improper and accelerated tire wear

   on a CC, Volkswagen dealerships routinely contact their Volkswagen regional service

   representatives via e-mail or phone to report the problem for at least two reasons.

          206.    First, the Volkswagen regional service representatives could authorize the dealer

   to temporarily address the problem by offering to replace the consumer’s tires at no cost.

          207.    Second, the Volkswagen regional service representatives were a main point of

   contact for Volkswagen dealerships to learn about potential fixes for any issues that arose with

   Volkswagen vehicles.

          208.    Accordingly, upon information and belief, beginning at least as early as 2010,

   Volkswagen regional service representatives learned from Volkswagen dealerships that an

   inordinate number of CC drivers were suffering from improper and accelerated tire wear.

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                     2. Volkswagen Learned of the Problem Through Its Own Maintenance
                        Records

          209.    In addition, every time any repair is conducted at a Volkswagen dealership, a

   technician enters a repair order into a database maintained by and accessible to Volkswagen.

          210.    Each repair order contains, among other things, a description of the customer’s

   complaint, the car’s current mileage, and a description of the repair, if any, that the dealership

   performed.

          211.    Upon information and belief, beginning at least by 2010, Volkswagen dealerships

   began entering repair orders related to CCs that had suffered improper and accelerated tire wear.

          212.    Thus, Volkswagen also learned of the Defect through the repair orders entered in

   its own databases, which showed a shockingly high rate of improper and accelerated tire wear.

                B. Volkswagen Learned of the Defect from CC Owners Who Complained
                   Directly to It

          213.    Because Volkswagen’s website and its warranty directed CC owners to bring all

   problems to Volkswagen dealerships, most CC drivers complained to the dealerships about the

   improper and accelerated tire wear.

          214.    But consumers also complained directly to Volkswagen.

          215.    For example, in a 2016 complaint to NHTSA, one CC driver explained that his or

   her CC had suffered improper and accelerated tire wear at less than 15,000 miles and that, in

   addition to complaining to the dealership, had complained to Volkswagen itself, and included the

   Volkswagen case number assigned to his or her case. The complainant also stated that

   Volkswagen refused to “furnish how many similar issues were reported by [other] consumers.”

          216.    Because Volkswagen continues to keep secret the volume of complaints it has

   received about improper and accelerated tire wear on the CC, the Plaintiffs cannot know for



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   certain how many CC drivers have complained directly to Volkswagen. But upon information

   and belief, Volkswagen may have received hundreds or thousands of direct complaints about the

   issue.

               C. Volkswagen Learned of the Defect Through Complaints to NHTSA

            217.   NHTSA maintains a publicly accessible database of consumer complaints about

   motor vehicles.

            218.   The database is searchable by make, model, and year.

            219.   Upon information and belief, auto manufacturers, including Volkswagen, monitor

   the NHTSA database and review complaints about their vehicles.

            220.   By at least 2013, customers were filing complaints with NHTSA about the CC’s

   serious problems with improper and accelerated tire wear. What follows is just a sampling of the

   common, nationwide complaints about the Defect that appear on NHTSA’s database:

               a. August 15, 2013 – “For the fourth time I have gone to get my car checked out,

                   and the problem isn't getting resolved. There’s a constant rattling, that makes the

                   car seemed unbalanced of sorts. Also my tires are getting used up, very rapidly as

                   little as 2-3 months. They say they know what the problem is, but still my car

                   needs to be brought in for the same thing.”

               b. September 6, 2013 – “Back in September of 2012 was told I needed a new tire

                   (bubble in tire) at only 15,000 miles. Replaced tire at 208.00 dollars. July of 2013

                   had my 20,000 mileage service and was told another tire had a bubble and needed

                   new tire. New tire purchased at 208.00 and also had my inspection sticker done at

                   the same time; all tires passed inspection. On my way home from this service

                   noticed my car was riding rough and a vibrating noise. Brought the car back at



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               dealership (all services listed done at fathers & son) two weeks after my July new

               tire purchase and was told O needed two more new tires, same problem bubbles

               inside and outside tires. Had no choice because of safety reasons and had to

               purchase two more new tires for a total of 416.00 dollars. I have owned numerous

               cars and have never had to replace any tires even though I keep my cars for at

               least five years, but low mileage. I was told it was my driving habits so I decided

               to go on the internet to research these tires and was appalled on how many

               complaints and unsatisfied consumers with almost all the same problem I had.

               Please check into these tires as to my knowledge are very unsafe and could cause

               a serious accident if these tires rupture because of the bubbles. To this date I had

               to replace all four tires with current mileage of 22,668.”

            c. October 22, 2014 – “The contact owns a 2013 Volkswagen CC. The contact

               stated that the tires rubbed against the vehicle abnormally. The vehicle was taken

               to a dealer where the tires were replaced but the failure persisted. The

               manufacturer was notified of the failure. the approximate failure mileage was

               11,891.”

            d. April 27, 2015 – “Volkswagen CC has significant problems with poor tire wear,

               cupping. I was told by service department that Volkswagen has a European

               alignment that ‘toes in’? for handling. The tires wear poor. They replaced one tire

               that was in really bad shape and I purchased another. Soon after the other two

               tires did the same thing. The tire company Dobbs in St. Louis told me that the

               Volkswagen alignment causes bad wear. Volkswagen says the alignment is fine.”




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            e. June 9, 2015 – “Purchased this car new. started experiencing shuddering and

               grinding sensation from the front end of car when in motion. It is especially bad at

               lower speeds. The dealership claims to have checked the brakes and suspension of

               the car and found nothing wrong. However, they found that my tires are cupping

               and that is causing the problem. I am fearful to drive this car at highway speeds. I

               believe a tire or suspension failure is imminent.”

            f. September 15, 2015 – “The contact owns a 2013 Volkswagen CC equipped with

               continental Conti Pro Contact tires, size: 235/40r 18/95h (NA). While driving 40

               mph, an abnormally loud noise emitted from the front tires. The contact stated

               that the failure became progressively worse, with road noise entering the vehicle

               every time it was utilized. The vehicle was taken to the dealer where it was

               diagnosed that all the tires were out of round and were cupping. The tires were not

               replaced. the tires were the original equipment. the manufacturer was made aware

               of the failure. The approximate vehicle and tire failure mileage was 17,000.”

            g. December 13, 2015 – “I purchased the vehicle 12/12 as a demo with 5k miles on

               it. The tires aroud [sic] 9,000 miles were worn so uneven I just couldn’t take it

               anymore. After going back and forth with dealer they agreed that they would pay

               for 3 tires if I would pay for one. I did it and though I would be doing great with

               my new Michelin Pilot Sport AS3, but since the last rotation I feel like I am

               driving a train (ruh, ruh. ruh. ruh). I am going to bring up the negative camber

               issue that many many people complaine [sic] about and see if there is a permanent

               fix. In my and many other peoples opinion this car is perfect minus this. I would

               think by now they would have come clean and issued a recall of some sort.”



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            h. April 6, 2016 – “Inherent alignment and suspension design flaw causes cupping

               of tires at frequent intervals despite exceeding manufacturers recommended cycle

               for tire rotation and alignment checks. The problem has been acknowledged by

               the dealer but there is no solution from the manufacturer to fix this issue. Owners

               nationwide seem to have the same problem which translates to an annual tire

               replacement expense. Even with best rated tires that are supposed to last 60,000

               miles, the most mileage one can achieve is about 15,000. The result also includes

               noisy driving conditions, vibration while braking or accelerating. Keeping the

               alignment within factory spec does not resolve the issue. VW should look into the

               design and modify the alignment and suspension to help consumers with this

               frustrating problem.”

            i. April 27, 2016 – “2013 Volkswagen CC equipped with Continental Conti Pro

               Contact tires. While driving at all speeds, an abnormally loud noise emitted from

               the tires. The vehicle had less than 15000 miles on the tires when the problem

               began. The road noise got progressively worse and eventually took the car to the

               dealer. The dealer stated that the problem is due to cupping of the tires and that I

               would need to replace the tires and get a realignment. The car has been serviced

               on a regular basis through the dealer and the dealer did not mention any issues

               with alignment during the services. Other owners had provided similar issues on

               the internet and that the issue had not resolved after both new tires and

               realignment in many cases. The issue seems to be related to bad alignment or ball

               joints in the suspension with the vehicle. I placed a complaint with VW and they




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               would not furnish how many similar issues were reported by the consumers. VW

               case# 160380592.”

            j. August 31, 2016 – “I have a 2013 Volkswagen CC, right now it has only 23,000

               miles and the tires are cracking so badly, the car was in service on 2014 which

               pretty brand new, I want DOT to re certified [sic] this tire make sure it pass [sic]

               DOT standard. I will submit images upon request.”

            k. October 27, 2017 – “I have replace [sic] two set of tires on my 2013 Volkswagen

               CC. I twice by two different vehicle maintenance copies that both set of tires

               showed cupping wear. This is due to vehicle suspension, shocks, struts. Currently

               there a large number of customers who purchase the Volkswagen CC model

               complaining of the same problem. there was also an apparent lawsuit file (case

               1:17-cv-23033-rns), against Volkswagen of America regarding the same issue

               many customers are having. I filed a complaint with Volkswagen of America

               regarding my problem, stating that in the pass [sic] couple of years I had to

               replace two set of tires for this reason. Tire cupping can be very dangerous due to

               uneven tire ware [sic], not to mention the suspension being the main problem of

               the vehicle. Improper suspension could lead to dangerous breaking issues. After

               reading the many reviews from customers complaining about the same issue, and

               reporting this issue to Volkswagen to no avail since 2010. I’m asking NNTSA to

               please investigate this dangerous issue that Volkswagen is not admitting to. I have

               included the court document that was filed in August of 2017.”

            l. September 18, 2017 – “Tires constantly suffer from cupping.”




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               D. Volkswagen Learned of the Defect Through Complaints on Online Message
                  Boards

          221.    Vehicle owners often publicly disclose complaints about their vehicles on online

   fora and message boards.

          222.    Upon information and belief, auto manufacturers, including Volkswagen, monitor

   online message boards and forums to learn about problems with their vehicles, including, in

   particular, message boards devoted to their specific cars.

          223.    At least by 2011, CC drivers began to post complaints about the problems of

   improper and accelerated tire wear that were afflicting their CC vehicles on online fora and

   message boards, including fora and message boards devoted specifically to Volkswagen

   vehicles:

               a. July 4, 2011 – “I have a 2012 VW CC Sport that I had cupping all around at

                  14000 miles. Contacted VW Customer Care and they went half on a new set of

                  Conti DWS I love the tires but now I have 28500 miles on the vehicle (about

                  14000 miles on these new tires) and I have the same cupping issue again. The car

                  was aligned prior to installation of the new rubber. My son has a 2009 VW CC

                  VR6 and he is now on his second set of Yokohama Avids with cupping issues.

                  There is definity [sic] something wrong with the design. Shouldn't have to replace

                  the tires every year.” (emphasis added).

               b. December 11, 2011 – “My tires are wearing on the inside, with only 20k mi. Had

                  alignment checked, it was in specs. VWOA has agreed to split the cost of new

                  tires. Tires were very noisy.” (emphasis added).

               c. December 29, 2012 – “Im right there with you, I think its a design flaw too. Ive

                  had this car since new and road noise has been big issue. Now the tires cupping

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               on top of it, Cmon man!! This car should ride a lot better than it does especially

               what I paid for it. My 36000 mile warranty has ran out so the stealership will tell

               me to take a hike if I complain again to them.”

            d. May 7, 2013 – I have a 2012.VW CC. At 14000 miles I had tire cupping on all

               four wheels. (OEM.Conti tires). Replaced tires and aligned. Another 14000 miles

               later I have the same problem again. VW sends me to Conti but friends with the

               same car and different tires have the same problem. Still not fixed. Contacted VW

               customer service several times and the problem is still not resolved. (emphasis

               added). There is something wrong with the suspension, not the tires. Don't know

               what else I have to do to make them understand there is a problem with this model

               car.”

            e. May 13, 2013 – “I bought a CPO 2012 CC Sport 2 months ago and an having the

               same issue. The car had under 15k miles on it when I bought it. At 17k miles I

               started getting a thumpimg [sic] noise. Dealership said all four tires were cupping.

               Said they weren't responsible for tires and referred me to Continental. Continental

               said they are fighting with VW about this issue and that it is a design issue with

               the car and not the tires. They also told me to rotate the tires every 5k miles, not

               the 10k miles VW recommends in the owner’s manual. They replaced all four

               tires at no charge. Now less than 1,500 miles later the noise has returned. Cupped

               tires again. Either the stock tires are the worst tires ever made or this car has a

               major flaw with the suspension/alignment. There are tons of posts on VW owner

               forums and blogs about this and no one really has the actual cause. Some say it’s

               the tires, some say it’s the car. Either way we are getting screwed.”



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            f. May 19, 2013 – “I recently bought a CPO 2012 CC Sport with 14k miles on it.

               Around 17k miles I had cupping on all four tires. Dealership wouldn’t do

               anything because tires aren't covered. I spoke with a Service Manager at

               Continental and he told me that they have been fighting with VW about this for a

               while. He said they are trying to get VW to change the rotation interval to 6k

               miles instead of the 10k miles they have in the owner's manual. Conti replaced all

               four tires as a “one time exception”. Now, about 2k miles later, the problem is

               back....I have asked VW to take the car back. I don't think that will ever happen

               but I want my case well documented. I’m even going to look into New Jersey

               Lemon Law to see if I can take action. To me it seems like the problem is with the

               car. I say this because so many people who have reported this problem and

               changed tire brands have had the problem again.”

            g. June 8, 2013 – “I have a 2010 CC. Loved the car but had the same problem with

               tires. All 4 tires began cupping by about 12,000 miles. Dealer said it is a design

               issue that randomly affects this model. So I drove my car with a thumping noise

               for another two years and 16k miles. Eventually had to replace all tires. What a

               dissappointment [sic] because a really liked everything else about it.”

            h. July 30, 2013 – “I have 2013 VW CC and it also has same issue, brought my car

               for 10K oil change and they rotate the tires and its downhill from there. The tire

               noise is unbelievable, went back to the dealer and they told me its normal and the

               noise will go away after I drive it for 2000 miles. 2000 miles pass by, came back

               to them and the tire noise is getting worse and they said it needs to be 5000 miles.

               Drive it for 3000 miles and noise is still there. Called VW factory and they went



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               ahead and instructed me to bring it to the dealer and they request all 4 tires

               changed. (emphasis added). Dealer stated all 4 tires cupped. At first I thought it

               was only 1 damage tire but instead its all 4 tires. The dealer have a notice at

               service desk stating cupped tires is caused by suspension. When I asked them,

               they said that is not the caused of the problem, what is the caused of the problem

               then? I don’t want to keep changing my 4 tires every 10K miles just like some of

               these people here having the same problem. Unbelievable.”

            i. August 29, 2013 – “Have a 2009 third set of tires! Still same problem CUPPING.

               Not buying VW again, I just replaced these tires in Dec 2012, and it is Aug 2013

               and the same problem. And yet VW gets away with it. Third Set!”

            j. November 18, 2013 – “I have a 2010 VW CC and I have the same problem that

               I’ve read other people are experiencing. I’m currently on my second set of tires

               and the dealership said that they have no idea what’s causing the cupping. I love

               the car but it's time to get rid of my VW.”

            k. November 20, 2013 – “Here’s my story, it should help you feel vindicated: Tires

               cupped badly, VW agreed to replace tires at 20K service and then they cupped

               again within 8K miles. I wrote a letter to the CEO and I am not sure it even

               reached the CEO because I was contacted by a Katie Fox. I had tons of issues

               with their customer care people and that's why I wrote the letter. They wouldn’t

               admit the REAL PROBLEM IS THE CARS SUSPENSION. Well, they ended up

               sending their regional ASE certified Master Technician to work on my car who

               stated VW KNOWS about this issue and the engineers are trying to fix the car

               AFTER I had been told several times by the customer care team they blame the



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               tires! (emphasis added). I replaced the original tires with a completely different

               tire the 1st time and the issue was just as bad, IT IS NOT THE TIRES AND I

               SAY THIS TO HELP THOSE WHO ARE BEING MISS LED BY VW! I believe

               I may be one person who managed to take this as far as it can go, I received a

               lovely $2000 check towards another VW. Unfortunately when they do that your

               current cars information is all over the letter, VIN# and all! If you want to trade

               out of your car you then need to hand this letter to the dealer your trading it into

               and explain why you have compensation for the vehicle your trading, how

               humiliating is that? Completely uncomfortable position to put your customer in

               and $2000 towards another VW does not even begin to make up for all the

               trouble, time and heart ache I have experienced with this car in just 30,000 miles!

               It has been a noisy obnoxious ride for all but 5000 miles of the 30,000 miles I

               have driven it over 2.5 years:( They couldn't even admit it was not the tires but the

               car, so many other people are going through the same experience and being told

               its the tires even after they have completely different tires and have the same

               issue. I threw the voucher away and bought another car, I will never buy VW

               again and my whole family are VW owners. They have completely lost me and

               my family as customers for life.”

            l. November 26, 2013 – “2011 CC Sport tires are all cupped by 17,000. Tire

               rotation made the noise worse. Called Continental Tires...nothing. Called VW

               Care and they act like they never heard of the problem before. (emphasis added).

               Very expensive problem on the care owner. No more VW’s.”




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            m. November 27, 2013 – “Have a 2013 cc, after 10k rotation noticed tire/road noise.

               Returned to dealer, said regular noise. At 16k had another VW dealer check out

               problem, was told I needed new tires due to excessive tire chop. Called VW USA

               with issue, long story short, they will replace Conti tires with Goodyear with no

               guarantee it wouldn’t happen again. (emphasis added). Was not told if it was a tire

               or car problem. Very concerned.”

            n. December 4, 2014 – “I purchased my 2010 CC with around 18k miles. Car had

               the original Continental tires that were in good shape. I had the tires rotated and

               balanced every 2k miles. At about 22 thousand miles the tires began making

               terrible noise. Front end shop indicated no alignment problems, tire shop said that

               they were cupping. I decided that I could no longer stand the noise, and sprang for

               new Michelins. To my chagrin, the Michelins ( 225.00 X4 ) did the same thing.

               The tire company gracefully exchanged these for another set of low profile tires

               (Michelins). After about 15k on my newest Michelins I am experiencing the same

               noise and worse. Tire shop says that these tires are cupping and no explanation as

               the car goes down the highway strait as a string. I finally called the VW

               dealership and the service advisor told me that the 2010-2013 had a rear axel that

               caused this! This car is (which I love other than the tire problems) is making me

               crazy. If VW knows about this problem, why have they not done anything. Can

               you say class action?”

            o. March 24, 2015 – [Facebook communication to Volkswagen’s official Facebook

               page from Chris D’Souza]

                      D’Souza: “My 2nd VW CC R Line with cupping issues. My friend
                      Cyrille Mahfoud, now has this issue on his CC too. My 4th

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                      consecutive VW lease and my LAST. The noise from the tires is
                      horrendous. VW blames contiental tires and continental tires
                      blames VW. Thanks for nothing. If you search the web you will
                      find many VW owners with this problem, this is just one site.”

                      VW Response: “Hello Chris, thanks for your feedback. Have you
                      already contacted our colleagues from customer service in the
                      USA? You can reach them via phone 001-800 822-8987 or e-mail
                      volktalk@vw.com by stating your name and contact details as well
                      as your vehicle identification number. We wish you all the best.”“

                      D’Souza: “Yes. They blamed the tires. Put me in contact with
                      Continental tires and they blame the car's suspension. Unofficially
                      two dealerships said it is the suspension. Wrote a certified letter to
                      VW in Jan and received no response.”

                      Volkswagen Response: “Hi Chris, we can imagine that this is
                      unsatifying [sic] for you. Please be sure, that we do our best to help
                      our customers finding an appropriate solution if they are having an
                      issue. Unfortunately, we cannot do more for you here on the
                      international facebook page. In order to get your issue clarified, we
                      recommend that you get in touch with our colleagues customer
                      care in the United States again.”

            p. April 4, 2015 – “Have 2010 CC and have replaced tires 3 times already because

               of cupping and noise! Looking for a tire that will work this time!! Suggestions?”

            q. March 2, 2016 – “2014 vw cc rline back tired cupped at 19,000 miles put a claim

               into contentinal tire and vw waiting to hear resolution. Dealer is just pacifying me

               states car needs alignment when contentinal acknowledges it’s a suspension

               design problem with the cc....alignment is in tacit....no more vw’s for me!!!!!”

            r. March 12, 2016 – “I have the same issue with a 2012 CC. The tires are cupping

               on the inner front tires. I had them rotated and realigned and now the car sounds

               horrible and the ride is not smooth. VW told me that is what happens when you

               rotate the tires. Sorry! I think not. How many people on this site have a 2012 CC




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               with the same issues? If there is an emission problem, there could be an alignment

               defect as well.”

            s. March 18, 2016 – “Same issue. 2013 VW CC. Gone through 2 sets of tires and

               the dealer (Cook VW in Bel Air MD) acknowledges it’s a problem with the CC

               suspension. I will NEVER buy another VW I don't care how ‘good’ the deal is.”

            t. August 22, 2016 – “i have replaced all 4 tires 3 times on my cc and it only has

               50,000 miles on it. bunch of *** ......”

            u. “I purchased a brand new 2013 vw cc sport back in August 2012. At 11, 897

               miles (Dec 2013) I was told my four tires were chopped or cupped. I was advised

               that this happens because the tires need to be rotated every 5000 miles NOT

               10,000 like the warranty book explains. Since there is literally NO documentation

               anywhere stating so, someone (other than myself) was going to replace these tire

               free. I contacted VW consumer complaints directly and they opened a claim with

               Continental Tires. (emphasis added). Result-on Dec 23, 2013 ALL 4 tires were

               replaced with Continental tires-paid partially by Continental and partially by VW.

               GREAT...so I thought. WRONG!! In May of 2014, at 17,001 miles tires were

               rotated and no notation of cupping or wearing by dealership. Fast forward to Sept

               2014, with 20,191 miles take car in for 20, 000 manufacture scheduled

               maintenance: oil change and tire rotation. Service technician notates REAR

               TIRES CHOPPED. REAR TIRES TREAD 5/32, 6/32 FRONT TIRES TREAD

               8/32. ARE YOU SERIOUS. CRAP...NOT AGAIN. You're telling me with 4

               brand new Continental tires put on in just 8 months and 19 days ago AND 8,294

               miles driven with 1 tire rotation I should be told my tires are chopped/cupped.



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               REALLY? Volkswagen sounds like you have a CLASS ACTION SUIT on your

               hands. THIS IS CLEARLY NOT RIGHT. There is a manufacture defect causing

               these tires to wear unevenly or these tires are made with cheap, soft rubber.

               Whatever the case, I will be contacting the Florida Lemon Law Department and I

               will forward this information at a class action attorney for review. After searching

               causes of tire wear online, I see I’m not alone. This is wrong and unjust to

               consumers. Fortunately, I’m able to take this further. I feel sorry for the consumer

               who has/had to pay out of pocket for this FLAW. I hope this helps anyone else

               with the same problem.”

            v. “Second CC, had an ’09 with same exact issue at 15,000 miles. Continental’s that

               VW puts on the CC’s are garbage. Replaced both the ’09’s and ’13’s tires with

               Michelin Primacy MXM4’s. Be prepared for this to cost you some money, just

               under $1,000 for all 4 tires plus a 4-wheel alignment. Complained to the

               dealership (who blamed Continental), VW Corporate office (who also blamed

               Continental - but yet continues to put the tires on their cars) and Continental (who

               blamed VW for bad front ends). (emphasis added). As you can see, you will go

               round and round and get absolutely no answers from anyone. Honestly I don’t

               care who the problem lays with, I just want the problem fixed - I didn’t realize

               that we can’t admit problems as large corporations! LOL”

            w. “I too purchased a new 2013 cc and started experiencing the tire noise

               immediately. I was told that since the car had been sitting for a few months that it

               would go away after driving it for a while. I drove the car for 10k miles, took it in

               for service and was told I needed an alignment which, I’d have to pay for. I was



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               later told by a tire company, because I didn’t believe the dealer, that I needed four

               new tires and an alignment because they had worn so badly. I took the car back to

               the dealer, contacted Volkswagen (corporation) argued my case and they agreed

               to replace 3 of the tires and the dealer agreed to replace the 4th. (emphasis added).

               My car now has 36,500 miles on it and I’m still having the same issues.”

            x. “I bought CC ’13 last November, and I got the 10k service. The dealer’s service

               advisor called me that my tires were worn unevenly, so he recommended the

               wheel alignment. I did. After return, I had severe tire noise on highway, and I

               checked a local store to see what happens. We found inside shoulders in front

               tires were extremly [sic] cupped. Likely, one pitch rises and the next pitch falls all

               over the shoulder. I put the vehicle to the service again, and the same guy told

               “mm there’s a little noise from front tires, and you would need to contact the tire

               manufacture because the dealer has nothing to do with this” So I went to the tire

               dealer-Continental authorized- and the manager of tire dealer told, wheel

               alignment is out of spec, so this should not be covered by conti due to mechanical

               problem. Then I raised this issue to VW customer care, and one rep offered me he

               would cover 3tires if I pay 1 tire. I had price quote from the same dealer, and

               learned ~$250 installation charge for 4 tires.. I went back to the rep about this,

               and he has told my installation charge will be covered after he spoke to the dealer.

               (emphasis added). I got back to the dealer, heck, the tire price is increased and the

               installation charge is $100 ($25/tire). I am tired and sure it is ‘a shame’ in the

               name of VW. I decided to sell CC, since I know I would face this kind of situation

               again time to time.”



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            y. “Cupping issue with tires, dealer never rotated tires at 10k service or at 20k

               service (South Charlotte VW), advised i needed an alignment, figured out tires

               was not rotated during 20k mile service due to repaired front tire was still in front.

               Took back and they advised they didn’t rotate due to cupping (well thanks for

               sharing that with the customer...which they didn't of course). Contacted VW

               America and they paid to replace two of the four tires at 21k miles (fixed the

               noise since new tires were placed in front), took to rotate at 26k miles and now

               tires in rear have cupped and the car is loud again. (emphasis added). Also paid

               for an alignment at 20k service, which at that point tires were already ruined. Was

               advised at the 26k service to rotate tires (Hendrick VW Concord) that the CC’s

               are the heaviest vehicle which causes the camber alignment to cup the tires and

               because of this issue owners of this vehicle will deal with cupping tires, was

               informed to rotate more frequently than the recommended 10k service interval

               (every 3-5kmiles) but this will not keep tires from cupping and causing the noise

               and at some point tires will have to be replaced to get rid of the loud noise.

               What’s difficult is they expect us to foot the bill for this issue...how rude and

               inconsiderate when this was not disclosed up front to the consumer upon

               purchasing the vehicle. That the buyer would be financially responsible for

               replacing tires to prevent loud noise caused by the cars camber alignment. Just

               awful!! We have been in contact with VW America again to see how they will

               address this issue.”

            z. “All 4 tires cupping on inside tread. The rears were twice as bad as the front.

               Bought the car used with 16000. VW dealer offered to replace and I pay half of



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               the expense for the new tires and they would align for free. I agreed but let them

               know I was aware of the issue with the CC and would demand free replacement if

               it happens again. They said they are aware also and have contacted VW about the

               same issue.” (emphasis added).

            aa. “Volkswagen CC Sport w/LED Lighting Package purchased brand NEW. Initial

               maintenance service at 12 mo. mark w/7,400 miles so they did 10,000 mi. service

               maintenance. Brought car in at 13,000 miles for coolant leak, coolant pump

               REPLACED, and 20,000 mi. service maintenance was performed 3 mos. early

               when they rotated tires. Loud, loud tire noise increased. Drove 1,150 more miles,

               brought into dealer. Discount Tire said all 4 tires were worn on inside, severely

               cupped. My VW maintenance service receipt never indicated they rotated tires at

               10,000 mi. service maintenance. Dealer contacted VW. They offered to replace 3

               out of 4 tires! (emphasis added). They wanted $600 for one tire, an alignment,

               mounting, some incidentals. Some posts I read claim it’s not the tires, but the

               front end alignment of the car that can’t be changed (?) Car depreciation

               excessive for 23 months, 14,900 miles. GOT RID OF CAR and bought another

               BRAND! Beware.”

            bb. “I have had this problem since I had the first servicing on the car. I bought the

               Executive Sedan with 6,000 miles on it. Each time I have had it serviced at the

               dealership they gave me similar feedback:

               - it’s the tires

               - problem with the design of the car so turn up the radio so you don’t have to hear

               it I replaced 1 of the tires at 20,000 miles and now at 26,500 they all need



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               replacing. I sent the dealership this thread showing a problem with the CC and

               their response was to sell me a new car OR take it up with VW Corporate. Does

               anyone know about a class action? If so, please post here and let’s all keep giving

               VW an earful. Also - it helps to give the dealership a low rating. If enough of us

               do this, the dealers will insist VW do something. Given VW’s history of

               misleading the public I would not be surprised if one is already in process. I want

               a refund on the entire car.”

            cc. “At 30,000 miles brought car in for front end noise. I was told the car was fine.

               Tires were great they DID NOT RECOMMEND ROTATING THEM. At 33,000

               miles car is back at dealership. Noise is now a vibration. Tires are chopped. The

               dealership put on different tires and let me drive it before I trusted that the tires

               were the problem. I spoke to everyone at the dealership from service managers to

               general managers. Everyone promised, gave their word that new tires and an

               alignment will fix the problem for good. But after reading this post I have decided

               to move along and get rid of this car before I am here again. I was told the car was

               made for the autobahn and is just sensitive. Ahhhhhh, not sure anyone would take

               a basic Jetta on the autobahn.... I will contact corporate and make myself a

               nuisance. (emphasis added). When I pick car up today I’ll be sure to tell GM why

               I won't purchase the Toureg. It’s probably too sensitive too.....”

            dd. “Took my 2013 cc in for oil change & tire rotation at the recommended 10,000

               miles, after that the tires made a horrible noise. It only got worse from there. You

               have to have the radio at half volume to drown out the noise at city speeds, and its

               much worse at freeway speeds. Dealer says it’s how the cars alignment is set up,



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               for performance with negative camber in the front. (Which is what causes

               premature uneven wear on the inside portion of the tread.) And that if I want the

               noise to stop I will need to purchase four new tires. That would only make sense

               if you get a new alignment because you will just destroy your new tires. (But nice

               try to the dealer for thinking I was dumb enough to fall for that.) So I asked them

               to re-align the car and omit the negative camber. But that is not possible because

               the camber is not adjustable in the front. So I was told by my dealer that if I can’t

               stand the noise I will have to replace my tires every 12,000 miles and rotate them

               every 3,000 miles. Really VW?? If this is what VW has to offer in their $35,000

               sedans, count me out. I’ll never buy another one!”

            ee. “I have the same issue with the tires being cupped. The dealer said that it was due

               to alignment issues and that I should get new tires and then perform an alignment.

               After reading this thread, it seems like a broader issue with the car itself. I will be

               contacting VW customer service.” (emphasis added).

            ff. “The same issue for me..!! since my first 10,000 Miles service, I had an extreme

               noisy ride.. went back to the dealer and I was advised that simply this is the

               suspension system of this car and that I have to rotate the tires every 5000 MILES

               or replace them at my own cost! also they will charge me 170$ for the alignment!

               So VW dealer is admitting that the issue causing this noise is the car suspension

               system and wants to charge for alignment and tire replacement!! I am riding a

               $37K car that drives like a junk car.. Completely unsatisfied and waiting to get

               out of this lease.. Will never advise anyone to buy/lease a VW CC...”




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            gg. “Same problem with the Continental tire cuppling and making noise. We just

               purchase [sic] the car, so we took it to dealer Norm Reeves VW, Irvine CA, and

               they said it is very common on CC since body of the car is heavy so interior side

               of tires get cuppled therefore make noise, but they said “You will get used to it

               and if not you have radio to listen to”. Really?!?! Nothing was done at this

               dealer.”

            hh. “Original set of Conti tires cupping badly with tons of road noise. Like other

               posts, VW blames Continental and Continental blames VW. At 23,000 miles

               those tires with plenty of tread were junked. VW gave me a couple hundred bucks

               towards the purchase of new tires. Hardly the cost of replacement. Now the new

               tires are making the same chopping noise after 12,000 miles. Obviously VW has

               an engineering flaw with that suspension set-up. But Germans don’t generally

               admit to engineering flaws. The local dealer doesn't seem to take a stand either.

               Can’t wait until this things [sic] comes off lease in a few months. Time to order

               my Tesla.”

            ii. “Dealer said this is a common problem and that it will go away after 12k miles

               and it hasn’t. Unfortunately, this was my dream car but I can’t stand to drive it for

               another 7+ with this problem. I will be taking it back to the dealer to investigate

               other car options.”

            jj. “Significant cupping of continental tires requiring complete new set of Michelins

               plus alignment. Got the dealer to pay for two of the four tires. Now with

               alignment done at every oil change 7500 miles the noise has reappeared at 42000.




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                  The Michelins which have only 23000 miles are cupped now too. Trying to get

                  Michelin to adjust and VW to get the alignment right.”

              kk. “Was told I had cupping on all four tires. Followed required maintenance as

                  needed. Alignment required every 10k and new tires very 30K can be very

                  expensive.”

           224.   At least by 2010, then, Volkswagen learned, from all of the sources discussed

   above, about the improper and accelerated tire wear on the CC and knew that this wear was

   caused by the Defect. Despite knowing about the Defect, Volkswagen failed to disclose it either

   to the Plaintiffs or to any other Class Member.

           225.   Instead, Volkswagen has actively concealed the Defect and has continued to

   manufacture, distribute, and sell the Class Vehicles with the Defect.

           226.   As a result of the Defect and Volkswagen’s efforts to conceal the Defect, the

   Plaintiffs and the Class Members have been harmed and have suffered damages. Specifically,

   the Plaintiffs and the Class Members: (1) have been placed (and will continue to be placed at a

   significantly increased risk of physical injury or death resulting from a tire-related crash or

   accident; (2) have incurred (and will continue to incur) substantial out-of-pocket costs relating to

   the maintenance, repair, and replacement of the prematurely worn and degraded tires; (3) have

   suffered (and will continue to suffer) a significant diminution in the overall and resale value of

   their vehicles; and (4) did not receive the benefit of their bargain, as the value of the vehicle as

   delivered was less than the value of the vehicle as promised.

    III.   Volkswagen Made Material Misstatements and Omissions to CC Buyers

           227.   Volkswagen provided each CC buyer with an Owner’s Manual that purported to

   provide instructions on how best to care for and maintain the Class Vehicles.



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          228.   The Owner’s Manuals contain a series of misleading statements and omissions

   that concealed the Defect from CC Buyers. Specifically, the Owner’s Manuals instructed buyers

   to have work related to the CC’s “tire and wheels” or “suspension” or “alignment” done only at

   authorized Volkswagen dealers or service facilities because these dealerships purportedly had the

   specialized knowledge and tools that would be necessary to make proper repairs on the Class

   Vehicles. For example, the Owner’s Manuals provide, in pertinent part, as follows:

         “Volkswagen recommends that all work on tires and wheels be done by an authorized
          Volkswagen dealer or authorized Volkswagen Service Facility. They are familiar with
          the technical requirements and recommended procedures, have the necessary special
          tools and spare parts, and can properly dispose of old tires.”

          “The tires must be checked immediately for hidden damage by an authorized
          Volkswagen dealer or an authorized Volkswagen Service Facility.” (emphasis in
          original)

         “Volkswagen recommends that you have your tires rotated by an authorized Volkswagen
          dealer or authorized Volkswagen Service Facility.”

         “If you experience increased tire wear under normal driving conditions, have the vehicle
          suspension checked by an authorized Volkswagen dealer or an authorized Volkswagen
          Service Facility.”

         “Incorrect wheel alignment causes excessive an uneven tire wear, impairing vehicle
          safety. If you notice excessive or uneven tire wear, have the wheel alignment checked by
          an authorized Volkswagen dealer or an authorized Volkswagen Service Facility.”

         “Have repairs and vehicle modifications performed by an authorized Volkswagen dealer
          or an authorized Volkswagen Service Facility.”

          229.   These statements were materially misleading because they:

         Dupe CC drivers into believing that Volkswagen authorized dealers and service facilities
          are best suited to fix suspension problems like the Defect, when, in fact, they would not
          do so, despite there being aftermarket parts that would correct the problem; and

         Fail to disclose that Volkswagen had instructed its authorized dealers and service
          facilities to cover up the true cause of CC drivers’ improper and accelerated tire wear by
          falsely blaming it on causes other than the Defect.



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          230.    The warranty booklets Volkswagen caused to be provided to all CC buyers also

   contain a series of misleading statements and omissions that concealed the Defect from CC

   owners.

          231.    To begin with, like the Owner’s Manuals, the warranty booklets urge CC owners

   to take their vehicles only to authorized Volkswagen dealers because, they said, only the

   dealerships are sufficiently concerned about their customers’ “satisfaction and goodwill” and

   only the dealerships are in the “best position to quickly resolve any concerns.” In pertinent part,

   the warranty booklets provide as follows:

                  If you have questions about your vehicle or the service you have
                  received, we suggest that you first discuss them with the service
                  personnel at your authorized Volkswagen dealer. You may want
                  to speak to the Service Manager or directly to the owner of the
                  dealership.

                  It is their business to be concerned about your satisfaction and
                  goodwill. Because they are closest to the situation, they are in the
                  best position to quickly resolve any concerns you may have. (See,
                  e.g., Model Year 2010 USA Warranty and Maintenance Booklet at
                  17.)

          232.    The warranty booklets also state that:

         Volkswagen dealers have “Volkswagen trained technicians, proper workshop equipment
          and parts to give you expert service”; and

         “Volkswagen dealers are committed to quality service.” (See, e.g., Model Year 2010
          USA Warranty and Maintenance Booklet at 26.)

          233.    Like the Owner’s Manual, the foregoing statements in the warranty booklets are

   materially misleading because they:

         Dupe CC drivers into believing that Volkswagen authorized dealers and service facilities
          are best suited to fix suspension problems like the Defect, when, in fact, they would not
          do so, despite there being aftermarket parts that would correct the problem; and




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           Fail to disclose that Volkswagen had instructed its authorized dealers and service
            facilities to cover up the true cause of CC drivers’ improper and accelerated tire wear by
            falsely blaming it on causes other than the Defect.

            234.   The warranty booklet also falsely states that the New Vehicle Limited Warranty

   (“NVLW”) “will be honored by any authorized Volkswagen dealer in the United States,

   including its territories.” See, e.g., Model Year 2010 USA Warranty and Maintenance Booklet at

   3.

            235.   That statement was materially false and misleading when made because

   Volkswagen knew that its authorized dealers would not honor the NVLW with respect to the

   Defect and would, instead, falsely blame the improper and accelerated tire wear suffered by CC

   owners on factors not covered by the warranty, such as bad tires or erratic driving.

            236.   The warranty booklet also provides the following assurances to CC owners:

                   With proper maintenance and care, your Volkswagen model will
                   continue to provide you with a dependable and safe driving
                   experience. This booklet contains Volkswagen’s prescribed
                   service intervals as well as other important information you need to
                   know to care for your Volkswagen model properly. Adherence to
                   the prescribed maintenance services and intervals is necessary
                   to protect your investment and help ensure optimum
                   performance. . . .

                   The service intervals schedule is based on vehicles operating under
                   normal conditions. (See, e.g., Model Year 2010 USA Warranty
                   and Maintenance Booklet at 26-27 (emphasis in original)).

            237.   The foregoing statement was materially misleading and false when made because

   Volkswagen knew that, as a result of the Defect, CCs would not “continue to provide . . . a

   dependable and safe driving experience,” even if the owner followed the prescribed maintenance

   procedures.




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                                              PRIVITY
          238.    The Plaintiffs and the other Class Members were in privity with Volkswagen

   because Volkswagen made direct representations to consumers, who were the ultimate

   purchasers, about the qualities and attributes of the Class Vehicles and their component parts.

   For example, without limitation, Volkswagen’s NVLW, which is delivered to the consumers,

   states that “[w]ith proper maintenance and care, your Volkswagen model will continue to

   provide you with a dependable and safe driving experience.”

          239.    Moreover, in promoting, selling, and repairing its defective Class Vehicles,

   Volkswagen acts through numerous authorized dealers who act, and represent themselves to the

   public, as exclusive Volkswagen representatives and agents.

          240.    Volkswagen, through its authorized dealerships, issued its warranties in the

   NVLW to the Plaintiffs and other Class Members as part of the sale of the Class Vehicles.

   Therefore, the NVLW is a contract between Volkswagen and the Class Members.

          241.    Among other things, the warranties provided by Volkswagen for the defective

   Class Vehicles direct consumers to take their vehicles to these authorized dealerships for repairs

   or services.

          242.    And, upon experiencing harm to their Vehicles’ tires as a result of the Defect,

   consumers reciprocated Volkswagen’s direct dealings by filing complaints in person and in

   writing with both the authorized dealerships and Volkswagen.

          243.    Volkswagen acknowledges that its dealers act as Volkswagen agents in the

   NVLW and the Owner’s Manual. For example, the NVLW notes that Volkswagen dealerships

   have “Volkswagen trained technicians, proper workshop equipment and parts to give you expert

   service.”

          244.    Similarly, the Volkswagen Owner’s Manuals provide, in relevant part, as follows:

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              a. “If you experience increased tire wear under normal driving conditions, have the

                  vehicle suspension checked by an authorized Volkswagen dealer or an authorized

                  Volkswagen Service Facility.”

              b. “The tires must be checked immediately for hidden damage by an authorized

                  Volkswagen dealer or an authorized Volkswagen Service Facility.”

              c. “Incorrect wheel alignment causes excessive and uneven tire wear, impairing

                  vehicle safety. If you notice excessive or uneven tire wear, have the wheel

                  alignment checked by an authorized Volkswagen dealer or an authorized

                  Volkswagen Service Facility.”

              d. “Have repairs and vehicle modifications performed by an authorized Volkswagen

                  dealer or an authorized Volkswagen Service Facility.”

          245.    Upon information and belief, as described below, Volkswagen exercises and

   maintains the right to exercise day-to-day control over the activities of its authorized dealers:

              a. Volkswagen supervises its dealerships daily and can terminate the relationship at

                  will;

              b. Volkswagen dictates the nature and terms of the purchase contracts entered into

                  between its authorized dealers and consumers;

              c. Volkswagen may direct an authorized dealer to hire or fire an employee;

              d. Volkswagen directs its authorized dealers as to the manner in which they can

                  respond to complaints and inquiries concerning defective vehicles;

              e. Volkswagen requires its dealerships to follow its rules and policies in conducting

                  all aspects of its business, including the delivery to consumers of the NVLW and

                  all warranties and material information contained therein;



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              f. Volkswagen requires that its authorized dealers post a certain minimum number

                  of Volkswagen signs on the dealers’ property and then directs the dealers on the

                  required size and location of those signs;

              g. Volkswagen at all times has ready access to all of the dealers’ sales and service

                  records through an online database;

              h. Volkswagen can enter the dealers’ property at any time and demand to inspect or

                  audit the dealers’ books and financial records;

              i. Volkswagen requires its authorized dealers to follow its rules and policies in

                  servicing defective vehicles, such as the Plaintiffs’ Class Vehicles. For example,

                  but without limitation, the NVLW says that the Warranty “will be honored by any

                  authorized Volkswagen dealer in the United States, including its territories.”

          246.    Volkswagen’s NVLW not only extends the warranty to all consumers who buy a

   new vehicle from a Volkswagen dealership, but mandates that the warranty be “automatically

   transferred without cost if the ownership of the vehicle changes within the Warranty period.”

   (see, e.g., 2010 New Vehicle Limited Warranty, at 8). Therefore, the same warranty that applies

   to new purchasers is, by the terms of the warranty, transferrable to used purchasers as well.

          247.    Any efforts to limit this warranty in a manner that would exclude coverage of the

   Class Vehicles is unconscionable, and any such effort to disclaim, or otherwise limit, liability for

   the Class Vehicles is null and void.

          248.    Any limitations on the warranty are also procedurally unconscionable. There was

   unequal bargaining power between Volkswagen, on the one hand, and the Plaintiffs and the

   Class Members, on the other.




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          249.   Finally, any limitations on the Warranties are substantively unconscionable.

   Volkswagen knew that the Class Vehicles were defective and would continue to pose safety risks

   after the warranties purportedly expired. Volkswagen failed to disclose the Defect to the

   Plaintiffs and the other Class Members. And, when the Plaintiffs and the other Class Members

   brought their cars in for service, Volkswagen—working together with its authorized dealers—

   actively concealed the existence of the Defect and prevented the Plaintiffs and the other Class

   Members from discovering it. Thus, Volkswagen’s enforcement of the durational limitations on

   these warranties is harsh and shocks the conscience.

          250.   In either event, contractual privity is not required here because the Plaintiffs and

   each of the other Class Members were (and are) intended third-party beneficiaries of the NVLW.

   After all, the dealers were not intended to be the ultimate consumers of the Class Vehicles and

   have no rights under the warranty agreements provided with the Class Vehicles by Volkswagen.

          251.   As evidenced below, Volkswagen’s warranty agreements were designed for and

   intended to benefit only the consumers—that is, the Class Members:

              a. For example, the NVLW reads, “[w]ith proper maintenance and care, your

                 Volkswagen model will continue to provide you with a dependable and safe

                 driving experience. This booklet contains Volkswagen’s prescribed service

                 intervals as well as other important information you need to know to care for your

                 Volkswagen model properly. Adherence to the prescribed maintenance services

                 and intervals is necessary to protect your investment and help ensure optimum

                 performance. . . .” (emphasis original).

              b. Similarly, the Owner’s Manual for the Class Vehicles is tailored to the consumers,

                 instructing, “[i]f you experience increased tire wear under normal driving



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                 conditions, have the vehicle suspension checked by an authorized Volkswagen

                 dealer or an authorized Volkswagen Service Facility.”

          252.   Privity is also not required here because the Class Vehicles are dangerous

   instrumentalities as a result of the Defect. Volkswagen acknowledges this inherent danger in its

   Owner’s Manual:

              a. “If you experience increased tire wear under normal driving conditions, have the

                 vehicle suspension checked by an authorized Volkswagen dealer or an authorized

                 Volkswagen Service Facility.”

              b. “Incorrect wheel alignment causes excessive an uneven tire wear, impairing

                 vehicle safety. If you notice excessive or uneven tire wear, have the wheel

                 alignment checked by an authorized Volkswagen dealer or an authorized

                 Volkswagen Service Facility.”

                       TOLLING OF THE STATUTE OF LIMITATIONS

                                      Fraudulent Concealment

          253.   Upon information and belief—and as described more fully above—Volkswagen

   has known about the Defect since at least 2010. But, rather than remedy the Defect or disclose it

   to the public, Volkswagen has actively concealed the Defect—and its associated damages and

   costs—from the public, the Plaintiffs, and the Class Members. More than that, for years,

   Volkswagen downplayed the widespread prevalence of the problem and caused its dealers to lie

   to consumers about the cause of the improper and accelerated tire wear they suffered. Any

   applicable statute of limitations has therefore been tolled by Volkswagen’s knowledge, active

   concealment, and denial of the facts alleged herein, which behavior is ongoing.




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                                             Discovery Rule

          254.    The causes of action alleged herein did not accrue until the Plaintiffs and the

   Class Members discovered that their vehicles had the Defect.

          255.    The Plaintiffs and the Class Members, however, had no realistic ability to discern

   that the Class Vehicles were defective until they learned of the existence of the Defect. In either

   event, the Plaintiffs and the Class Members had no reason to discover their causes of action

   because of Volkswagen’s active concealment of the true nature of the Defect.

                                                 Estoppel

          256.    Volkswagen was, and remains, under a continuing duty to disclose to the

   Plaintiffs and to the Class Members the true character, quality, and nature of the Class Vehicles.

   This would include the existence of the Defect and the extent of the damages the Defect would

   cause. Instead, Volkswagen actively concealed the true character, quality, and nature of the

   Class Vehicles and knowingly made misrepresentations about the quality, reliability,

   characteristics, and performance of the Class Vehicles. The Plaintiffs and the Class Members

   reasonably relied upon Volkswagen’s knowing and affirmative misrepresentations and/or active

   concealment of these facts. Based on the foregoing, Volkswagen is estopped from relying on

   any statute of limitations in defense of this Action.

                                  CLASS ACTION ALLEGATIONS

          257.    The Classes’ claims all derive directly from a single course of conduct by

   Volkswagen. This case is about the responsibility of Volkswagen, at law and in equity, for its

   knowledge, its conduct, and its products. Volkswagen has engaged in uniform and standardized

   conduct toward the Classes. Volkswagen did not differentiate, in degree of care or candor, in its

   actions or inactions, or in the content of its statements or omissions, among individual Class



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   Members. The objective facts on these subjects are the same for all Class Members. Within

   each Claim for Relief asserted by the Classes, the same legal standards govern. Additionally,

   many states—and for some claims all states—share the same legal standards and elements of

   proof, facilitating the certification of multistate or nationwide classes.        Accordingly, the

   Plaintiffs bring this lawsuit as a class action on their own behalf, and on behalf of all other

   persons similarly situated as members of the proposed Classes, pursuant to Federal Rules of

   Civil Procedure 23(a) and (b)(3) and/or (b)(2) and/or (c)(4). This action satisfies the numerosity,

   commonality, typicality, adequacy, predominance, and superiority requirements of those

   provisions.

                                  The Nationwide Consumer Class

          258.    The Plaintiffs bring this action and seek to certify and maintain it as a class action

   under Rules 23(a), (b)(2), and/or (b)(3), and/or (c)(4) of the Federal Rules of Civil Procedure on

   behalf of themselves and a Nationwide Consumer Class initially defined as follows:

                  All current and former owners or lessees of Class Vehicles.

                                     The State Consumer Classes

          259.    The Plaintiffs allege statewide class action claims on behalf of classes in the

   following states: Arizona, California, Florida, Georgia, Louisiana, Missouri, New Jersey, New

   York, North Carolina, Ohio, Pennsylvania, Texas, Utah and Virginia (each a “Sub-Class State”).

   Each of these State Consumer Classes is initially defined as follows:

                  All current and former owners or lessees of Class Vehicles who
                  purchased or leased a Class Vehicle in a Sub-Class State.

          260.    The Nationwide Consumer Class, the Statewide Consumer Classes, and their

   members are sometimes referred to herein as the “Class” or the “Classes.”




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          261.      Excluded from each Class are the Defendants, their employees, officers, directors,

   legal representatives, heirs, successors and wholly or partly owned subsidiaries or affiliates;

   Class Counsel and their employees; and the judicial officers and their immediate family

   members and associated court staff assigned to this case.

                                    Numerosity and Ascertainability

          262.      This action satisfies the requirements of Fed. R. Civ. P. 23(a)(1). There are tens of

   thousands of Class Vehicles nationwide, and there are hundreds and often thousands of Class

   Vehicles in each of the Sub-Class States. Individual joinder of all Class members is therefore

   impracticable.

          263.      Each of the Classes is ascertainable because its members can be readily identified

   using registration records, sales records, production records, and other information kept by

   Volkswagen or by third parties in the usual course of business. This information will therefore

   naturally be within the possession, custody, or control of Volkswagen, its authorized dealers, or

   third parties. The Plaintiffs anticipate providing appropriate notice to each certified Class, in

   compliance with Fed. R. Civ. P. 23(c)(1)(2)(A) and/or (B), to be approved by the Court after

   class certification, or pursuant to court order under Fed. R. Civ. P. 23(d).

                                    Predominance of Common Issues

          264.      This action satisfies the requirements of Fed. R. Civ. P. 23(a)(2) and 23(b)(3)

   because questions of law and fact that have common answers and which are the same for each of

   the respective Classes predominate over questions affecting only individual Class members.

   These include, without limitation, the following:

              a. whether the Class Vehicles contain the Defect;

              b. whether the Class Vehicles have suffered a diminution in value as a result of the
                 Defect;

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            c. whether the Defect constitutes an unreasonable safety risk;

            d. whether Volkswagen knew or should have known about the Defect, and, if so,
               how long ago Volkswagen discovered or should have discovered the Defect.

            e. whether Volkswagen had a duty to disclose the existence of the Defect to the
               Plaintiffs and the Class Members.

            f. whether Volkswagen failed to disclose the existence of the Defect to the Plaintiffs
               and the Class Members.

            g. whether the defective nature of the Class Vehicles constitutes a material fact
               reasonable consumers would have considered in deciding whether to purchase a
               Class Vehicle;

            h. whether Volkswagen’s acts and omissions as alleged herein breached its warranty
               with the Plaintiffs and the Class Members.

            i. whether the Plaintiffs and the Class Members are entitled to monetary damages as
               a result of Volkswagen’s wrongful conduct;

            j. whether Volkswagen’s concealment of the true defective nature of the Class
               Vehicles induced the Plaintiffs and Class Members to act to their detriment by
               purchasing the Class Vehicles;

            k. whether Volkswagen’s conduct tolls any or all applicable limitations periods by
               acts of fraudulent concealment, application of the discovery rule, or application of
               equitable estoppel;

            l. whether Volkswagen misrepresented that the Class Vehicles were safe;

            m. whether Volkswagen engaged in unfair, deceptive, unlawful, and/or fraudulent
               acts or practices in trade or commerce by failing to disclose that the Class
               Vehicles were designed, manufactured, and sold with the Defect;

            n. whether Volkswagen’s conduct, as alleged herein, was likely to mislead a
               reasonable consumer;

            o. whether Volkswagen violated each of the Sub-Class States’ consumer protection
               statutes, and if so, what remedies are available under those statutes;

            p. whether the Class Vehicles were unfit for the ordinary purposes for which they
               were used, in violation of the implied warranty of merchantability;



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              q. whether the Plaintiffs and the Class Members are entitled to a declaratory
                 judgment stating that the Class Vehicles are defective and/or not merchantable;

              r. whether Volkswagen’s unlawful, unfair, and/or deceptive practices harmed the
                 Plaintiffs and the Class Members;

              s. whether the Plaintiffs and the Classes are entitled to equitable relief, including,
                 but not limited to, a preliminary and/or permanent injunction;

              t. whether Volkswagen should be declared responsible for notifying all Class
                 Members of the Defect and ensuring that all vehicles with the Defect are promptly
                 recalled and repaired;

              u. what aggregate amounts of statutory penalties are sufficient to punish and deter
                 Volkswagen and to vindicate statutory and public policy objectives; and

              v. how such penalties should be most equitably distributed among the Class
                 Members.

                                                Typicality

          265.    This action satisfies the requirements of Fed. R. Civ. P. 23(a)(3), because the

   Plaintiffs’ claims are typical of the claims of the Class Members and arise from the same course

   of conduct by Volkswagen. The relief the Plaintiffs seek is typical of the relief sought for the

   other Class Members.

                                       Adequate Representation

          266.    The Plaintiffs will fairly and adequately represent and protect the interests of the

   Classes. The Plaintiffs have retained counsel with substantial experience in prosecuting

   consumer class actions, including actions involving defective products.

          267.    The Plaintiffs and their counsel are committed to vigorously prosecuting this

   action on behalf of the Classes, and have the financial resources to do so. Neither the Plaintiffs

   nor their counsel has interests adverse to those of the Classes.




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                                               Superiority

          268.    This action satisfies the requirements of Fed. R. Civ. P. 23(b)(2) because

   Volkswagen has acted and refused to act on grounds generally applicable to each Class, thereby

   making appropriate final injunctive and/or corresponding declaratory relief with respect to each

   Class as a whole.

          269.    This action satisfies the requirements of Fed. R. Civ. P. 23(b)(3), because a class

   action is superior to other available methods for the fair and efficient adjudication of this

   controversy.

          270.    The common questions of law and of fact regarding Volkswagen’s conduct and

   responsibility predominate over any questions affecting only individual Class Members.

          271.    Because the damages suffered by each individual Class Member may be relatively

   small, the expense and burden of individual litigation would make it very difficult or impossible

   for individual Class Members to redress the wrongs done to each of them individually, such that

   most or all Class Members would have no rational economic interest in individually controlling

   the prosecution of specific actions, and the burden imposed on the judicial system by individual

   litigation by even a small fraction of the Class would be enormous, making class adjudication the

   superior alternative under Fed. R. Civ. P. 23(b)(3)(A).

          272.    The conduct of this action as a class action presents far fewer management

   difficulties, far better conserves judicial resources and the parties’ resources, and far more

   effectively protects the rights of each Class Member than would piecemeal litigation. Compared

   to the expense, burdens, inconsistencies, economic infeasibility, and inefficiencies of

   individualized litigation, the challenges of managing this action as a class action are substantially

   outweighed by the benefits to the legitimate interests of the parties, the court, and the public of



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   class treatment in this court, making class adjudication superior to other alternatives, under Fed.

   R. Civ. P. 23(b)(3)(D).

          273.    The Plaintiffs are not aware of any obstacles likely to be encountered in the

   management of this action that would preclude its maintenance as a class action. Rule 23

   provides the Court with authority and flexibility to maximize the efficiencies and benefits of the

   class mechanism and reduce management challenges. The Court may, on motion of the Plaintiffs

   or on its own determination, certify nationwide, statewide, and/or multistate classes for claims

   sharing common legal questions; utilize the provisions of Rule 23(c)(4) to certify any particular

   claims, issues, or common questions of fact or law for class-wide adjudication; certify and

   adjudicate bellwether class claims; and utilize Rule 23(c)(5) to divide any Class into subclasses.

          274.    The Classes expressly disclaim any recovery in this action for physical injury

   resulting from the Defect without waiving or dismissing such claims. The Plaintiffs are informed

   and believe that injuries suffered in crashes as a result of the Defect implicate the Class Vehicles,

   constitute evidence supporting various claims, including diminution of value, and are continuing

   to occur because of Volkswagen’s delays, omissions, fraudulent concealment, and inaction. The

   increased risk of injury from the Defect serves as an independent justification for the relief

   sought by the Plaintiffs and the Classes.

                 REALLEGATION AND INCORPORATION BY REFERENCE

          275.    The Plaintiffs re-allege and incorporate by reference all of the preceding

   paragraphs and allegations of this Complaint, including the Nature of Claims, Factual

   Allegations, Tolling Allegations, and Class Action Allegations, as though fully set forth in each

   of the following Claims for Relief asserted on behalf of the Nationwide Class and the Statewide

   Classes.



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                                         CLAIMS FOR RELIEF

          I.      Nationwide Claims

                   A.    Federal Claims

                                              COUNT 1

               Violation of the Magnuson-Moss Warranty Act, 15 U.S.C. § 2301 et seq.

          276.    The Plaintiffs bring this Count against Volkswagen on behalf of members of the

   Nationwide Consumer Class, as well as on behalf of members of the State Consumer Sub-

   Classes who purchased or leased the Class Vehicles in the following States: Arizona, California,

   Florida, Georgia, Louisiana, Missouri, New Jersey, New York, North Carolina, Ohio,

   Pennsylvania, Texas, Utah, and Virginia.

          277.    This Court has jurisdiction to decide claims brought under 15 U.S.C. § 2301 by

   virtue of 28 U.S.C. § 1332 (a)-(d).

          278.    The Class Vehicles are “consumer products” within the meaning of the

   Magnuson-Moss Warranty Act, 15 U.S.C. § 2301(1).

          279.    The Plaintiffs are “consumers” within the meaning of the Magnuson-Moss

   Warranty Act, 15 U.S.C. § 2301(3). They are consumers because they are persons entitled under

   applicable state law to enforce against the warrantor the obligations of its express and implied

   warranties.

          280.    Volkswagen is a “supplier” and “warrantor” within the meaning of the

   Magnuson-Moss Warranty Act, 15 U.S.C. § 2301(4)-(5).

          281.    15 U.S.C. § 2310(d)(1) provides a cause of action for any consumer who is

   damaged by the failure of a warrantor to comply with a written or implied warranty.




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          282.      Volkswagen provided the Plaintiffs and the other Class Members with an express

   warranty in connection with the purchase or lease of their vehicles that constitutes a “written

   warranty” within the meaning of the Magnuson-Moss Warranty Act, 15 U.S.C. § 2301(6).

          283.      Volkswagen made promises and representations in the express warranty it

   provided to all consumers, which became the basis of the bargain between the Class Members

   and Volkswagen.

          284.      Specifically, the express warranty provided, in pertinent part:

                    Your New Vehicle Limited Warranty includes virtually bumper to
                    bumper coverage for 3 years or 36,000 miles, whichever occurs
                    first and powertrain limited warranty coverage for 5 years or
                    60,000 miles, whichever occurs first. Your vehicle has a limited
                    warranty corrosion against perforation for a period of 12 years
                    irrespective of mileage.

          285.      Additionally, Volkswagen provided the Plaintiffs and the other Class Members

   with an implied warranty of merchantability in connection with the purchase or lease of their

   vehicles that constitutes an “implied warranty” within the meaning of the Magnuson-Moss

   Warranty Act, 15 U.S.C. § 2301(7).

          286.      As a part of the implied warranty of merchantability, Volkswagen warranted that

   the Class Vehicles were fit for their ordinary purpose as safe passenger motor vehicles, would

   pass without objection in the trade as designed, manufactured, and marketed, and were

   adequately contained, packaged, and labeled.

          287.      Volkswagen breached both the express and implied warranties (“Warranties”), as

   described in more detail above, and is therefore liable to the Plaintiffs and the Class Members

   pursuant to 15 U.S.C. § 2310(d)(1). Without limitation, the Class Vehicles share a common

   design defect.




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          288.    Any efforts to limit the Warranties in a manner that would exclude coverage of

   the Class Vehicles is unconscionable, and any such effort to disclaim, or otherwise limit, liability

   for the Class Vehicles is null and void.

          289.    Any limitations on the Warranties are also procedurally unconscionable. There

   was unequal bargaining power between Volkswagen, on the one hand, and the Plaintiffs and the

   Class Members, on the other.

          290.    Finally, any limitations on the Warranties are also substantively unconscionable.

   Volkswagen knew that the Class Vehicles were defective and would continue to pose safety risks

   after the Warranties purportedly expired. Volkswagen failed to disclose the Defect to the

   Plaintiffs and the other Class Members. And, when the Plaintiffs and the other Class Members

   brought their cars in for service, Volkswagen—working together with its authorized dealers—

   actively concealed the existence of the Defect and prevented the Plaintiffs and the other Class

   Members from discovering it. Thus, Volkswagen’s enforcement of the durational limitations on

   these Warranties is harsh and shocks the conscience.

          291.    Privity is not required here because the Plaintiffs and each of the other Class

   Members are intended beneficiaries of contracts—specifically, of the NVLW—between

   Volkswagen and its dealers. The dealers were not intended to be the ultimate consumers of the

   Class Vehicles and have no rights under the warranty agreements provided with the Class

   Vehicles; the warranty agreements were designed for and intended to benefit consumers. Finally,

   privity is not required because the Class Vehicles are dangerous instrumentalities as a result of

   the Defect.

          292.    Pursuant to 15 U.S.C. § 2310(e), the Plaintiffs are entitled to bring this class

   action and are not required to give Volkswagen notice and an opportunity to cure until such time



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   as the Court determines the representative capacity of the Plaintiffs pursuant to Rule 23 of the

   Federal Rules of Civil Procedure.

          293.    Furthermore, affording Volkswagen an opportunity to cure its breach of written

   warranties would be unnecessary and futile here. At the time of sale or lease of each Class

   Vehicle, Volkswagen knew, should have known, or was reckless in not knowing of its

   misrepresentations concerning the Class Vehicles’ inability to perform as warranted, but

   nonetheless failed to rectify the situation or disclose the defective design.

          294.    In addition, in the years since 2010, Volkswagen has received thousands of

   complaints about the Defect and has done nothing to remedy it. Instead, Volkswagen and its

   authorized dealers have worked together to blame others—including the Class Members

   themselves—for the problems the Defect has been causing. There is therefore no reason to

   believe that any further notice to Volkswagen would cause Volkswagen to take any action to

   rectify the Defect. Under the circumstances, the remedies available under any informal

   settlement procedure would be inadequate and any requirement that the Plaintiffs resort to an

   informal dispute resolution procedure or afford Volkswagen a reasonable opportunity to cure its

   breach of warranties should be excused and deemed satisfied.

          295.    The Plaintiffs and the other Class Members would suffer economic hardship if

   they simply returned their Class Vehicles but did not receive the return of all payments made by

   them. Because Volkswagen is refusing to acknowledge any revocation or acceptance and return

   immediately any payments made, the Plaintiffs and the other Class Members have not re-

   accepted their Defective Vehicles by retaining them.

          296.    The amount in controversy of the Plaintiffs’ individual claims meets or exceeds

   the sum of $25. The amount in controversy of this action exceeds the sum of $50,000, exclusive



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   of interest and costs, computed on the basis of all claims to be determined in this lawsuit. The

   Plaintiffs, individually and on behalf of the other Class Members, seek all damages permitted by

   law, including but not limited to diminution in value of their vehicles and benefit-of-the-bargain

   damages, in an amount to be proven at trial. In addition, pursuant to 15 U.S.C. § 2310(d)(2), the

   Plaintiffs and the other Class Members are entitled to recover a sum equal to the aggregate

   amount of costs and expenses (including attorneys’ fees based on actual time expended)

   determined by the Court to have reasonably been incurred by the Plaintiffs and the other Class

   Members in connection with the commencement and prosecution of this action.

          297.     The Plaintiffs also request, as a form of equitable monetary relief, re-payment of

   the out-of-pocket expenses and costs they have incurred in attempting to rectify the Defect in

   their vehicles. Such expenses and losses will continue as the Plaintiffs and Class Members must

   take time off from work, pay for rental cars or other transportation arrangements, and child care.

          298.     The rights of Class members to recover these expenses—that is, to put them

   where they would have been but for Volkswagen’s conduct—presents a common question of

   law. Equity and fairness requires the establishment by Court decree and administration under

   Court supervision of a program funded by Volkswagen, using transparent, consistent, and

   reasonable protocols, under which such claims can be made and paid.

                 B. Common Law and State Law Claims

                                                COUNT 2

                                                  Fraud

          299.     The Plaintiffs bring this claim on behalf of the Nationwide Consumer Class under

   the common law of fraudulent concealment and fraudulent inducement (“Fraud”), as there are no

   true conflicts (case-dispositive differences) among the various states’ common laws of Fraud. In

   the alternative, the Plaintiffs bring this claim under the laws of the states where the Plaintiffs and

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   Class Members reside and where they purchased or leased their Class Vehicles—that is, the Sub-

   Class States.

          300.     Since at least 2010, Volkswagen knew or should have known that the Class

   Vehicles are defective, that they suffer from the Defect, and that they are not fit for their

   intended purpose of providing consumers with safe and reliable transportation.

          301.     Volkswagen concealed, suppressed, and/or misrepresented material facts

   regarding the Defect, which causes, among other effects, the vehicles’ tires to erode and

   ultimately malfunction.

          302.     Volkswagen took steps to ensure that its employees and authorized dealerships

   did not reveal the known Defect to regulators or consumers.

          303.     In turn, Volkswagen represented and had its employees and authorized

   dealerships represent that its vehicles were safe, reliable, of high quality, and that they would

   perform in a manner commensurate with their intended use.

          304.     Upon information and belief, Volkswagen still has not made full and adequate

   disclosure, continues to defraud the Class Members, and continues to conceal, suppress, and

   misrepresent material information regarding the Defect that exists because of, among other

   things, improperly designed and installed suspension components in the Class Vehicles.

          305.     Volkswagen had a duty to disclose the Defect because it:

                   a. Had exclusive and/or far superior knowledge and access to the facts than the

                      Plaintiffs and the Class Members, and knew the facts were not known to or

                      reasonably discoverable by the Plaintiffs and the Class;

                   b. Intentionally concealed the foregoing from the Plaintiffs; and




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                  c. Made incomplete representations about the safety and reliability of the Class

                      Vehicles, while purposefully withholding material facts from the Plaintiffs

                      that contradicted these representations.

          306.    These concealed, suppressed, and/or misrepresented facts were material because

   they would be relied on by a reasonable person purchasing, leasing or retaining a new or used

   motor vehicle, and because they directly impact the value of the Class Vehicles purchased or

   leased by the Plaintiffs and the other Class Members. Whether a merchant’s products are safe

   and reliable, and whether that merchant stands behind its products, are material concerns to a

   consumer. The Plaintiffs and the Class Members trusted Volkswagen not to sell or lease them

   vehicles that were defective or that violated federal law governing motor vehicle safety.

          307.    Volkswagen concealed suppressed, and/or misrepresented these material facts to

   falsely assure purchasers, lessees, and consumers that its vehicles were capable of performing

   safely, as represented by Volkswagen and reasonably expected by consumers.

          308.    Volkswagen actively concealed, suppressed, and/or misrepresented these material

   facts, in whole or in part, to protect its profits and to avoid recalls that would hurt the brand’s

   image and cost Volkswagen money. Volkswagen concealed these facts at the expense of the

   Plaintiffs and the other Class Members.

          309.    The Plaintiffs and the other Class Members were unaware of these omitted,

   concealed, and/or misrepresented material facts, and would not have acted as they did if they had

   known of these facts.

          310.    Had the Plaintiffs and the other Class Members been aware of the Defect, and of

   Volkswagen’s callous disregard for their safety, the Plaintiffs and the other Class Members either




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   would have paid less for their Class Vehicles or would not have purchased or leased the Class

   Vehicles at all.

             311.     The Plaintiffs and the other Class Members did not receive the benefit of their

   bargain as a result of Volkswagen’s fraudulent concealment and fraudulent inducement.

             312.     Because of the concealment, suppression, and/or misrepresentation of the facts,

   the Plaintiffs and the other Class Members sustained damage because they own vehicles that

   diminished in value as a result of Volkswagen’s concealment of, and failure to timely disclose,

   the serious Defect in thousands of Class Vehicles and the serious safety and quality issues caused

   by Volkswagen’s conduct.

             313.     The value of the Plaintiffs’ and all the other Class Members’ vehicles has

   diminished as a result of Volkswagen fraudulently concealing the Defect and fraudulently

   inducing the Plaintiffs and the other Class Members to purchase the Class Vehicles with the

   Defect.     \Now that the Defect is widely known, any reasonable consumer will be reluctant to

   purchase or lease any of the Class Vehicles, let alone pay what otherwise would have been fair

   market value for the Class vehicles.

             314.     The Plaintiffs and the other Class Members also have incurred (and will continue

   to incur) substantial out-of-pocket costs relating to the maintenance, repair, and replacement of

   the prematurely worn and degraded tires, and have suffered benefit-of-the-bargain damages, as

   the value of the Class Vehicles as delivered was less than the value of the Class Vehicles as

   promised.

             315.     Accordingly, Volkswagen is liable to the Plaintiffs and the Class Members for

   their damages in an amount to be proven at trial.




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            316.   Volkswagen’s acts were done maliciously, oppressively, deliberately, with intent

   to defraud, and in reckless disregard of the Plaintiffs’ and the Class Member’s rights and well-

   being, and with the aim of enriching Volkswagen. Volkswagen’s conduct, which exhibits the

   highest degree of reprehensibility, being intentional, continuous, placing others at risk of death

   and injury, and effecting public safety, warrants an assessment of punitive damages in an amount

   sufficient to deter such conduct in the future, which amount is to be determined according to

   proof.

                                               COUNT 3

                                     Breach of Implied Warranty

            317.   The Plaintiffs bring this claim on behalf of the Nationwide Consumer Class under

   the common law breach of implied warranty, as there are no true conflicts (case-dispositive

   differences) among various states’ laws for a breach of implied warranty. In the alternative, the

   Plaintiffs bring this claim under the laws of the states where the Plaintiffs and the Class Members

   reside and/or purchased or leased their Class Vehicles—that is, the Sub-Class States.

            318.   Volkswagen is a merchant with respect to motor vehicles.

            319.   Under the common law claim of breach of implied warranty, a warranty that the

   Class Vehicles were in merchantable condition was implied by law in the transactions when the

   Plaintiffs and the other Class Members purchased or leased their Class Vehicles.

            320.   The Class Vehicles, when manufactured, sold, and at all times thereafter, were not

   merchantable and are not fit for the ordinary purpose for which cars are used, because they are

   constructed with the Defect, leading to an unreasonable likelihood of damage to the Class

   Vehicles and serious bodily injury to the vehicle occupants, proximate motorists, and anyone in

   the vicinity of the defective Class Vehicles.



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           321.    Volkswagen was provided notice of the Defect through its knowledge of the

   issues, by customer complaints, and by numerous individual letters and communications sent by

   the consumers. Moreover, Volkswagen was aware of these problems long before the Plaintiffs

   and the Class Members and had ample notice and opportunity to correct them.

           322.    Any efforts to limit the implied warranties in a manner that would exclude

   coverage of the Class Vehicles is unconscionable, and any such effort to disclaim, or otherwise

   limit, liability for the Class Vehicles is null and void.

           323.    Any limitations on the implied warranties are also procedurally unconscionable.

   There was unequal bargaining power between Volkswagen, on the one hand, and the Plaintiffs

   and the other Class Members, on the other.

           324.    Any limitations on the implied warranties are also substantively unconscionable.

   Volkswagen knew that the Class Vehicles were defective and would continue to pose safety risks

   after the warranties purportedly expired. Volkswagen failed to disclose the Defect to the

   Plaintiffs and the other Class Members. And, when the Plaintiffs and the other Class Members

   brought their cars in for service, Volkswagen—working together with its authorized dealers—

   actively concealed the existence of the Defect and prevented the Plaintiffs and the other Class

   Members from discovering it. Thus, Volkswagen’s enforcement of the durational limitations on

   these warranties is harsh and shocks the conscience.

           325.    Privity is not required here because the Plaintiffs and each of the other Class

   Members are intended beneficiaries of contracts—and, specifically, of the NVLW—between

   Volkswagen and its dealers. The dealers were not intended to be the ultimate consumers of the

   Class Vehicles and have no rights under the warranty agreements provided with the Class

   Vehicles; the warranty agreements were designed for and intended to benefit only the consumers.



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            326.   Finally, privity is also not required because the Class Vehicles are dangerous

   instrumentalities due to the aforementioned Defect.

            327.   As a direct and proximate result of Volkswagen’s breach of the implied warranty

   of merchantability, the Plaintiffs and the Class have been damaged in an amount to be proven at

   trial.

                                                COUNT 4

                                      Breach of Express Warranty

            328.   This claim is brought only on behalf of those Plaintiffs and other Class Members

   who returned their Class Vehicles for service at an authorized Volkswagen dealership within the

   warranty period

            329.   This claim arises under the common law breach of express warranty, as there are

   no true conflicts or case-dispositive differences between the laws of the several states across the

   country for a claim of breach of express warranty.

            330.   In the alternative, the Plaintiffs bring this claim under the laws of the states where

   the Plaintiffs and the other Class Members reside and/or purchased, leased, or sought repairs for

   their Class Vehicles—that is, the Sub-Class States.

            331.   Volkswagen is a merchant with respect to motor vehicles.

            332.   Volkswagen provided all purchasers and lessees of the Class Vehicles with the

   express warranty described herein, which became part of the basis of the bargain the Class

   Members struck with Volkswagen.

            333.   Volkswagen designed, manufactured, installed, marketed, sold, and/or distributed

   the Class Vehicles with defects covered by the express warranty.

            334.   In its NVLW, Volkswagen guarantees the following:



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              a. “Your New Vehicle Limited Warranty includes virtually bumper to bumper

                 coverage for 3 years or 36,000 miles, whichever occurs first . . . .”

              b. “This limited warranty covers any repair to correct a manufacturer’s defect in

                 material or workmanship . . . .”

              c. “This limited warranty will be honored by any authorized Volkswagen dealer in

                 the United States, including its territories.”

              d. There are approximately 600 authorized Volkswagen dealers in the United States.

                 Each of these dealers has Volkswagen-trained technicians, Volkswagen-approved

                 workshop equipment, and Volkswagen-approved service and repair policies and

                 procedures.

          335.   Volkswagen breached the express warranty by refusing to repair, adjust, and/or

   replace the CC parts affected by the Defect free of charge. Instead of repairing, adjusting, or

   replacing these parts for free, as the express warranty requires, Volkswagen and its authorized

   dealers compelled the Plaintiffs and the other Class Members to pay for new replacement tires

   and re-alignments that do not remedy the problems caused by the Defect.

          336.   The Plaintiffs, Lila Wilson, Matthew Martino, Thomas Wilson, Teresa Garella,

   Ryan Brown, Nick Panopoulos, Brian Maytum, Carissa Macchione, Sydnee Johnson, Jorge

   Cruz, Ismael Orrantia, and Debbie Gray, or the prior owners of their Class Vehicles, notified

   Volkswagen and/or its authorized dealers of the breach within a reasonable time after

   discovering an issue with their vehicles. That is, these Plaintiffs and thousands of other Class

   Members brought their CC vehicles in for service and/or repair of the Defect.

          337.   Since as early as 2010, Volkswagen knew of the Defect through comments and

   postings, not only on NHTSA webpages, but also on webpages belonging to, or actively



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   monitored by, Volkswagen. Volkswagen also knew of the Defect because it has access to its

   dealerships’ maintenance and service records database and thus would have been privy to the

   many instances in which consumers across the country brought their Class Vehicles in for

   service or repair, complaining of premature tire wear and cupping.

          338.    Even had the Plaintiffs not notified Volkswagen of the Defect, that failure would

   be of little relevance here because such notice would have been futile. After all, Volkswagen has

   refused to remedy the Defect in any of the Class Vehicles. Instead, working with its dealers,

   Volkswagen has made every effort to blame the Defect’s manifestations either on the consumers

   themselves or else on third parties.

          339.    As a direct and proximate cause of Volkswagen’s breach of its express warranties,

   the Plaintiffs and the other Class Members have suffered, and will continue to suffer, damages in

   an amount to be determined at trial.

          340.    The Plaintiffs and the other Class Members are entitled to legal and equitable

   relief against Volkswagen, including damages, consequential damages, specific performance,

   rescission, costs, attorneys’ fees, and other relief as appropriate.

   II.    State Sub-Class Claims

              A. Claims Brought on Behalf of the Arizona Sub-Class

                                                 COUNT 5
                                 Violation of the Consumer Fraud Act
                                  Ariz. Rev. Stat. §§ 44-1521, et seq.

          341.    This claim is brought only on behalf of Lorne Spelrem and the entire Arizona

   Consumer Sub-Class against Volkswagen.




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          342.    The Plaintiff Lorne Spelrem, the Arizona Sub-Class, and Volkswagen are

   “persons” within the meaning of the Arizona Consumer Fraud Act (“Arizona CFA”), Ariz. Rev.

   Stat. § 44-1521(6).

          343.    Volkswagen engaged in “sales” of “merchandise” within the meaning of Ariz.

   Rev. Stat. § 44-1521(5) & (7).

          344.    The Arizona CFA provides that “[t]he act, use or employment by any person of

   any deception, deceptive act or practice, fraud, . . . misrepresentation, or concealment,

   suppression or omission of any material fact with intent that others rely upon such concealment,

   suppression or omission, in connection with the sale . . of any merchandise whether or not any

   person has in fact been misled, deceived or damaged thereby, is declared to be an unlawful

   practice.” Ariz. Rev. Stat. § 44-1522(A).

          345.    In the course of its business, Volkswagen failed to disclose and actively concealed

   the dangers and risks posed by the Class Vehicles as described herein and otherwise engaged in

   activities with a tendency or capacity to deceive.

          346.    In light of the Defect that persists in all of the Class Vehicles—a Defect

   Volkswagen never disclosed—Volkswagen also engaged in unlawful trade practices by

   employing deception, deceptive acts or practices, fraud, misrepresentations or concealment,

   suppression or omission of any material fact with intent that others rely upon such concealment,

   suppression or omission, in connection with the sale of the Class Vehicles.

          347.    Volkswagen and its network of authorized dealers have been aware of the

   existence of the Defect and its potential dangers since at least 2010, by way of numerous public

   and private complaints about the Defect and subsequent malfunctions.




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          348.    By failing to disclose and by actively concealing the Defect in the Class Vehicles,

   by marketing them as safe, reliable, and of high quality, and by presenting itself as a reputable

   manufacturer that values safety, Volkswagen engaged in unfair or deceptive business practices in

   violation of the Arizona CFA. To ensure that consumers would purchase and/or lease the Class

   Vehicles, Volkswagen deliberately withheld the information about the propensity of the Defect

   to cause premature tire wear, irregular driving performance, and a variety of other complications,

   instead of addressing the Defect to ensure the comfort and safety of the consumers and vehicle

   occupants.

          349.    In the course of Volkswagen’s business, it willfully failed to disclose and actively

   concealed the dangerous risks, costs, and devaluations posed by the Defect. Volkswagen

   compounded the deception by repeatedly asserting that the Class Vehicles were reliable and of

   high quality, and by claiming to be reputable manufacturers that value safety.

          350.    Volkswagen’s unfair or deceptive acts or practices, including these concealments,

   omissions, and suppressions of material facts, had a tendency or capacity to mislead, tended to

   create a false impression in consumers, were likely to and did in fact deceive reasonable

   consumers, including the Plaintiffs, about the true safety, the true value, the and reliability of the

   Class Vehicles.

          351.    Volkswagen intentionally and knowingly misrepresented material facts regarding

   the Class Vehicles with an intention to mislead the Plaintiffs and the Arizona Sub-Class.

          352.    Volkswagen knew or should have known that its conduct violated the Arizona

   CFA.

          353.    As alleged above, Volkswagen made material statements about the safety and

   reliability of the Class Vehicles that were either false or misleading.                Volkswagen’s



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   representations, omissions, statements, and commentary have included selling and marketing the

   Class Vehicles as safe and reliable despite knowing of the Defect and despite failing adequately

   to investigate it.

           354.    To protect its profits and to avoid remediation costs and a public relations

   nightmare, Volkswagen concealed the dangers, costs, and risks posed by the Class Vehicles,

   allowed unsuspecting new and used car purchasers and lessees to continue to buy/lease the Class

   Vehicles, and allowed the Arizona Sub-Class to continue driving highly dangerous vehicles.

           355.    Volkswagen owed the Arizona Sub-Class a duty to disclose the true safety, the

   true costs, and the true reliability of the Class Vehicles because Volkswagen:

               a. Possessed exclusive knowledge of the dangers, costs, and risks posed by the

                   Defect;

               b. Intentionally concealed the Defect from the Arizona Sub-Class; and/or

               c. Made incomplete representations about the safety, cost, and reliability of the

                   Class Vehicles generally, while purposefully withholding material facts from the

                   Arizona Sub-Class that contradicted Volkswagen’s representations.

           356.    Because of the Defect in the Class Vehicles—and Volkswagen’s refusal to

   remedy the serious and dangerous manifestations of the Defect—the value of the Class Vehicles

   has been greatly diminished.

           357.    Volkswagen’s failure to disclose—and active concealment of—the true dangers,

   costs, and risks posed by the Defect were material to the Arizona Sub-Class’ decision to

   purchase the Class Vehicles. That is, had the members of the Arizona Sub-Class known that the

   Class Vehicles contained the Defect, they either would not have purchased the CC or else would

   have paid significantly less for it.



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          358.     The Arizona Sub-Class has suffered ascertainable losses as a result of

   Volkswagen’s misrepresentations omissions. After all, because of the presence of the Defect and

   Volkswagen’s subsequent misconduct in concealing it, the Plaintiffs did not receive the benefit

   of their bargain with Volkswagen.

          359.     Volkswagen’s violations present a continuing risk to the Plaintiffs, the Arizona

   Sub-Class, as well as to the general public. Volkswagen’s unlawful acts and practices

   complained of herein affect the public interest.

          360.     As a direct and proximate result of Volkswagen’s violations of the Arizona CFA,

   the Plaintiff Lorne Spelrem and the entire Arizona Sub-Class have suffered injury-in-fact and

   actual damages.

          361.     Volkswagen is liable to Lorne Spelrem and the entire Arizona Sub-Class for

   damages in amounts to be proven at trial, including attorneys’ fees, costs, and punitive damages,

   as well as injunctive relief enjoining Volkswagen’s unfair and deceptive practices, and any other

   just and proper relief under Ariz. Rev. Stat. § 44-1528.

              B. Claims Brought on Behalf of the California Sub-Class

                                               COUNT 6

                        Violation of the California Unfair Competition Law
                              Cal. Bus. & Prof. Code §§ 17200, et seq.

          362.     This claim is brought only on behalf of Brian Maytum and the entire California

   Consumer Sub-Class against Volkswagen.

          363.     Cal. Bus. & Prof. Code § 17200 prohibits acts of “unfair competition,” including

   any “unlawful, unfair or fraudulent business act or practice” and “unfair, deceptive, untrue or

   misleading advertising . . . .” Volkswagen engaged in conduct that violated each of this statute’s

   three prongs.


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            364.   Volkswagen committed an unlawful business act or practice in violation of §

   17200 by its violation of the Consumer Legal Remedies Act, Cal. Civ. Code § 1750, et seq., as

   set forth above, by the acts and practices set forth in this Amended Complaint.

            365.   Volkswagen also violated the unlawful prong because it has engaged in violations

   of the TREAD Act, 49 U.S.C. §§ 30101, et seq., and its accompanying regulations by failing to

   promptly notify vehicle owners, purchasers, lessees, dealers, and NHTSA of the defective Class

   Vehicles, and by failing to remedy the Defect.

            366.   Federal Motor Vehicle Safety Standard (“FMVSS”) 573 governs a motor vehicle

   manufacturer’s responsibility to notify the NHTSA of a motor vehicle defect within five days of

   determining that a defect in a vehicle has been determined to be safety-related. See 49 C.F.R. §

   573.6.

            367.   Volkswagen violated the reporting requirements of FMVSS 573 requirement by

   failing to report the Defect or any of the other dangers or risks posed by the Defect within five

   days of determining the defect existed, and failing to recall all the Class Vehicles.

            368.   Volkswagen violated the common-law claim of negligent failure to recall, in that

   Volkswagen knew or should have known that the Class Vehicles were dangerous and/or were

   likely to be dangerous when used in a reasonably foreseeable manner; Volkswagen became

   aware of the attendant risks after they were sold; Volkswagen continued to gain information

   further corroborating the Defect and dangers posed by it; and Volkswagen failed to recall the

   Vehicles, which failure was a substantial factor in causing harm to the Plaintiffs and the

   California Sub-Class, including diminished value and out-of-pocket costs.

            369.   Volkswagen committed unfair business acts and practices in violation of § 17200

   when it concealed the existence and nature of the Defect, dangers, and risks posed by the Class



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   Vehicles. Volkswagen represented that the Class Vehicles were reliable and safe when, in fact,

   they are not.

          370.     Volkswagen also violated the unfairness prong of § 17200 by failing to administer

   a recall of the Class Vehicles.

          371.     Volkswagen violated the fraudulent prong of § 17200 because the

   misrepresentations and omissions regarding the safety and reliability of the Class Vehicles, as set

   forth in this Amended Complaint were likely to deceive a reasonable consumer, and the

   information would be material to a reasonable consumer.

          372.     Volkswagen committed fraudulent business acts and practices in violation of §

   17200 when it concealed the existence and nature of the Defect, dangers, and risks posed by the

   Class Vehicles, while representing in its marketing, advertising, and other broadly disseminated

   representations that the Class Vehicles were reliable and safe when, in fact, they are not.

   Volkswagen’s active concealment of the dangers and risks posed by the Class Vehicles and/or

   the Defect are likely to mislead the public with regard to their true defective nature.

          373.     Volkswagen has violated the unfair prong of § 17200 because of the acts and

   practices set forth in this Amended Complaint, including the manufacture and sale of the Class

   Vehicles, and Volkswagen’s failure to adequately investigate, disclose and remedy, offend

   established public policy, and because of the harm they cause to consumers greatly outweighs

   any benefits associated with those practices. Volkswagen’s conduct has also impaired

   competition within the automotive vehicles market and has prevented the Plaintiffs and the

   California Sub-Class from making fully informed decisions about whether to purchase or lease

   the defective Class Vehicles and/or the price to be paid to purchase or lease them.




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          374.    The Plaintiffs and the California Sub-Class have suffered injuries in fact,

   including the loss of money or property, as a result of Volkswagen’s unfair, unlawful, and/or

   deceptive practices. As set forth above, each member of the California Sub-Class, in purchasing

   or leasing the Class Vehicles with the Defect, relied on the misrepresentations and/or omissions

   of Volkswagen with respect of the safety and reliability of the vehicles. Had the Plaintiffs and

   the members of the California Sub-Class known the truth, they would not have purchased or

   leased their vehicles and/or paid as much for them.

          375.    All of the wrongful conduct alleged herein occurred, and continues to occur, in

   the conduct of Volkswagen’s businesses. Volkswagen’s wrongful conduct is part of a pattern or

   generalized course of conduct that is still perpetuated and repeated.

          376.    As a direct and proximate result of Volkswagen’s unfair and deceptive practices,

   the Plaintiffs and the California Sub-Class have suffered and will continue to suffer actual

   damages.

          377.    The Plaintiffs and the California Sub-Class request that this Court enter such

   orders or judgments as may be necessary to enjoin Volkswagen from continuing their unfair,

   unlawful, and/or deceptive practices, as provided in Cal. Bus. & Prof. Code § 17203; and for

   such other relief set forth below.

                                               COUNT 7

                          Violation of the California False Advertising Law
                               Cal. Bus. & Prof. Code §§ 17500, et seq.

          378.    This claim is brought only on behalf of Brian Maytum and the entire California

   Consumer Sub-Class against Volkswagen.

          379.    California Bus. & Prof. Code § 17500 states: “It is unlawful for any …

   corporation … with intent directly or indirectly to dispose of real or personal property … to

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   induce the public to enter into any obligation relating thereto, to make or disseminate or cause to

   be made or disseminated … from this state before the public in any state, in any newspaper or

   other publication, or any advertising device, … or in any other manner or means whatever,

   including over the Internet, any statement … which is untrue or misleading, and which is known,

   or which by the exercise of reasonable care should be known, to be untrue or misleading.”

          380.    Volkswagen caused to be made or disseminated through California and the United

   States, through advertising, marketing and other publications, statements that were untrue or

   misleading, and which were known, or which by the exercise of reasonable care should have

   been known to Volkswagen, to be untrue and misleading to consumers, including the Plaintiffs

   and the entire California Sub-Class.

          381.    Volkswagen has violated § 17500 because the misrepresentations and omissions

   regarding the safety, reliability, and functionality of the Class Vehicles, as set forth in this

   Complaint, were material and likely to deceive a reasonable consumer.

          382.    Plaintiff Brian Maytum and the entire California Sub-Class have suffered an

   injury in fact, including the loss of money or property, as a result of Volkswagen’s unfair,

   unlawful, and/or deceptive practices. In purchasing or leasing their Class Vehicles, the Plaintiffs

   and the California Sub-Class relied on the misrepresentations and/or omissions of Volkswagen

   with respect to the safety and reliability of the Class Vehicles. Volkswagen’s representations

   turned out not to be true because the Class Vehicles are inherently defective and dangerous in

   that the Defect causes premature tire wear, irregular driving performance, and a variety of other

   complications, instead of assisting with steering and operational stability. Had the Plaintiffs and

   the California Sub-Class known the truth, they would not have purchased or leased their Class




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   Vehicles and/or paid as much for them. Accordingly, the Plaintiffs and the entire California Sub-

   Class overpaid for their Class Vehicles and did not receive the benefit of their bargain.

          383.    All of the wrongful conduct alleged herein occurred, and continues to occur, in

   the conduct of Volkswagen’s business. Volkswagen’s wrongful conduct is part of a pattern or

   generalized course of conduct that is still perpetuated and repeated, both in the State of

   California and nationwide.

          384.    The Plaintiffs, individually and on behalf of the other California Sub-Class

   members, request that this Court enter such orders or judgments as may be necessary to enjoin

   Volkswagen from continuing its unfair, unlawful, and/or deceptive practices and to restore to the

   Plaintiffs and the entire California Sub-Class any money Volkswagen acquired by unfair

   competition, including restitution and/or restitutionary disgorgement, and for such other relief set

   forth below.

                                               COUNT 8

                    Violation of the Song-Beverly Consumer Warranty Act for
                       Breach of the Implied Warranty of Merchantability
                                  Cal. Civ. Code §§ 1791.1 & 1792

          385.    In the event the Court declines to certify a Nationwide Consumer Class under the

   Magnuson-Moss Warranty Act, this claim is brought on behalf of Brian Maytum and the entire

   California Consumer Sub-Class against Volkswagen.

          386.    Plaintiff Brian Maytum and the members of the California Sub-Class are “buyers”

   within the meaning of Cal. Civ. Code § 1791(b).

          387.    The Class Vehicles are “consumer goods” within the meaning of Cal. Civ. Code

   § 1791(a).




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          388.    Volkswagen is considered a “manufacturer” within the meaning of Cal. Civ. Code

   § 1791(j).

          389.    Volkswagen impliedly warranted to the Plaintiffs and the California Sub-Class

   that the Class Vehicles were “merchantable” within the meaning of Cal. Civ. Code §§ 1791.1(a)

   & 1792, however, they do not have the quality that a buyer would reasonably expect, and were

   therefore not merchantable.

          390.    Cal. Civ. Code § 1791.1(a) states:

          “Implied warranty of merchantability” or “implied warranty that goods are merchantable”

          means that the consumer goods meet each of the following:

                  a. Pass without objection in the trade under the contract description.

                  b. Are fit for the ordinary purposes for which such goods are used.

                  c. Are adequately contained, packaged, and labeled.

                  d. Conform to the promises or affirmations of fact made on the container or

                      label.

          391.    The Class Vehicles would not pass without objection in the automotive trade

   because the Defect, among other things, (a) causes uneven and accelerated tire wear; (b) causes

   vehicles to uncontrollably pull to one side; (c) causes discomfort for vehicle occupants; (d)

   minimizes friction between tires and the road, jeopardizing steering stability and vehicle

   performance; (e) allows sudden oscillations in the vehicle when traveling on uneven surfaces;

   and (f) does not allow for necessary correction and adjustment of the Vehicles’ front cambers.

          392.    Because of the Defect, the Class Vehicles are not safe to drive and thus not fit for

   ordinary purposes of providing reliable, durable, and safe transportation.




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          393.    The Class Vehicles are not adequately labeled because the labeling fails to

   disclose the Defect. Volkswagen failed to warn about the dangerous Defect in the Class

   Vehicles.

          394.    Volkswagen breached the implied warranty of merchantability by manufacturing

   and selling the Class Vehicles, which, among other things, (a) cause uneven and accelerated tire

   wear; (b) cause vehicles to uncontrollably pull to one side; (c) cause discomfort for vehicle

   occupants; (d) minimize friction between tires and the road, jeopardizing steering stability and

   vehicle performance; (e) allow sudden oscillations in the vehicle when traveling on uneven

   surfaces; and (f) do not allow for necessary correction or adjustment of the Vehicles’ front

   cambers.

          395.    These Defects have deprived the Plaintiffs and the California Sub-Class of the

   benefit of their bargain, and has caused the Class Vehicles to depreciate in value.

          396.    Volkswagen was on notice of the Defect, by its knowledge of the issues, by

   customer complaints, and by numerous individual letters, and communications sent by the

   consumers.

          397.    As a direct and proximate result of Volkswagen’s breach of its duties under

   California’s Lemon Law, the Plaintiffs and the California Sub-Class received goods whose

   dangerous condition substantially impairs their value. The Plaintiffs and the California Sub-Class

   have been damaged by the diminished value, malfunctioning, and non-use of their Class

   Vehicles.

          398.    Under Cal. Civ. Code §§ 1791.1(d) & 1794, the Plaintiffs and the California Sub-

   Class are entitled to damages and other legal and equitable relief including, at their election, the




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   purchase/lease price of their Class Vehicles, or the overpayment or diminution in value of their

   Class Vehicles.

          399.    Pursuant to Cal. Civ. Code § 1794, the Plaintiffs and the California Sub-Class are

   entitled to costs and attorneys’ fees.

              C. Claims Brought on Behalf of the Florida Sub-Class

                                               COUNT 9

                 Violation of the Florida Deceptive and Unfair Trade Practices Act
                                     Fla. Stat. §§ 501.201, et seq.

          400.    This claim is brought only on behalf of Lila Wilson and the entire Florida

   Consumer Sub-Class against Volkswagen.

          401.    Plaintiff Lila Wilson and Florida Sub-Class are “consumers” within the meaning

   of Florida Deceptive and Unfair Trade Practices Act (“FDUTPA”), Fla. Stat. § 501.203(7).

          402.    Volkswagen is engaged in “trade or commerce” within the meaning of Fla. Stat. §

   501.203(8).

          403.    FDUTPA prohibits “[u]nfair methods of competition, unconscionable acts or

   practices, and unfair or deceptive acts or practices in the conduct of any trade or commerce …”

   Fla. Stat. § 501.204(1). Volkswagen participated in unfair and deceptive trade practices that

   violated the FDUTPA as described herein.

          404.    In the course of its business, Volkswagen failed to disclose and actively concealed

   the dangers and risks posed by the Class Vehicles as described herein and otherwise engaged in

   activities with a tendency or capacity to deceive.

          405.    Volkswagen also engaged in unlawful trade practices by employing deception,

   deceptive acts or practices, fraud, misrepresentations or concealment, suppression or omission of




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   any material fact with intent that others rely upon such concealment, suppression or omission, in

   connection with the sale of the Class Vehicles.

          406.    Volkswagen and its network of authorized dealers have been aware of the

   existence of the Defect and its potential dangers since at least 2010, by way of numerous public

   and private complaints about the Defect and subsequent malfunctions.

          407.    By failing to disclose and by actively concealing the Defect in the Class Vehicles,

   yet marketing them as safe, reliable, and of high quality, and by presenting itself as reputable

   seller that values safety, Volkswagen engaged in unfair or deceptive business practices in

   violation of the FDUTPA. To ensure that consumers would purchase and lease the Class

   Vehicles, Volkswagen deliberately withheld information about the propensity of the Defect to

   cause premature tire wear, irregular and dangerous driving performance, and a variety of other

   complications, instead of addressing the Defect to ensure the comfort and protection of the

   consumers and vehicle occupants.

          408.    In the course of Volkswagen’s business, they willfully failed to disclose and

   actively concealed the dangerous risks posed by the many safety issues and the serious Defect

   discussed above. Volkswagen compounded the deception by repeatedly asserting that the Class

   Vehicles were safe, reliable, and of high quality, and by claiming to be reputable manufacturers

   that value safety.

          409.    Volkswagen’s unfair or deceptive acts or practices, including these concealments,

   omissions, and suppressions of material facts, had a tendency or capacity to mislead, tended to

   create a false impression in consumers, were likely to and did in fact deceive reasonable

   consumers, including the Plaintiffs, about the true safety and reliability of the Class Vehicles, the

   quality of Volkswagen’s brand, and the true value of the Class Vehicles.



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           410.      Volkswagen intentionally and knowingly misrepresented material facts regarding

   the Class Vehicles with intent to mislead the entire Florida Sub-Class.

           411.      Volkswagen knew or should have known that its conduct violated the FDUTPA.

           412.      As alleged above, Volkswagen made material statements about the safety and

   reliability of the Class Vehicles that were either false or misleading.                  Volkswagen’s

   representations, omissions, statements, and commentary have included selling and marketing the

   Class Vehicles as safe and reliable despite its knowledge of the Defect or its failure to adequately

   investigate it.

           413.      To protect its profits and to avoid remediation costs and a public relations

   nightmare, Volkswagen concealed the dangers and risks posed by the Class Vehicles and their

   costly consequences, and allowed unsuspecting new and used car purchasers and lessees to

   continue to buy/lease the Class Vehicles, and allowed them to continue driving highly dangerous

   vehicles.

           414.      Volkswagen owed the Plaintiffs a duty to disclose the true safety and reliability of

   the Class Vehicles because Volkswagen:

                     a. Possessed exclusive knowledge of the dangers and risks posed by the

                        foregoing;

                     b. Intentionally concealed the foregoing from the Plaintiffs; and/or

                     c. Made incomplete representations about the safety and reliability of the

                        foregoing generally, while purposefully withholding material facts from the

                        Plaintiffs that contradicted these representations.

           415.      Because Volkswagen fraudulently concealed the Defect in the Class Vehicles,

   resulting in a cascade of negative publicity once the Defect finally began to be disclosed, the



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   value of the Class Vehicles has greatly diminished. In light of the stigma attached to the Class

   Vehicles by Volkswagen’s conduct, they are now worth significantly less than they otherwise

   would be.

          416.    Volkswagen’s failure to disclose and active concealment of the dangers and risks

   posed by the Defect in the Class Vehicles were material to the Plaintiffs and the Florida Sub-

   Class. A vehicle made by a reputable manufacturer of safe vehicles is worth more than an

   otherwise comparable vehicle made by a disreputable manufacturer of unsafe vehicles that

   conceals defects rather than promptly remedies them.

          417.    Plaintiff Lila Wilson and the Florida Sub-Class suffered ascertainable loss caused

   by Volkswagen’s misrepresentations and its failure to disclose material information. Had the

   Class Members been aware of the Defect that existed in the Class Vehicles and Volkswagen’s

   complete disregard for safety, the Plaintiffs either would have paid less for their vehicles or

   would not have purchased or leased them at all. The Plaintiffs and the other Class Members did

   not receive the benefit of their bargain as a result of Volkswagen’s misconduct.

          418.    Plaintiff Lila Wilson and the Florida Sub-Class risk irreparable injury as a result

   of Volkswagen’s acts and omissions in violation of the FDUTPA, and these violations present a

   continuing risk to the Plaintiffs, the Florida Sub-Class, as well as to the general public.

   Volkswagen’s unlawful acts and practices complained of herein affect the public interest.

          419.    As a direct and proximate result of Volkswagen’s violations of the FDUTPA, the

   Plaintiff, Lila Wilson, and the entire Florida Sub-Class have suffered injury-in-fact and/or actual

   damage.




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          420.    Plaintiff Lila Wilson and the entire Florida Sub-Class are entitled to recover their

   actual damages under Fla. Stat. § 501.211(2), costs, and attorneys’ fees under Fla. Stat. §

   501.2105(1).

          421.    Plaintiff Lila Wilson and the entire Florida Sub-Class also seek an order enjoining

   Volkswagen’s unfair, unlawful, and/or deceptive practices, declaratory relief, costs, attorneys’

   fees, and any other just and proper relief available under the FDUTPA.

                                              COUNT 10

                          Breach of Implied Warranty of Merchantability
                                     Fla. Stat. § 672.314, et seq.

          422.    In the event the Court declines to certify a Nationwide Consumer Class under the

   Magnuson-Moss Warranty Act, this claim is brought on only behalf of Lila Wilson and the

   Florida Consumer Sub-Class against Volkswagen.

          423.    Volkswagen is and was at all relevant times a merchant with respect to motor

   vehicles within the meaning of Fla. Stat. § 672.104(1).

          424.    A warranty that the Class Vehicles were in merchantable condition was implied

   by law in the Class Vehicle transactions, pursuant to Fla. Stat. § 672.314.

          425.    Volkswagen impliedly warranted that the Class Vehicles, which Volkswagen

   designed, manufactured, sold, and/or leased, were merchantable, fit for the ordinary purposes for

   which they were intended to be used, and were not otherwise injurious to consumers and their

   vehicles. The ordinary purpose for which the Class Vehicles are used is, among other things, to

   drive and operate in a manner that does not unnecessarily and unreasonably damage the vehicle

   and expose its owners, occupants, and nearby motorists to needless damage, harm, and risk.

          426.    Volkswagen breached the implied warranty when it designed, manufactured,

   distributed, sold and leased the Class Vehicles. The Class Vehicles, when sold or leased and at

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   all times thereafter, were not merchantable or fit for the ordinary purpose of providing reliable,

   durable, and safe transportation. Specifically, they are defective and dangerous in that the

   Defect: (a) causes tires to prematurely wear; (b) causes uneven wear on tires; (c) causes vehicles

   to uncontrollably pull to one side; (d) causes discomfort for vehicle occupants; (e) minimizes

   friction between tires and the road, jeopardizing steering stability and vehicle performance; (f)

   allows sudden oscillations in the vehicle when traveling on uneven surfaces; and (g) does not

   allow for necessary correction and adjustment of the Vehicles’ front cambers.

          427.    Plaintiff Lila Wilson and the Florida Consumer Sub-Class, at all relevant times,

   were intended beneficiaries of Volkswagen’s sale of Vehicles containing the Defect.

          428.    Plaintiff Lila Wilson and members of the class have had sufficient direct dealings

   with either Volkswagen or its agent dealerships to establish privity of contract between

   Volkswagen, on the one hand, and Ms. Wilson and each of the members of the Florida Sub-

   Class, on the other hand. Volkswagen made direct representations about the quality and

   performance ability of the Class Vehicles targeted at the Ms. Wilson and the other Florida

   Consumer Sub-Class members directly and through its agent dealerships.

          429.    Notwithstanding, privity is not required because Ms. Wilson and each of the

   members of the class are the intended beneficiaries of Volkswagen’s implied warranties.

   Volkswagen’s agent dealerships were not intended to be the ultimate consumers of the Defective

   Class Vehicles, as they maintain no rights under the warranty agreements that accompany the

   Class Vehicles. Instead, Volkswagen’s implied warranty of merchantability was designed for and

   intended only to benefit the ultimate consumers, which are comprises of the Ms. Wilson and the

   members of the Florida Sub-Class.




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          430.    Volkswagen was provided notice of these issues by its knowledge of the issues

   and the many prior complaints filed against it.

          431.    As a direct and proximate result of Volkswagen’s breach of the warranties of

   merchantability and fitness for a particular purpose, Plaintiff Lila Wilson and the other members

   of the Florida Sub-Class have been damaged in an amount to be proven at trial.

              D. Claims Brought on Behalf of the Georgia Sub-Class

                                              COUNT 11

                 Violation of the Georgia Uniform Deceptive Trade Practices Act
                                 Ga. Code Ann. §§ 10-1-370, et seq.

          432.    This claim is brought only on behalf of Plaintiff Leigh Glasband and the entire

   Georgia Consumer Sub-Class against Volkswagen.

          433.    Plaintiff Leigh Glasband, the Georgia Sub-Class, and Volkswagen are “persons”

   within the meaning of Georgia Uniform Deceptive Trade Practices Act (“Georgia UDTPA”), Ga.

   Code Ann. § 10-1-371(5).

          434.    The Georgia UDTPA prohibits “deceptive trade practices,” which include the

   “misrepresentation of standard or quality of goods or services,” and “engaging in any other

   conduct which similarly creates a likelihood of confusion or of misunderstanding.” Ga. Code

   Ann. § 10-1-372(a). By failing to disclose and actively concealing the dangers and risks posed by

   the Class Vehicles, Volkswagen engaged in deceptive trade practices prohibited by the Georgia

   UDTPA.

          435.    In the course of its business, Volkswagen failed to disclose and actively concealed

   the dangers and risks posed by the Class Vehicles as described herein and otherwise engaged in

   activities with a tendency or capacity to deceive.




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              436.   Volkswagen also engaged in unlawful trade practices by employing deception,

    deceptive acts or practices, fraud, misrepresentations or concealment, suppression or omission of

    any material fact with intent that others rely upon such concealment, suppression or omission, in

    connection with the sale of the Class Vehicles.

              437.   Volkswagen and its network of authorized dealers have been aware of the

    existence of the Defect and its potential dangers since at least 2010 by way of numerous public

    and private complaints about the Defect and subsequent malfunctions.

              438.   By failing to disclose and by actively concealing the Defect in the Class Vehicles,

    by marketing them as safe, reliable, and of high quality, and by presenting itself as reputable

    manufacturers that value safety, Volkswagen engaged in unfair or deceptive business practices in

    violation of the Georgia UDTPA. To ensure that consumers would purchase and/or lease the

    Class Vehicles, Volkswagen deliberately withheld the information about the propensity of the

    Defect to cause premature tire wear, irregular driving performance, and a variety of other

    complications, instead of addressing the Defect to ensure the comfort and protection of the

    consumers and vehicle occupants.

              439.   In the course of Volkswagen’s business, it willfully failed to disclose and actively

    concealed the dangerous risks posed by the many safety issues and the serious Defect discussed

    above. Volkswagen compounded the deception by repeatedly asserting that the Class Vehicles

    were safe, reliable, and of high quality, and by claiming to be reputable manufacturers that value

    safety.

              440.   Volkswagen’s unfair or deceptive acts or practices, including these concealments,

    omissions, and suppressions of material facts, had a tendency or capacity to mislead, tended to

    create a false impression in consumers, were likely to and did in fact deceive reasonable



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    consumers, including the Plaintiffs, about the true safety and reliability of the Class Vehicles, the

    quality of Volkswagen’s brands, and the true value of the Class Vehicles.

            441.      Volkswagen intentionally and knowingly misrepresented material facts regarding

    the Class Vehicles with an intention to mislead the Plaintiffs and the Georgia Sub-Class.

            442.      Volkswagen knew or should have known that its conduct violated the Georgia

    UDTPA.

            443.      As alleged above, Volkswagen made material statements about the safety and

    reliability of the Class Vehicles that were either false or misleading. Volkswagen’s

    representations, omissions, statements, and commentary have included selling and marketing the

    Class Vehicles as safe and reliable despite its knowledge of the Defect or its failure to adequately

    investigate it.

            444.      To protect its profits and to avoid remediation costs and a public relations

    nightmare, Volkswagen concealed the dangers and risks posed by the Class Vehicles and their

    costly consequences, and allowed unsuspecting new and used car purchasers and lessees to

    continue to buy/lease the Class Vehicles, and allowed them to continue driving highly dangerous

    vehicles.

            445.      Volkswagen owed the Plaintiffs a duty to disclose the true safety and reliability of

    the Class Vehicles because it:

                      a. Possessed exclusive knowledge of the dangers and risks posed by the

                         foregoing;

                      b. Intentionally concealed the foregoing from the Plaintiffs; and/or




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                   c. Made incomplete representations about the safety and reliability of the

                       foregoing generally, while purposefully withholding material facts from the

                       Plaintiffs that contradicted these representations.

           446.    Because Volkswagen fraudulently concealed the Defect in the Class Vehicles,

    resulting in a raft of negative publicity once the Defect finally began to be disclosed, the value of

    the Class Vehicles has greatly diminished. In light of the stigma attached to the Class Vehicles

    by Volkswagen’s conduct, they are now worth significantly less than they otherwise would be.

           447.    Volkswagen’s failures to disclose and active concealment of the dangers and risks

    posed by the Defect in the Class Vehicles were material to the Plaintiffs and the Georgia Sub-

    Class. A vehicle made by a reputable manufacturer of safe vehicles is worth more than an

    otherwise comparable vehicle made by a disreputable manufacturer of unsafe vehicles that

    conceals defects rather than promptly remedies them.

           448.    Plaintiff Leigh Glasband and the entire Georgia Sub-Class suffered ascertainable

    loss caused by Volkswagen’s misrepresentations and its failure to disclose material information.

    Had they been aware of the Defect that existed in the Class Vehicles, and Volkswagen’s

    complete disregard for safety, the Plaintiffs either would have paid less for their vehicles or

    would not have purchased or leased them at all. The Plaintiffs did not receive the benefit of their

    bargain as a result of Volkswagen’s misconduct.

           449.    Volkswagen’s violations present a continuing risk to the Plaintiff, Georgia Sub-

    Class members, as well as to the general public. After all, the Georgia Sub-Class members will

    continue to own and lease a vehicle with a Defect, will continue to be exposed to the dangers

    posed by cupped and uneven tires, and will continue to own and lease vehicles whose value is




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    diminished by the presence of the Defect. Volkswagen’s unlawful acts and practices complained

    of herein affect the public interest.

            450.    As a direct and proximate result of Volkswagen’s violations of the Georgia

    UDTPA, Plaintiff Leigh Glasband and the entire Georgia Sub-Class have suffered injury-in-fact

    and/or actual damage.

            451.    Plaintiff, Leigh Glasband, and the other members of the Georgia Sub-Class seek

    an order enjoining Volkswagen’s unfair, unlawful, and/or deceptive practices, costs, attorneys’

    fees, and any other just and proper relief available under the Georgia UDTPA per Ga. Code Ann.

    § 10-1-373.

                E. Claims Brought on Behalf of the Louisiana Sub-Class

                                              COUNT 12

         Violation of the Louisiana Unfair Trade Practices and Consumer Protection Law
                                  La. Rev. Stat. §§ 51:1401, et seq.

            452.    This claim is brought only on behalf of Debbie Gray and the entire Louisiana

    Consumer Sub-Class against Volkswagen.

            453.    Plaintiff Debbie Gray, the Louisiana Consumer Sub-Class, and Volkswagen are

    “persons” within the meaning of the La. Rev. Stat. § 51:1402(8).

            454.    The Plaintiff and the Louisiana Consumer Sub-Class are “consumers” within the

    meaning of the La. Rev. Stat. § 51:1402(1).

            455.    Volkswagen engaged in “trade” or “commerce” within the meaning of La. Rev.

    Stat. § 51:1402(9).

            456.    The Louisiana Unfair Trade Practices and Consumer Protection Law (“Louisiana

    CPL”) makes unlawful “deceptive acts or practices in the conduct of any trade or commerce.”

    La. Rev. Stat. § 51:1405(A). Volkswagen participated in misleading, false, or deceptive acts that


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    violated the Louisiana CPL. By failing to disclose and actively concealing the dangers and risks

    posed by the Class Vehicles, Volkswagen engaged in deceptive business practices prohibited by

    Louisiana CPL.

           457.   In the course of its business, Volkswagen failed to disclose and actively concealed

    the dangers and risks posed by the Class Vehicles as described herein and otherwise engaged in

    activities with a tendency or capacity to deceive. Volkswagen also engaged in unlawful trade

    practices by employing deception, deceptive acts or practices, fraud, misrepresentations or

    concealment, suppression or omission of any material fact with intent that others rely upon such

    concealment, suppression or omission, in connection with the sale of the Class Vehicles.

           458.   Volkswagen and its network of authorized dealers have been aware of the

    existence of the Defect and its potential dangers since at least 2010 by way of numerous public

    and private complaints about the Defect and subsequent malfunctions.

           459.   By failing to disclose and by actively concealing the Defect in the Class Vehicles,

    yet marketing them as safe, reliable, and of high quality, and by presenting itself as reputable

    seller that values safety, Volkswagen engaged in unfair or deceptive business practices in

    violation of the Louisiana CPL. To ensure that consumers would purchase and lease the Class

    Vehicles, Volkswagen deliberately withheld information about the propensity of the Defect to

    cause premature tire wear, irregular and dangerous driving performance, and a variety of other

    complications, instead of addressing the Defect to ensure the comfort and protection of the

    consumers and vehicle occupants.

           460.   In the course of Volkswagen’s business, they willfully failed to disclose and

    actively concealed the dangerous risks posed by the many safety issues and the serious Defect

    discussed above. Volkswagen compounded the deception by repeatedly asserting that the Class



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    Vehicles were safe, reliable, and of high quality, and by claiming to be reputable manufacturers

    that value safety.

           461.    Volkswagen’s unfair or deceptive acts or practices, including these concealments,

    omissions, and suppressions of material facts, had a tendency or capacity to mislead, tended to

    create a false impression in consumers, were likely to and did in fact deceive reasonable

    consumers, including the Plaintiffs, about the true safety and reliability of the Class Vehicles, the

    quality of Volkswagen’s brand, and the true value of the Class Vehicles.

           462.    Volkswagen intentionally and knowingly misrepresented material facts regarding

    the Class Vehicles with intent to mislead the entire the Plaintiffs and the Louisiana Sub-Class.

           463.    Volkswagen knew or should have known that its conduct violated the Louisiana

    CPL.

           464.    As alleged above, Volkswagen made material statements about the safety and

    reliability of the Class Vehicles that were either false or misleading.               Volkswagen’s

    representations, omissions, statements, and commentary have included selling and marketing the

    Class Vehicles as safe and reliable, despite its knowledge of the Defect or its failure to

    adequately investigate it.

           465.    To protect its profits and to avoid remediation costs and a public relations

    nightmare, Volkswagen concealed the dangers and risks posed by the Class Vehicles and their

    costly consequences, and allowed unsuspecting new and used car purchasers and lessees to

    continue to buy/lease the Class Vehicles, and allowed them to continue driving highly dangerous

    vehicles.

           466.    Volkswagen owed the Plaintiffs a duty to disclose the true safety and reliability of

    the Class Vehicles because Volkswagen:



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                  a. Possessed exclusive knowledge of the dangers and risks posed by the

                      foregoing;

                  b. Intentionally concealed the foregoing from the Plaintiffs; and/or

                  c. Made incomplete representations about the safety and reliability of the

                      foregoing generally, while purposefully withholding material facts from the

                      Plaintiffs that contradicted these representations.

           467.   Because Volkswagen fraudulently concealed the Defect in the Class Vehicles,

    resulting in a cascade of negative publicity once the Defect finally began to be disclosed, the

    value of the Class Vehicles has greatly diminished. In light of the stigma attached to the Class

    Vehicles by Volkswagen’s conduct, they are now worth significantly less than they otherwise

    would be.

           468.   Volkswagen’s failure to disclose and active concealment of the dangers and risks

    posed by the Defect in the Class Vehicles were material to the Plaintiffs and the Louisiana Sub-

    Class. A vehicle made by a reputable manufacturer of safe vehicles is worth more than an

    otherwise comparable vehicle made by a disreputable manufacturer of unsafe vehicles that

    conceals defects rather than promptly remedies them.

           469.   Plaintiff Debbie Gray and the Louisiana Sub-Class suffered ascertainable loss

    caused by Volkswagen’s misrepresentations and its failure to disclose material information. Had

    the Class Members been aware of the Defect that existed in the Class Vehicles and

    Volkswagen’s complete disregard for safety, the Plaintiffs either would have paid less for their

    vehicles or would not have purchased or leased them at all. The Plaintiffs and the other Class

    Members did not receive the benefit of their bargain as a result of Volkswagen’s misconduct.




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           470.      Volkswagen’s violations present a continuing risk to the Plaintiffs, the Louisiana

    Sub-Class, as well as to the general public. Volkswagen’s unlawful acts and practices

    complained of herein affect the public interest.

           471.      As a direct and proximate result of Volkswagen’s violations of the Louisiana

    CPL, Plaintiff Debbie Gray and the Louisiana Sub-Class have suffered injury-in-fact and/or

    actual damage.

           472.      Pursuant to La. Rev. Stat. § 51:1409, the Plaintiffs and the Louisiana Sub-Class

    seek to recover actual damages in an amount to be determined at trial; treble damages for

    Volkswagen’s knowing violations of the Louisiana CPL; an order enjoining Volkswagen’s

    unfair, unlawful, and/or deceptive practices; declaratory relief; costs; attorneys’ fees; and any

    other just and proper relief available under La. Rev. Stat. § 51:1409.

                                                COUNT 13

                     Breach of the Implied Warranty of Merchantability/Warranty
                                     Against Redhibitory Defects
                                     La. Civ. Code Art. 2520, 2524

           473.      In the event the Court declines to certify a Nationwide Consumer Class under the

    Magnuson-Moss Warranty Act, this claim is brought only on behalf of Debbie Gray and the

    entire Louisiana Consumer Sub-Class against Volkswagen.

           474.      At the time the Plaintiffs and the Louisiana Sub-Class acquired their Class

    Vehicles, those vehicles had a redhibitory defect within the meaning of La. Civ. Code Art. 2520,

    in that (a) the Class Vehicles were rendered so inconvenient that the Plaintiffs either would not

    have purchased the Class Vehicles had they known of the Defect, or, because the Defect so

    diminished the usefulness and/or value of the Class Vehicles such that it must be presumed that

    the Plaintiffs would not have purchased the Class Vehicles, but for a lesser price.



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           475.    No notice of the defect is required under La. Civ. Code Art. 2520, since

    Volkswagen had knowledge of the dangers and risks posed by the Class Vehicles at the time they

    were sold or leased to the Plaintiffs and the Louisiana Sub-Class.

           476.    Under La. Civ. Code Art. 2524, a warranty that the Class Vehicles installed in

    them were in merchantable condition was implied by law in the Class Vehicle transactions.

           477.    The Class Vehicles, when sold and at all times thereafter, were not merchantable

    and are not fit for the ordinary purpose of providing reliable, durable, and safe transportation.

    Specifically, they are inherently defective and dangerous in that the Defect: (a) causes tires to

    prematurely wear; (b) causes uneven wear on tires; (c) causes vehicles to uncontrollably pull to

    one side; (d) causes discomfort for vehicle occupants; (e) minimizes friction between tires and

    the road, jeopardizing steering stability and vehicle performance; (f) allows sudden oscillations

    in the vehicle when traveling on uneven surfaces; and (g) does not allow for necessary correction

    and adjustment of the Vehicles’ front cambers.

           478.    Volkswagen was provided notice of these issues by its knowledge of the issues,

    by consumer complaints, and by numerous individual letters and communications sent by the

    consumers.

           479.    As a direct and proximate result of Volkswagen’s breach of the warranties of

    merchantability, Plaintiff Debbie Gray and the Louisiana Sub-Class have been damaged in an

    amount to be proven at trial.




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                F. Claims Brought on Behalf of the Missouri Sub-Class

                                                COUNT 14

                        Violation of the Missouri Merchandising Practices Act
                                   Mo. Rev. Stat. §§ 407.010 et seq.

           480.    This claim is brought only on behalf of Mary Blue and the entire Missouri

    Consumer Sub-Class against Volkswagen.

           481.    Plaintiff Mary Blue, the Missouri Sub-Class, and Volkswagen are “persons”

    within the meaning of Mo. Rev. Stat. § 407.010(5).

           482.    Volkswagen engaged in “trade” or “commerce” in the State of Missouri within

    the meaning of Mo. Rev. Stat. § 407.010(7).

           483.    The Missouri Merchandising Practices Act (“Missouri MPA”) makes unlawful

    the “act, use or employment by any person of any deception, fraud, false pretense,

    misrepresentation, unfair practice, or the concealment, suppression, or omission of any material

    fact in connection with the sale or advertisement of any merchandise.” Mo. Rev. Stat. § 407.020.

           484.    In the course of its business, Volkswagen failed to disclose and actively concealed

    the dangers and risks posed by the Class Vehicles as described herein. By failing to disclose the

    Defect or facts about the Defect described herein known to them or that were available to

    Volkswagen upon reasonable inquiry, Volkswagen deprived consumers of all material facts

    about the safety and functionality of their vehicles.

           485.    By failing to release material facts about the Defect, Volkswagen curtailed or

    reduced the ability of consumers to take notice of material facts about their vehicles, and/or it

    affirmatively operated to hide or keep those facts from consumers. 15 Mo. Code of Serv. Reg. §

    60-9.110.




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              486.   Moreover, Volkswagen has otherwise engaged in activities with a tendency or

    capacity to deceive.      Volkswagen also engaged in unlawful trade practices by employing

    deception, deceptive acts or practices, fraud, misrepresentations, unfair practices, and/or

    concealment, suppression or omission of any material fact with intent that others rely upon such

    concealment, suppression or omission, in connection with the sale of the Class Vehicles.

              487.   Volkswagen and its network of authorized dealers have been aware of the

    existence of the Defect and its potential dangers since at least 201 by way of numerous public

    and private complaints about the Defect and subsequent malfunctions.

              488.   By failing to disclose and by actively concealing the Defect in the Class Vehicles,

    by marketing them as safe, reliable, and of high quality, and by presenting itself as reputable

    manufacturers that value safety, Volkswagen engaged in unfair or deceptive business practices in

    violation of the Missouri MPA. To ensure that consumers would purchase or lease the Class

    Vehicles, Volkswagen deliberately withheld the information about the propensity of the Defect

    to cause premature tire wear, irregular driving performance, and a variety of other complications,

    instead of addressing the Defect to ensure the comfort and protection of the consumers and

    vehicle occupants.

              489.   In the course of Volkswagen’s business, it willfully failed to disclose and actively

    concealed the dangerous risks posed by the many safety issues and serious defect discussed

    above. Volkswagen compounded the deception by repeatedly asserting that the Class Vehicles

    were safe, reliable, and of high quality, and by claiming to be reputable manufacturers that value

    safety.

              490.   Volkswagen’s unfair or deceptive acts or practices, including these concealments,

    omissions, and suppressions of material facts, had a tendency or capacity to mislead, tended to



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    create a false impression in consumers, were likely to and did in fact deceive reasonable

    consumers, including the Plaintiffs, about the true safety and reliability of the Class Vehicles, the

    quality of Volkswagen’s brands, and the true value of the Class Vehicles.

           491.      Volkswagen intentionally and knowingly misrepresented material facts regarding

    the Class Vehicles with an intent to mislead the Plaintiffs and the Missouri Sub-Class, including,

    without limitation, by failing to disclose the Defect in light of circumstances under which the

    omitted facts were necessary in order to correct the assumptions, inferences or representations

    being made by Volkswagen about the safety or reliability of the Class Vehicles. Consequently,

    the failure to disclose such facts amounts to misleading statements pursuant to 15 Mo. Code of

    Serv. Reg. §60-9.090.

           492.      Because Volkswagen knew or believed that its statements regarding safety and

    reliability of the Class Vehicles were not in accord with the facts and/or had no reasonable basis

    for such statements in light of its knowledge of the Defect, Volkswagen engaged in fraudulent

    misrepresentations pursuant to 15 Mo. Code of Serv. Reg.60-9.100.

           493.      Volkswagen’s conduct as described herein is unethical, oppressive, or

    unscrupulous and/or it presented a risk of substantial injury to consumers whose vehicles were

    inherently defective and dangerous in that the Defect: (a) causes tires to prematurely wear; (b)

    causes uneven wear on tires; (c) causes vehicles to uncontrollably pull to one side; (d) causes

    discomfort for vehicle occupants; (e) minimizes friction between tires and the road, jeopardizing

    steering stability and vehicle performance; (f) allows sudden oscillations in the vehicle when

    traveling on uneven surfaces; and (g) does not allow for necessary correction and adjustment of

    the Vehicles’ front cambers. Such acts are unfair practices in violation of 15 Mo. Code of Serv.

    Reg. 60-8.020.



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           494.    Volkswagen knew or should have known that its conduct violated the Missouri

    MPA.

           495.    As alleged above, Volkswagen made material statements about the safety and

    reliability of the Class Vehicles that were either false or misleading.               Volkswagen’s

    representations, omissions, statements, and commentary have included selling and marketing the

    Class Vehicles as safe and reliable, despite its knowledge of the Defect or its failure to

    adequately investigate it.

           496.    To protect its profits and to avoid remediation costs and a public relations

    nightmare, Volkswagen concealed the dangers and risks posed by the Class Vehicles and their

    costly consequences, and allowed unsuspecting new and used car purchasers and lessees to

    continue to buy/lease the Class Vehicles, and allowed them to continue driving highly dangerous

    vehicles.

           497.    Volkswagen owed the Plaintiffs a duty to disclose the true safety and reliability of

    the Class Vehicles because it:

                   a. Possessed exclusive knowledge of the dangers and risks posed by the

                       foregoing;

                   b. Intentionally concealed the foregoing from the Plaintiffs; and/or

                   c. Made incomplete representations about the safety and reliability of the

                       foregoing generally, while purposefully withholding material facts from the

                       Plaintiffs that contradicted these representations.

           498.    Because Volkswagen fraudulently concealed the Defect in the Class Vehicles,

    resulting in a raft of negative publicity once the Defect finally began to be disclosed, the value of




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    the Class Vehicles has greatly diminished. In light of the stigma attached to the Class Vehicles

    by Volkswagen’s conduct, they are now worth significantly less than they otherwise would be.

           499.      Volkswagen’s failures to disclose and active concealment of the dangers and risks

    posed by the Defect in the Class Vehicles were material to the Plaintiffs and the Missouri Sub-

    Class. A vehicle made by a reputable manufacturer of safe vehicles is worth more than an

    otherwise comparable vehicle made by a disreputable manufacturer of unsafe vehicles that

    conceals defects rather than promptly remedies them.

           500.      Plaintiff Mary Blue and the entire Missouri Sub-Class suffered ascertainable loss

    caused by Volkswagen’s misrepresentations and its failure to disclose material information. Had

    they been aware of the Defect that existed in the Class Vehicles, and Volkswagen’s complete

    disregard for safety, the Plaintiffs either would have paid less for their vehicles or would not

    have purchased or leased them at all. The Plaintiffs did not receive the benefit of their bargain as

    a result of Volkswagen’s misconduct.

           501.      Volkswagen’s violations present a continuing risk to the Plaintiffs, to the Missouri

    Sub-Class, as well as to the general public. Volkswagen’s unlawful acts and practices

    complained of herein affect the public interest.

           502.      As a direct and proximate result of Volkswagen’s violations of the Missouri

    MPA, Plaintiff Mary Blue and the entire Missouri Sub-Class have suffered injury-in-fact and/or

    actual damage.

           503.      Volkswagen is liable to Plaintiff Mary Blue and the Missouri Sub-Class for

    damages in amounts to be proven at trial, including attorneys’ fees, costs, and punitive damages,

    as well as injunctive relief enjoining Volkswagen’s unfair and deceptive practices, and any other

    just and proper relief under Mo. Rev. Stat. § 407.025.



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                                              COUNT 15

                         Breach of the Implied Warranty of Merchantability
                                     Mo. Rev. Stat. § 400.2-314

           504.    In the event the Court declines to certify a Nationwide Consumer Class under the

    Magnuson-Moss Warranty Act, this claim is brought only on behalf of Mary Blue and the entire

    Missouri Consumer Sub-Class against Volkswagen.

           505.    Volkswagen is and was at all relevant times a merchant with respect to motor

    vehicles within the meaning of Mo. Rev. Stat. § 400.2-314(1).

           506.    A warranty that the Class Vehicles were in merchantable condition was implied

    by law in the Class Vehicle transactions, pursuant to Mo. Rev. Stat. § 400.2-314.

           507.    The Class Vehicles, when sold and at all times thereafter, were not merchantable

    and are not fit for the ordinary purpose of providing reliable, durable, and safe transportation.

    Specifically, they are inherently defective and dangerous in that the Defect: (a) causes tires to

    prematurely wear; (b) causes uneven wear on tires; (c) causes vehicles to uncontrollably pull to

    one side; (d) causes discomfort for vehicle occupants; (e) minimizes friction between tires and

    the road, jeopardizing steering stability and vehicle performance; (f) allows sudden oscillations

    in the vehicle when traveling on uneven surfaces; and (g) does not allow for necessary correction

    and adjustment of the Vehicles’ front cambers.

           508.    Volkswagen was provided notice of these issues by its knowledge of the issues,

    by customer complaints, and by numerous individual letters and communications sent by the

    consumers.

           509.    As a direct and proximate result of Volkswagen’s breach of the warranties of

    merchantability, Plaintiff Mary Blue and the entire Missouri Sub-Class have been damaged in an

    amount to be proven at trial.

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               G. Claims Brought on Behalf of the New Jersey Sub-Class

                                               COUNT 16

                             Breach of Implied Warranty of Merchantability,
                                        N.J. Stat. Ann. § 12a:2-314

           510.      In the event the Court declines to certify a Nationwide Consumer Class under the

    Magnuson-Moss Warranty Act, this claim is brought only on behalf of Matthew Martino and the

    entire New Jersey Consumer Sub-Class against Volkswagen.

           511.      Volkswagen is a merchant with respect to motor vehicles.

           512.      When Plaintiff Matthew Martino and the other members of the New Jersey Sub-

    Class purchased or leased their Class Vehicles, the transaction contained an implied warranty

    that the Class Vehicles were in merchantable condition.

           513.      At the time of sale and all times thereafter, the Class Vehicles were not

    merchantable and not fit for the ordinary purpose of providing reliable, durable, and safe

    transportation. Specifically, the Class Vehicles are inherently defective in that they are equipped

    with the Defect that, among other things, causes: (a) the Vehicles’ tires to prematurely wear; (b)

    uneven wear on tires; (c) uncontrollable pulling to one side during operation; (d) discomfort for

    vehicle occupants; (e) minimization of friction between tires and the road, jeopardizing steering

    stability and vehicle performance; (f) sudden oscillations in the vehicle when traveling on

    uneven surfaces; and (g) obstruction to necessary corrections and adjustments of the Vehicles’

    front cambers.

           514.      On information and belief, Volkswagen had notice of the Defect by its knowledge

    of the issues, by customer complaints, and by numerous individual letters and communications

    sent by the consumers.




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           515.    As a direct and proximate result of Volkswagen’s breach of the warranties of

    merchantability, Plaintiff Matthew Martino and the entire New Jersey Consumer Sub-Class have

    been damaged in an amount to be proven at trial.

                                               COUNT 17

                             Violation of the New Jersey Consumer Fraud Act,
                                      N.J. Stat. Ann. §§ 56:8-1, et seq.

           516.    This claim is brought only on behalf of Matthew Martino and the entire New

    Jersey Consumer Sub-Class against Volkswagen.

           517.    Plaintiff Matthew Martino, the other New Jersey Sub-Class members, and

    Volkswagen are or were “persons” within the meaning of N.J. Stat. Ann. § 56:8-1(d).

           518.    Volkswagen engaged in “sales” of “merchandise” within the meaning of N.J. Stat.

    Ann. § 56:8-1(c), (d).

           519.    The New Jersey Consumer Fraud Act (“New Jersey CFA”) makes unlawful “[t]he

    act, use or employment by any person of any unconscionable commercial practice, deception,

    fraud, false pretense, false promise, misrepresentation, or the knowing concealment, suppression

    or omission of any material fact with the intent that others rely upon such concealment,

    suppression or omission, in connection with the sale or advertisement of any merchandise or real

    estate, or with the subsequent performance of such person as aforesaid, whether or not any

    person has in fact been misled, deceived or damaged thereby…” N.J. Stat. Ann. § 56:8-2.

    Volkswagen engaged in unconscionable or deceptive acts or practices that violated the New

    Jersey CFA as described above and below, and did so with the intent that the New Jersey Sub-

    Class members rely upon its acts, concealment, suppression, or omissions.




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              520.   In the course of its business, Volkswagen failed to disclose and actively concealed

    the dangers and risks posed by the Class Vehicles as described herein and otherwise engaged in

    activities with a tendency or capacity to deceive.

              521.   Volkswagen also engaged in unlawful trade practices by employing deception,

    deceptive acts or practices, fraud, misrepresentations or concealment, suppression or omission of

    any material fact with intent that others rely upon such concealment, suppression or omission, in

    connection with the sale of the Class Vehicles.

              522.   Volkswagen and its network of authorized dealers have been aware of the

    existence of the Defect and its potential dangers since at least 2010 by way of numerous public

    and private complaints about the Defect and subsequent malfunctions.

              523.   By failing to disclose and by actively concealing the Defect in the Class Vehicles,

    by marketing them as safe, reliable, and of high quality, and by presenting itself as reputable

    manufacturers that value safety, Volkswagen engaged in unfair or deceptive business practices in

    violation of the New Jersey CFA. To ensure that consumers would purchase and/or lease the

    Class Vehicles, Volkswagen deliberately withheld the information about the propensity of the

    Defect to cause premature tire wear, irregular driving performance, and a variety of other

    complications, instead of addressing the Defect to ensure the protection and comfort of the

    consumers and vehicle occupants.

              524.   In the course of Volkswagen’s business, it willfully failed to disclose and actively

    concealed the dangerous risks posed by the many safety issues and serious defect discussed

    above. Volkswagen compounded the deception by repeatedly asserting that the Class Vehicles

    were safe, reliable, and of high quality, and by claiming to be reputable manufacturers that value

    safety.



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             525.   Volkswagen’s unfair or deceptive acts or practices, including these concealments,

    omissions, and suppressions of material facts, had a tendency or capacity to mislead, tended to

    create a false impression in consumers, were likely to and did in fact deceive reasonable

    consumers, including the Plaintiffs, about the true safety and reliability of the Class Vehicles, the

    quality of Volkswagen’s brands, and the true value of the Class Vehicles.

             526.   Volkswagen intentionally and knowingly misrepresented material facts regarding

    the Class Vehicles with an intention to mislead the Plaintiffs and the New Jersey Consumer Sub-

    Class.

             527.   Volkswagen knew or should have known that its conduct violated the New Jersey

    CFA.

             528.   As alleged above, Volkswagen made material statements about the safety and

    reliability of the Class Vehicles that were either false or misleading. Volkswagen’s

    representations, omissions, statements, and commentary have included selling and marketing the

    Class Vehicles as safe and reliable, despite its knowledge of the Defect or its failure to

    adequately investigate it.

             529.   To protect its profits and to avoid remediation costs and a public relations

    nightmare, Volkswagen concealed the dangers and risks posed by the Class Vehicles and their

    costly consequences, and allowed unsuspecting new and used car purchasers and lessees to

    continue to buy/lease the Class Vehicles, and allowed them to continue driving these highly

    dangerous vehicles.

             530.   Volkswagen owed the Plaintiffs a duty to disclose the true safety and reliability of

    the Class Vehicles because Volkswagen:




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                   a. Possessed exclusive knowledge of the dangers and risks posed by the

                       foregoing;

                   b. Intentionally concealed the foregoing from the Plaintiffs; and/or

                   c. Made incomplete representations about the safety and reliability of the

                       foregoing generally, while purposefully withholding material facts from the

                       Plaintiffs that contradicted these representations.

           531.    Because Volkswagen fraudulently concealed the Defect in the Class Vehicles,

    resulting in a raft of negative publicity once the Defect finally began to be disclosed, the value of

    the Class Vehicles has greatly diminished. In light of the stigma attached to the Class Vehicles

    by Volkswagen’s conduct, they are now worth significantly less than they otherwise would be.

           532.    Volkswagen’s failures to disclose and active concealment of the dangers and risks

    posed by the Defect in the Class Vehicles were material to the Plaintiffs and the New Jersey Sub-

    Class. A vehicle made by a reputable manufacturer of safe vehicles is worth more than an

    otherwise comparable vehicle made by a disreputable manufacturer of unsafe vehicles that

    conceals the Defect rather than promptly remedies them.

           533.    Plaintiff Matthew Martino and the entire New Jersey Sub-Class suffered

    ascertainable loss caused by Volkswagen’s misrepresentations and its failure to disclose material

    information. Had they been aware of the Defect that existed in the Class Vehicles, and

    Volkswagen’s complete disregard for safety, the Plaintiffs either would have paid less for their

    vehicles or would not have purchased or leased them at all. The Plaintiffs did not receive the

    benefit of their bargain as a result of Volkswagen’s misconduct.




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              534.   Volkswagen’s violations present a continuing risk to the Plaintiffs, the New

    Jersey Sub-Class, as well as to the general public. Volkswagen’s unlawful acts and practices

    complained of herein affect the public interest.

              535.   As a direct and proximate result of Volkswagen’s violations of the New Jersey

    CFA, Plaintiff Matthew Martino and the entire New Jersey Sub-Class have suffered injury-in-

    fact and/or actual damage.

              536.   Plaintiff Matthew Martino and the entire New Jersey Sub-Class are entitled to

    recover legal and/or equitable relief including an order enjoining Volkswagen’s unlawful

    conduct, treble damages, costs, and reasonable attorneys’ fees pursuant to N.J. Stat. Ann. § 56:8-

    19, and any other just and appropriate relief.

                 H. Claims Brought on Behalf of the New York Sub-Class

                                                COUNT 18

                            Violation of the New York General Business Law
                                        N.Y. Gen. Bus. Law § 349

              537.   This claim is brought only on behalf of Carissa Macchione and the entire New

    York Consumer Sub-Class against Volkswagen.

              538.   The Plaintiff, Carissa Macchione, and New York Sub-Class are “persons” within

    the meaning of New York General Business Law (“New York GBL”), N.Y. Gen. Bus. Law §

    349(h).

              539.   Volkswagen is a “person,” “firm,” “corporation,” or “association” within the

    meaning of N.Y. Gen. Bus. Law § 349.

              540.   The New York GBL makes unlawful “[d]eceptive acts or practices in the conduct

    of any business, trade or commerce.” N.Y. Gen. Bus. Law § 349. Volkswagen’s conduct directed




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    toward consumers, as described above and below, constitutes “deceptive acts or practices” within

    the meaning of the New York GBL.

           541.    Volkswagen’s actions as set forth above occurred in the conduct of trade or

    commerce.

           542.    In the course of its business, Volkswagen failed to disclose and actively concealed

    the dangers and risks posed by the Class Vehicles as described herein and otherwise engaged in

    activities with a tendency or capacity to deceive.

           543.    Volkswagen also engaged in unlawful trade practices by employing deception,

    deceptive acts or practices, fraud, misrepresentations or concealment, suppression or omission of

    any material fact with intent that others rely upon such concealment, suppression or omission, in

    connection with the sale of the Class Vehicles.

           544.    Volkswagen and its network of authorized dealers have been aware of the

    existence of the Defect and its potential dangers since at least 2010 by way of numerous public

    and private complaints about the Defect and subsequent malfunctions.

           545.    By failing to disclose and by actively concealing the Defect in the Class Vehicles,

    by marketing them as safe, reliable, and of high quality, and by presenting itself as a reputable

    manufacturer that values safety, Volkswagen engaged in unfair or deceptive business practices in

    violation of the New York GBL. To ensure that consumers would purchase and/or lease the

    Class Vehicles, Volkswagen deliberately withheld the information about the propensity of the

    Defect to cause premature tire wear, irregular driving performance, and a variety of other

    complications, instead of addressing the Defect to ensure the comfort and protection of the

    consumers and vehicle occupants.




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              546.   In the course of Volkswagen’s business, it willfully failed to disclose and actively

    concealed the dangerous risks posed by the many safety issues and serious defect discussed

    above. Volkswagen compounded the deception by repeatedly asserting that the Class Vehicles

    were safe, reliable, and of high quality, and by claiming to be reputable manufacturers that value

    safety.

              547.   Volkswagen’s unfair or deceptive acts or practices, including these concealments,

    omissions, and suppressions of material facts, had a tendency or capacity to mislead, tended to

    create a false impression in consumers, were likely to and did in fact deceive reasonable

    consumers, including the Plaintiffs, about the true safety and reliability of the Class Vehicles, the

    quality of Volkswagen’s brands, and the true value of the Class Vehicles.

              548.   Volkswagen intentionally and knowingly misrepresented material facts regarding

    the Class Vehicles with an intention to mislead the Plaintiffs and the New York Sub-Class.

              549.   Volkswagen knew or should have known that its conduct violated the New York

    GBL.

              550.   As alleged above, Volkswagen made material statements about the safety and

    reliability of the Class Vehicles that were either false or misleading. Volkswagen’s

    representations, omissions, statements, and commentary have included selling and marketing the

    Class Vehicles as “safe” and “reliable,” despite its knowledge of the Defect or its failure to

    adequately investigate it.

              551.   To protect its profits and to avoid remediation costs and a public relations

    nightmare, Volkswagen concealed the dangers and risks posed by the Class Vehicles and their

    costly consequences, and allowed unsuspecting new and used car purchasers and lessees to




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    continue to buy/lease the Class Vehicles, and allowed them to continue driving highly dangerous

    vehicles.

           552.    Volkswagen owed the Plaintiffs a duty to disclose the true safety and reliability of

    the Class Vehicles because Volkswagen:

                   a. Possessed exclusive knowledge of the dangers and risks posed by the

                       foregoing;

                   b. Intentionally concealed the foregoing from the Plaintiffs; and/or

                   c. Made incomplete representations about the safety and reliability of the

                       foregoing generally, while purposefully withholding material facts from the

                       Plaintiffs that contradicted these representations.

           553.    Because Volkswagen fraudulently concealed the Defect in the Class Vehicles,

    resulting in a raft of negative publicity once the Defect finally began to be disclosed, the value of

    the Class Vehicles has greatly diminished. In light of the stigma attached to the Class Vehicles

    by Volkswagen’s conduct, they are now worth significantly less than they otherwise would be.

           554.    Volkswagen’s failure to disclose and active concealment of the dangers and risks

    posed by the Defect in the Class Vehicles were material to the Plaintiffs and the New York Sub-

    Class. A vehicle made by a reputable manufacturer of safe vehicles is worth more than an

    otherwise comparable vehicle made by a disreputable manufacturer of unsafe vehicles that

    conceals defects rather than promptly remedies them.

           555.    Plaintiff Carissa Macchione and the entire New York Sub-Class suffered

    ascertainable loss caused by Volkswagen’s misrepresentations and its failure to disclose material

    information.   Had they been aware of the Defect that existed in the Class Vehicles, and

    Volkswagen’s complete disregard for safety, the Plaintiffs either would have paid less for their



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    vehicles or would not have purchased or leased them at all. The Plaintiffs did not receive the

    benefit of their bargain as a result of Volkswagen’s misconduct.

           556.    Volkswagen’s violations present a continuing risk to the Plaintiffs, the New York

    Sub-Class, as well as to the general public. Volkswagen’s unlawful acts and practices

    complained of herein affect the public interest.

           557.    As a direct and proximate result of Volkswagen’s violations of the New York

    GBL, Plaintiff Carissa Macchione and the entire New York Sub-Class have suffered injury-in-

    fact and/or actual damage.

           558.    Plaintiff Carissa Macchione and the New York Sub-Class members seek punitive

    damages against Volkswagen because its conduct was egregious. Volkswagen misrepresented

    the safety and reliability of several thousand Class Vehicles, concealed the Defect in several

    thousand of them, deceived the Plaintiffs and the New York Sub-Class on material matters, and

    concealed material facts that only Volkswagen knew, all to avoid the expense and public

    relations nightmare of correcting the serious flaw in thousands of the Class Vehicles.

    Volkswagen’s egregious conduct warrants punitive damages.

           559.    As a result of the foregoing wrongful conduct of Volkswagen, Plaintiff Carissa

    Macchione and the entire New York Sub-Class seek recovery of actual damages or $50,

    whichever is greater, discretionary treble damages up to $1,000, punitive damages, reasonable

    attorneys’ fees and costs, an order enjoining Volkswagen’s deceptive conduct, and any other just

    and proper relief available under N.Y. Gen. Bus. Laws § 349.09.




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                                               COUNT 19

                           Violation of the New York General Business Law
                                       N.Y. Gen. Bus. Law § 350

           560.    This claim is brought only on behalf of Carissa Macchione and the entire New

    York Consumer Sub-Class against Volkswagen.

           561.    Volkswagen was and is engaged in the “conduct of business, trade or commerce”

    within the meaning of N.Y. Gen. Bus. Law § 350.

           562.    N.Y. Gen. Bus. Law § 350 makes unlawful “[f]alse advertising in the conduct of

    any business, trade or commerce.” False advertising includes “advertising, including labeling, of

    a commodity . . . if such advertising is misleading in a material respect,” taking into account “the

    extent to which the advertising fails to reveal facts material in light of … representations [made]

    with respect to the commodity ….” N.Y. Gen. Bus. Law § 350-a

           563.    Volkswagen caused to be made or disseminated through New York and the

    United States, through advertising, marketing and other publications, statements that were untrue

    or misleading, and which were known, or which by the exercise of reasonable care should have

    been known to Volkswagen, to be untrue and misleading to consumers, including the Plaintiffs

    and the entire New York Sub-Class.

           564.    Volkswagen has violated § 350 because the misrepresentations and omissions

    regarding the safety, reliability, and functionality of the Class Vehicles as set forth in this

    Amended Complaint were material and likely to deceive a reasonable consumer.

           565.    Plaintiff Carissa Macchione and the entire New York Sub-Class have suffered an

    injury in fact, including the loss of money or property, as a result of Volkswagen’s false

    advertising. In purchasing or leasing the Class Vehicles with the Defect installed in them, the

    New York Plaintiffs and the New York Sub-Class relied on the misrepresentations and/or

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    omissions of Volkswagen with respect to the safety and reliability of the Class Vehicles.

    Volkswagen’s representations were false and/or misleading because the concealed Defect and

    safety issues seriously undermine the value of the Class Vehicles. Had the Plaintiffs and the

    New York Sub-Class known the truth, they would not have purchased or leased their Class

    Vehicles and/or paid as much for them.

              566.   Pursuant to N.Y. Gen. Bus. Law § 350-e, Plaintiff Carissa Macchione and the

    entire New York Sub-Class seek monetary relief against Volkswagen measured as the greater of

    (a) actual damages in an amount to be determined at trial and (b) statutory damages in the

    amount of $500 for each New York Sub-Class member. Because Volkswagen’s conduct was

    committed willfully and knowingly, the New York members are entitled to recover three times

    actual damages, up to $10,000, for each New York Class member.

              567.   Plaintiff Carissa Macchione and the New York Sub-Class also seek an order

    enjoining Volkswagen’s unfair, unlawful, and/or deceptive practices, costs, attorneys’ fees, and

    any other just and proper relief available under General Business Law § 350.

                 I. Claims Brought on Behalf of the North Carolina Sub-Class

                                               COUNT 20

               Violation of the North Carolina Unfair and Deceptive Trade Practices Act
                                    N.C. Gen. Stat. §§ 75-1.1, et seq.

              568.   This claim is brought only on behalf of Ryan Brown and the entire North Carolina

    Consumer Sub-Class against Volkswagen.

              569.   Volkswagen engaged in “commerce” within the meaning of N.C. Gen. Stat. § 75-

    1.1(b).




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           570.    The North Carolina Act broadly prohibits “unfair or deceptive acts or practices in

    or affecting commerce.” N.C. Gen. Stat. § 75-1.1(a). As alleged above and below, Volkswagen

    willfully committed unfair or deceptive acts or practices in violation of the North Carolina Act.

           571.    In the course of its business, Volkswagen failed to disclose and actively concealed

    the dangers and risks posed by the Class Vehicles as described herein and otherwise engaged in

    activities with a tendency or capacity to deceive.

           572.    Volkswagen also engaged in unlawful trade practices by employing deception,

    deceptive acts or practices, fraud, misrepresentations or concealment, suppression or omission of

    any material fact with intent that others rely upon such concealment, suppression or omission, in

    connection with the sale of the Class Vehicles.

           573.    Volkswagen and its network of authorized dealers have been aware of the

    existence of the Defect and its potential dangers since at least 2010 by way of numerous public

    and private complaints about the Defect and subsequent malfunctions.

           574.    By failing to disclose and by actively concealing the Defect in the Class Vehicles,

    by marketing them as safe, reliable, and of high quality, and by presenting itself as a reputable

    manufacturer that values safety, Volkswagen engaged in unfair or deceptive business practices in

    violation of the North Carolina Act. To ensure that consumers would purchase and lease the

    Class Vehicles, Volkswagen deliberately withheld the information about the propensity of the

    Defect to cause premature tire wear, irregular driving performance, and a variety of other

    complications, instead of addressing the Defect to ensure the comfort and protection of the

    consumers and vehicle occupants.

           575.    In the course of Volkswagen’s business, they willfully failed to disclose and

    actively concealed the dangerous risks posed by the many safety issues and serious defect



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    discussed above. Volkswagen compounded the deception by repeatedly asserting that the Class

    Vehicles were safe, reliable, and of high quality, and by claiming to be a reputable manufacturer

    that values safety.

           576.     Volkswagen’s unfair or deceptive acts or practices, including these concealments,

    omissions, and suppressions of material facts, had a tendency or capacity to mislead, tended to

    create a false impression in consumers, were likely to and did in fact deceive reasonable

    consumers, including the Plaintiffs, about the true safety and reliability of the Class Vehicles, the

    quality of Volkswagen’s brands, and the true value of the Class Vehicles.

           577.     Volkswagen intentionally and knowingly misrepresented material facts regarding

    the Class Vehicles with an intention to mislead the Plaintiffs and the North Carolina Sub-Class.

           578.     Volkswagen knew or should have known that its conduct violated the North

    Carolina Act.

           579.     As alleged above, Volkswagen made material statements about the safety and

    reliability of the Class Vehicles that were either false or misleading.               Volkswagen’s

    representations, omissions, statements, and commentary have included selling and marketing the

    Class Vehicles as safe and reliable, despite its knowledge of the Defect or its failure to

    adequately investigate it.

           580.     To protect its profits and to avoid remediation costs and a public relations

    nightmare, Volkswagen concealed the dangers and risks posed by the Class Vehicles and their

    costly consequences, and allowed unsuspecting new and used car purchasers and lessees to

    continue to buy/lease the Class Vehicles, and allowed them to continue driving highly dangerous

    vehicles.




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           581.    Volkswagen owed the Plaintiffs a duty to disclose the true safety and reliability of

    the Class Vehicles because it:

                   a. Possessed exclusive knowledge of the dangers and risks posed by the

                       foregoing;

                   b. Intentionally concealed the foregoing from the Plaintiffs; and/or

                   c. Made incomplete representations about the safety and reliability of the

                       foregoing generally, while purposefully withholding material facts from the

                       Plaintiffs that contradicted these representations.

           582.    Because Volkswagen fraudulently concealed the Defect in the Class Vehicles,

    resulting in a raft of negative publicity once the Defect finally began to be disclosed, the value of

    the Class Vehicles has greatly diminished. In light of the stigma attached to the Class Vehicles

    by Volkswagen’s conduct, they are now worth significantly less than they otherwise would be.

           583.    Volkswagen’s failures to disclose and active concealment of the dangers and risks

    posed by the Defect in the Class Vehicles were material to the Plaintiffs and the North Carolina

    Sub-Class. A vehicle made by a reputable manufacturer of safe vehicles is worth more than an

    otherwise comparable vehicle made by a disreputable manufacturer of unsafe vehicles that

    conceals defects rather than promptly remedies them.

           584.    Plaintiff Ryan Brown and the entire North Carolina Sub-Class suffered

    ascertainable loss caused by Volkswagen’s misrepresentations and its failure to disclose material

    information. Had they been aware of the Defect that existed in the Class Vehicles and

    Volkswagen’s complete disregard for safety, the Plaintiffs either would have paid less for their

    vehicles or would not have purchased or leased them at all. The Plaintiffs did not receive the

    benefit of their bargain as a result of Volkswagen’s misconduct.



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           585.    Volkswagen’s violations present a continuing risk to the Plaintiffs, the North

    Carolina Sub-Class, as well as to the general public. Volkswagen’s unlawful acts and practices

    complained of herein affect the public interest.

           586.    As a direct and proximate result of Volkswagen’s violations of the North Carolina

    Act, Plaintiff Ryan Brown and the entire North Carolina Sub-Class have suffered injury-in-fact

    and/or actual damage.

           587.    Plaintiff Ryan Brown and the North Carolina Sub-Class members seek punitive

    damages against Volkswagen because Volkswagen’s conduct was malicious, willful, reckless,

    wanton, fraudulent and in bad faith.

           588.    Volkswagen fraudulently and willfully misrepresented the safety and reliability of

    the Class Vehicles, deceived North Carolina Sub-Class members on dangerous and material

    matters, and concealed material facts that only it knew, all to avoid the expense and public

    relations nightmare of correcting the myriad flaws in the Class Vehicles. Because Volkswagen’s

    conduct was malicious, willful, reckless, wanton, fraudulent and in bad faith, it warrants punitive

    damages.

           589.    The Plaintiffs and Sub-Class members seek an order for treble their actual

    damages, an order enjoining Volkswagen’s unlawful acts, costs, attorneys’ fees, and any other

    just and proper relief available under the North Carolina Act, N.C. Gen. Stat. § 75-16.

               J. Claims Brought on Behalf of the Ohio Sub-Class

                                               COUNT 21

                            Violation of the Consumer Sales Practices Act
                                  Ohio Rev. Code §§ 1345.01, et seq.

           590.    This claim is brought only on behalf of Nick Panopoulos and the entire Ohio

    Consumer Sub-Class against Volkswagen.


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           591.    Plaintiff Nick Panopoulos and the Ohio Sub-Class are “consumers” as that term is

    defined in Ohio Rev. Code § 1345.01(D), and their purchases and leases of the Class Vehicles

    were “consumer transactions” within the meaning of Ohio Rev. Code § 1345.01(A).

           592.    Volkswagen is a “supplier” as that term is defined in Ohio Rev. Code §

    1345.01(C). The Ohio Consumer Sales Practices Act (“Ohio CSPA”), Ohio Rev. Code §

    1345.02, broadly prohibits unfair or deceptive acts or practices in connection with a consumer

    transaction. Specifically, and without limitation of the broad prohibition, the Act prohibits

    suppliers from representing (i) that goods have characteristics or uses or benefits which they do

    not have; (ii) that their goods are of a particular quality or grade they are not; and (iii) that the

    subject of a consumer transaction has been supplied in accordance with a previous

    representation, if it has not. Id. Volkswagen’s conduct as alleged above and below constitutes

    unfair and/or deceptive consumer sales practices in violation of Ohio Rev. Code § 1345.02.

           593.    By failing to disclose and actively concealing the dangers and risks posed by the

    Class Vehicles, Volkswagen engaged in deceptive business practices prohibited by the Ohio

    CSPA, including: representing that the Class Vehicles have characteristics, uses, benefits, and

    qualities which they do not have; representing that they are of a particular standard, quality, and

    grade when they are not; representing that the subject of a transaction involving them has been

    supplied in accordance with a previous representation when it has not; and engaging in other

    unfair or deceptive acts or practices.

           594.    Volkswagen’s actions as set forth above occurred in the conduct of trade or

    commerce.




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              595.   In the course of its business, Volkswagen failed to disclose and actively concealed

    the dangers and risks posed by the Class Vehicles as described herein and otherwise engaged in

    activities with a tendency or capacity to deceive.

              596.   Volkswagen also engaged in unlawful trade practices by employing deception,

    deceptive acts or practices, fraud, misrepresentations or concealment, suppression or omission of

    any material fact with intent that others rely upon such concealment, suppression or omission, in

    connection with the sale of the Class Vehicles.

              597.   Volkswagen and its network of authorized dealers have been aware of the

    existence of the Defect and its potential dangers since at least 2010 by way of numerous public

    and private complaints about the Defect and subsequent malfunctions.

              598.   By failing to disclose and by actively concealing the Defect in the Class Vehicles,

    by marketing them as safe, reliable, and of high quality, and by presenting itself as a reputable

    manufacturer that values safety, Volkswagen engaged in unfair or deceptive business practices in

    violation of the Ohio CSPA. To ensure that consumers would purchase and/or lease the Class

    Vehicles, Volkswagen deliberately withheld the information about the propensity of the Defect

    to cause premature tire wear, irregular driving performance, and a variety of other complications,

    instead of addressing the Defect to ensure the comfort and protection of the consumers and

    vehicle occupants.

              599.   In the course of Volkswagen’s business, it willfully failed to disclose and actively

    concealed the dangerous risks posed by the many safety issues and serious defect discussed

    above. Volkswagen compounded the deception by repeatedly asserting that the Class Vehicles

    were safe, reliable, and of high quality, and by claiming to be reputable manufacturers that value

    safety.



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            600.   Volkswagen’s unfair or deceptive acts or practices, including these concealments,

    omissions, and suppressions of material facts, had a tendency or capacity to mislead, tended to

    create a false impression in consumers, were likely to and did in fact deceive reasonable

    consumers, including the Plaintiffs, about the true safety and reliability of the Class Vehicles, the

    quality of Volkswagen’s brands, and the true value of the Class Vehicles.

            601.   Volkswagen intentionally and knowingly misrepresented material facts regarding

    the Class Vehicles with an intention to mislead the Plaintiffs and the Ohio Sub-Class.

            602.   Volkswagen knew or should have known that its conduct violated the Ohio

    CSPA.

            603.   As alleged above, Volkswagen made material statements about the safety and

    reliability of the Class Vehicles that were either false or misleading.               Volkswagen’s

    representations, omissions, statements, and commentary have included selling and marketing the

    Class Vehicles as safe and reliable, despite its knowledge of the Defect or its failure to

    adequately investigate it.

            604.   To protect its profits and to avoid remediation costs and a public relations

    nightmare, Volkswagen concealed the dangers and risks posed by the Class Vehicles and their

    costly consequences, and allowed unsuspecting new and used car purchasers and lessees to

    continue to buy/lease the Class Vehicles, and allowed them to continue driving highly dangerous

    vehicles.

            605.   Volkswagen owed the Plaintiffs a duty to disclose the true safety and reliability of

    the Class Vehicles because Volkswagen:

                   d. Possessed exclusive knowledge of the dangers and risks posed by the

                       foregoing;



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                    e. Intentionally concealed the foregoing from the Plaintiffs; and/or

                    f. Made incomplete representations about the safety and reliability of the

                        foregoing generally, while purposefully withholding material facts from the

                        Plaintiffs that contradicted these representations.

            606.    Because Volkswagen fraudulently concealed the Defect in the Class Vehicles,

    resulting in a raft of negative publicity once the Defect finally began to be disclosed, the value of

    the Class Vehicles has greatly diminished. In light of the stigma attached to the Class Vehicles

    by Volkswagen’s conduct, they are now worth significantly less than they otherwise would be.

            607.    Volkswagen’s failure to disclose and active concealment of the dangers and risks

    posed by the Defect in the Class Vehicles were material to the Plaintiffs and the Ohio Sub-Class.

    A vehicle made by a reputable manufacturer of safe vehicles is worth more than an otherwise

    comparable vehicle made by a disreputable manufacturer of unsafe vehicles that conceals defects

    rather than promptly remedies them.

            608.    Plaintiff Nick Panopoulos and the entire Ohio Sub-Class suffered ascertainable

    loss caused by Volkswagen’s misrepresentations and its failure to disclose material information.

    Had they been aware of the Defect that existed in the Class Vehicles, and Volkswagen’s

    complete disregard for safety, the Plaintiffs either would have paid less for their vehicles or

    would not have purchased or leased them at all. The Plaintiffs did not receive the benefit of their

    bargain as a result of Volkswagen’s misconduct.

            609.    Volkswagen’s violations present a continuing risk to the Plaintiffs, the Ohio Sub-

    Class, as well as to the general public. Volkswagen’s unlawful acts and practices complained of

    herein affect the public interest.




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           610.      As a direct and proximate result of Volkswagen’s violations of the Ohio CSPA,

    Plaintiff Nick Panopoulos and the entire Ohio Sub-Class have suffered injury-in-fact and/or

    actual damage.

           611.      Plaintiff Nick Panopoulos and the Ohio Sub-Class members seek punitive

    damages against Volkswagen because its conduct was egregious. Volkswagen misrepresented

    the safety and reliability of several thousand Class Vehicles, concealed the Defect in several

    thousand of them, deceived the Ohio Sub-Class on material matters, and concealed material facts

    that only Volkswagen knew, all to avoid the expense and public relations nightmare of correcting

    the serious flaw in thousands of the Class Vehicles. Volkswagen’s egregious conduct warrants

    punitive damages.

           612.      As a result of the foregoing wrongful conduct of Volkswagen, Plaintiff Nick

    Panopoulos and the entire Ohio Sub-Class have been damaged in an amount to be proven at trial,

    and seek all just and proper remedies, including, but not limited to, actual and statutory damages,

    an order enjoining Volkswagen’s deceptive and unfair conduct, treble damages, court costs and

    reasonable attorneys’ fees, pursuant to Ohio Rev. Code § 1345.09, et seq.

               K. Claims Brought on Behalf of the Pennsylvania Sub-Class

                                               COUNT 22

               Violation of the Unfair Trade Practices and Consumer Protection Law
                                   Pa. Stat. Ann. §§ 201-1, et seq.

           613.      This claim is brought only on behalf of Teresa Garella and the entire

    Pennsylvania Consumer Sub-Class against Volkswagen.

           614.      The Plaintiffs purchased or leased their Class Vehicles containing the Defect

    primarily for personal, family or household purposes within the meaning of 73 P.S. § 201-9.2.




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           615.    All of the acts complained of herein were perpetrated by Volkswagen in the

    course of trade or commerce within the meaning of 73 P.S. § 201-2(3).

           616.    The Pennsylvania Unfair Trade Practices and Consumer Protection Law

    (“Pennsylvania CPL”) prohibits unfair or deceptive acts or practices, including: (i) “Representing

    that goods or services have … characteristics, … benefits or qualities that they do not have;” (ii)

    “Representing that goods or services are of a particular standard, quality or grade … if they are

    of another;” (iii) “Advertising goods or services with intent not to sell them as advertised;” and

    (iv) “Engaging in any other fraudulent or deceptive conduct which creates a likelihood of

    confusion or misunderstanding.” 73 P.S. § 201-2(4).

           617.    Volkswagen engaged in unlawful trade practices, including representing that the

    Class Vehicles have characteristics, uses, benefits, and qualities which they do not have;

    representing that they are of a particular standard and quality when they are not; advertising them

    with the intent not to sell or lease them as advertised; and engaging in any other fraudulent or

    deceptive conduct which creates a likelihood of confusion or of misunderstanding.

           618.    In the course of its business, Volkswagen failed to disclose and actively concealed

    the dangers and risks posed by the Class Vehicles as described herein and otherwise engaged in

    activities with a tendency or capacity to deceive.

           619.    Volkswagen also engaged in unlawful trade practices by employing deception,

    deceptive acts or practices, fraud, misrepresentations or concealment, suppression or omission of

    any material fact with intent that others rely upon such concealment, suppression or omission, in

    connection with the sale of the Class Vehicles.




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           620.    Volkswagen and its network of authorized dealers have been aware of the

    existence of the Defect and its potential dangers since at least 2010 by way of numerous public

    and private complaints about the Defect and subsequent malfunctions.

           621.    By failing to disclose and by actively concealing the Defect in the Class Vehicles,

    by marketing the Class Vehicles as safe, reliable, and of high quality, and by presenting itself as

    reputable manufacturers that value safety, Volkswagen engaged in unfair or deceptive business

    practices in violation of the Pennsylvania CPL. To ensure that consumers would purchase and/or

    lease the Class Vehicles, Volkswagen deliberately withheld the information about the propensity

    of the Defect to cause premature tire wear, irregular driving performance, and a variety of other

    complications, instead of addressing the Defect to ensure the protection and comfort of the

    consumers and vehicle occupants.

           622.    In the course of Volkswagen’s business, they willfully failed to disclose and

    actively concealed the dangerous risks posed by the many safety issues and serious defect

    discussed above. Volkswagen compounded the deception by repeatedly asserting that the Class

    Vehicles were safe, reliable, and of high quality, and by claiming to be reputable manufacturers

    that value safety.

           623.    Volkswagen’s unfair or deceptive acts or practices, including these concealments,

    omissions, and suppressions of material facts, had a tendency or capacity to mislead, tended to

    create a false impression in consumers, were likely to and did in fact deceive reasonable

    consumers, including the Plaintiffs, about the true safety and reliability of the Class Vehicles, the

    quality of Volkswagen’s brands, and the true value of the Class Vehicles.

           624.    Volkswagen intentionally and knowingly misrepresented material facts regarding

    the Class Vehicles with an intention to mislead the Plaintiffs and the Pennsylvania Sub-Class.



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            625.      Volkswagen knew or should have known that its conduct violated the

    Pennsylvania CPL.

            626.      As alleged above, Volkswagen made material statements about the safety and

    reliability of the Class Vehicles that were either false or misleading. Volkswagen’s

    representations, omissions, statements, and commentary have included selling and marketing the

    Class Vehicles as safe and reliable despite its knowledge of the Defect or its failure to adequately

    investigate it.

            627.      To protect its profits and to avoid remediation costs and a public relations

    nightmare, Volkswagen concealed the dangers and risks posed by the Class Vehicles and their

    costly consequences, and allowed unsuspecting new and used car purchasers and lessees to

    continue to buy/lease the Class Vehicles, and allowed them to continue driving highly dangerous

    vehicles.

            628.      Volkswagen owed the Plaintiffs a duty to disclose the true safety and reliability of

    the Class Vehicles because Volkswagen:

                      a. Possessed exclusive knowledge of the dangers and risks posed by the

                         foregoing;

                      b. Intentionally concealed the foregoing from the Plaintiffs; and/or

                      c. Made incomplete representations about the safety and reliability of the

                         foregoing generally, while purposefully withholding material facts from the

                         Plaintiffs that contradicted these representations.

            629.      Because Volkswagen fraudulently concealed the Defect in the Class Vehicles,

    resulting in a raft of negative publicity once the Defect finally began to be disclosed, the value of




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    the Class Vehicles has greatly diminished. In light of the stigma attached to the Class Vehicles

    by Volkswagen’s conduct, they are now worth significantly less than they otherwise would be.

           630.    Volkswagen’s failure to disclose and active concealment of the dangers and risks

    posed by the Defect in the Class Vehicles were material to the Plaintiffs and the Pennsylvania

    Sub-Class. A vehicle made by a reputable manufacturer of safe vehicles is worth more than an

    otherwise comparable vehicle made by a disreputable manufacturer of unsafe vehicles that

    conceals defects rather than promptly remedies them.

           631.    Plaintiff Teresa Garella and the entire Pennsylvania Sub-Class suffered

    ascertainable loss caused by Volkswagen’s misrepresentations and their failure to disclose

    material information. Had they been aware of the Defect that existed in the Class Vehicles, and

    Volkswagen’s complete disregard for safety, the Plaintiffs either would have paid less for their

    vehicles or would not have purchased or leased them at all. The Plaintiffs did not receive the

    benefit of their bargain as a result of Volkswagen’s misconduct.

           632.    Volkswagen’s violations present a continuing risk to the Plaintiffs, the

    Pennsylvania Sub-Class, as well as to the general public. Volkswagen’s unlawful acts and

    practices complained of herein affect the public interest.

           633.    As a direct and proximate result of Volkswagen’s violations of the Pennsylvania

    CPL, Plaintiff Teresa Garella and the entire Pennsylvania Sub-Class have suffered injury-in-fact

    and/or actual damage.

           634.    Volkswagen is liable to Plaintiff Teresa Garella and the Pennsylvania Sub-Class

    for treble their actual damages or $100.00, whichever is greater, and attorneys’ fees and costs. 73

    P.S. § 201-9.2(a). Plaintiff Teresa Garella and the Pennsylvania Sub-Class are also entitled to an




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    award of punitive damages given that Volkswagen’s conduct was malicious, wanton, willful,

    oppressive, and/or exhibited a reckless indifference to the rights of others.

                                                COUNT 23

                         Breach of the Implied Warranty of Merchantability
                                       13 PA. Stat. Ann. §2314

           635.    In the event the Court declines to certify a Nationwide Consumer Class under the

    Magnuson-Moss Warranty Act, this claim is brought only on behalf of Teresa Garella and the

    entire Pennsylvania Consumer Sub-Class against Volkswagen.

           636.    Volkswagen is and was at all relevant times a merchant with respect to motor

    vehicles within the meaning of 13 Pa. Stat. Ann. § 2104.

           637.    A warranty that the Class Vehicles were in merchantable condition was implied

    by law in the Class Vehicle transactions, pursuant to 13 Pa. Stat. Ann. § 2314.

           638.    The Class Vehicles, when sold and at all times thereafter, were not merchantable

    and are not fit for the ordinary purposes of providing reliable, durable, and safe transportation.

    Specifically, they are inherently defective and dangerous in that the Defect: (a) causes tires to

    prematurely wear; (b) causes uneven wear on tires; (c) causes vehicles to uncontrollably pull to

    one side; (d) causes discomfort for vehicle occupants; (e) minimizes friction between tires and

    the road, jeopardizing steering stability and vehicle performance; (f) allows sudden oscillations

    in the vehicle when traveling on uneven surfaces; and (g) does not allow for necessary correction

    and adjustment of the Vehicles’ front cambers.

           639.    Volkswagen was provided notice of these issues by its knowledge of the issues,

    by customer complaints, and by numerous individual letters and communications sent by the

    consumers.




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           640.    As a direct and proximate result of Volkswagen’s breach of the warranties of

    merchantability, Plaintiff Teresa Garella and the entire Pennsylvania Sub-Class have been

    damaged in an amount to be proven at trial.

               L. Claims Brought on Behalf of the Texas Sub-Class

                                               COUNT 24
                            Violation of the Deceptive Trade Practices Act
                               Tex. Bus. & Com. Code §§ 17.41, et seq.

           641.    This claim is brought only on behalf of Thomas Wilson, Jorge Cruz and the entire

    Texas Consumer Sub-Class against Defendants, Volkswagen.

           642.    Thomas Wilson, Jorge Cruz and the Texas Sub-Class are individuals, partnerships

    and corporations with assets of less than $25 million (or are controlled by corporations or entities

    with less than $25 million in assets). See Tex. Bus. & Com. Code § 17.41.

           643.    The Texas Deceptive Trade Practices-Consumer Protection Act (“Texas DTPA”)

    prohibits “[f]alse, misleading, or deceptive acts or practices in the conduct of any trade or

    commerce,” Tex. Bus. & Com. Code § 17.46(a), and an “unconscionable action or course of

    action,” which means “an act or practice which, to a consumer’s detriment, takes advantage of

    the lack of knowledge, ability, experience, or capacity of the consumer to a grossly unfair

    degree.” Tex. Bus. & Com. Code § 17.45(5); Tex. Bus. & Com. Code § 17.50(a)(3). Volkswagen

    has committed false, misleading, unconscionable, and deceptive acts or practices in the conduct

    of trade or commerce.

           644.    By failing to disclose and actively concealing the dangers and risks posed by the

    Class Vehicles, Volkswagen engaged in deceptive business practices prohibited by the Texas

    DTPA, including: representing that the Class Vehicles have characteristics, uses, benefits, and

    qualities which they do not have; representing that they are of a particular standard, quality, and


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    grade when they are not; advertising them with the intent not to sell or lease them as advertised;

    and engaging in any other fraudulent or deceptive conduct which creates a likelihood of

    confusion or of misunderstanding.

           645.    In the course of its business, Volkswagen failed to disclose and actively concealed

    the dangers and risks posed by the Class Vehicles as described herein and otherwise engaged in

    activities with a tendency or capacity to deceive.

           646.    Volkswagen also engaged in unlawful trade practices by employing deception,

    deceptive acts or practices, fraud, misrepresentations or concealment, suppression or omission of

    any material fact with intent that others rely upon such concealment, suppression or omission, in

    connection with the sale of the Class Vehicles.

           647.    Volkswagen and its network of authorized dealers have been aware of the

    existence of the Defect and its potential dangers since at least 2010 by way of numerous public

    and private complaints about the Defect and subsequent malfunctions.

           648.    By failing to disclose and by actively concealing the Defect in the Class Vehicles,

    by marketing the Class Vehicles as safe, reliable, and of high quality, and by presenting itself as

    reputable manufacturers that value safety, Volkswagen engaged in unfair or deceptive business

    practices in violation of the Texas DTPA. To ensure that consumers would purchase and/or lease

    the Class Vehicles, Volkswagen deliberately withheld the information about the propensity of

    the Defect to cause premature tire wear, irregular driving performance, and a variety of other

    complications, instead of addressing the Defect to ensure the protection and comfort of the

    consumers and vehicle occupants.

           649.    In the course of Volkswagen’s business, they willfully failed to disclose and

    actively concealed the dangerous risks posed by the many safety issues and serious defect



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    discussed above. Volkswagen compounded the deception by repeatedly asserting that the Class

    Vehicles were safe, reliable, and of high quality, and by claiming to be reputable manufacturers

    that value safety.

            650.   Volkswagen’s unfair or deceptive acts or practices, including these concealments,

    omissions, and suppressions of material facts, had a tendency or capacity to mislead, tended to

    create a false impression in consumers, were likely to and did in fact deceive reasonable

    consumers, including the Plaintiffs, about the true safety and reliability of Class Vehicles, the

    quality of Volkswagen’s brands, and the true value of the Class Vehicles.

            651.   Volkswagen intentionally and knowingly misrepresented material facts regarding

    the Class Vehicles with an intention to mislead the Plaintiffs and the Texas Sub-Class.

            652.   Volkswagen knew or should have known that its conduct violated the Texas

    DTPA.

            653.   As alleged above, Volkswagen made material statements about the safety and

    reliability of the Class Vehicles that were either false or misleading. Volkswagen’s

    representations, omissions, statements, and commentary have included selling and marketing the

    Class Vehicles as safe and reliable, despite its knowledge of the Defect or its failure to

    reasonably investigate it.

            654.   To protect its profits and to avoid remediation costs and a public relations

    nightmare, Volkswagen concealed the dangers and risks posed by the Class Vehicles and their

    costly consequences, and allowed unsuspecting new and used car purchasers and lessees to

    continue to buy/lease the Class Vehicles, and allowed them to continue driving highly dangerous

    vehicles.




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           655.    Volkswagen owed the Plaintiffs a duty to disclose the true safety and reliability of

    the Class Vehicles because Volkswagen:

                   a. Possessed exclusive knowledge of the dangers and risks posed by the

                       foregoing;

                   b. Intentionally concealed the foregoing from the Plaintiffs; and/or

                   c. Made incomplete representations about the safety and reliability of the

                       foregoing generally, while purposefully withholding material facts from the

                       Plaintiffs that contradicted these representations.

           656.    Because Volkswagen fraudulently concealed the Defect in Class Vehicles,

    resulting in a raft of negative publicity once the Defect finally began to be disclosed, the value of

    the Class Vehicles has greatly diminished. In light of the stigma attached to Class Vehicles by

    Volkswagen’s conduct, they are now worth significantly less than they otherwise would be.

           657.    Volkswagen’s failure to disclose and active concealment of the dangers and risks

    posed by the Defect in Class Vehicles were material to the Plaintiffs and the Texas Sub-Class. A

    vehicle made by a reputable manufacturer of safe vehicles is worth more than an otherwise

    comparable vehicle made by a disreputable manufacturer of unsafe vehicles that conceals defects

    rather than promptly remedies them.

           658.    Plaintiffs Thomas Wilson and Jorge Cruz, and the entire Texas Sub-Class suffered

    ascertainable loss caused by Volkswagen’s misrepresentations and its failure to disclose material

    information. Had they been aware of the Defect that existed in the Class Vehicles, and

    Volkswagen’s complete disregard for safety, the Plaintiffs either would have paid less for their

    vehicles or would not have purchased or leased them at all. The Plaintiffs did not receive the

    benefit of their bargain as a result of Volkswagen’s misconduct.



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            659.    Volkswagen’s violations present a continuing risk to the Plaintiffs, the Texas Sub-

    Class, as well as to the general public. Volkswagen’s unlawful acts and practices complained of

    herein affect the public interest.

            660.    As a direct and proximate result of Volkswagen’s violations of the Texas DTPA,

    Plaintiffs Thomas Wilson and Jorge Cruz, and the entire Texas Sub-Class have suffered injury-

    in-fact and/or actual damage.

            661.    Pursuant to Tex. Bus. & Com. Code § 17.50(a)(1) and (b), the Plaintiffs and the

    Texas Sub-Class seek monetary relief against Volkswagen measured as actual damages in an

    amount to be determined at trial, treble damages for Volkswagen’s knowing violations of the

    Texas DTPA, and any other just and proper relief available under the Texas DTPA. The

    Plaintiffs and the Texas Sub-Class also seek court costs and attorneys’ fees under § 17.50(d) of

    the Texas DTPA.

            662.    In accordance with Tex. Bus. & Com. Code § 17.505(a), Plaintiffs’ counsel, on

    behalf of the Plaintiffs, served Volkswagen with notice of its alleged violations of the Texas

    DTPA relating to the Class Vehicles purchased by the Plaintiffs and the Texas Sub-Class, and

    demanded that Volkswagen correct or agree to correct the actions described therein. If

    Volkswagen fails to do so, the Plaintiffs will amend this Amended Complaint as of right (or

    otherwise seek leave to amend this Amended Complaint) to include compensatory and monetary

    damages to which the Plaintiffs and the Class Members are entitled.




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                                               COUNT 25
                         Breach of the Implied Warranty of Merchantability
                                   Tex. Bus. & Com. Code § 2.314
           663.    In the event the Court declines to certify a Nationwide Consumer Class under the

    Magnuson-Moss Warranty Act, this claim is brought only on behalf of Thomas Wilson, Jorge

    Cruz, and the entire Texas Consumer Sub-Class against Defendants, Volkswagen.

           664.    Volkswagen is and was at all relevant times a merchant with respect to motor

    vehicles within the meaning of Tex. Bus. & Com. Code § 2.104.

           665.    A warranty that the Class Vehicles were in merchantable condition was implied

    by law in Class Vehicle transactions, pursuant to Tex. Bus. & Com. Code § 2.314.

           666.    Volkswagen impliedly warranted that the Class Vehicles, which Volkswagen

    designed, manufactured, sold, and/or leased, were merchantable, fit for the ordinary purposes for

    which they were intended to be used, and were not otherwise injurious to consumers and their

    vehicles. The ordinary purpose for which the Class Vehicles are used is, among other things, to

    drive and operate in a manner that does not unnecessarily and unreasonably damage the vehicle

    and expose its owners, occupants, and nearby motorists to needless damage, harm, and risk.

           667.    Volkswagen breached the implied warranty when it designed, manufactured,

    distributed, sold and leased the Class Vehicles. The Class Vehicles, when sold or leased and at

    all times thereafter, were not merchantable or fit for the ordinary purpose of providing reliable,

    durable, and safe transportation. Specifically, they are defective and dangerous in that the Defect:

    (a) causes tires to prematurely wear; (b) causes uneven wear on tires; (c) causes vehicles to

    uncontrollably pull to one side; (d) causes discomfort for vehicle occupants; (e) minimizes

    friction between tires and the road, jeopardizing steering stability and vehicle performance; (f)




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    allows sudden oscillations in the vehicle when traveling on uneven surfaces; and (g) does not

    allow for necessary correction and adjustment of the Vehicles’ front cambers.

           668.    Volkswagen and its network of authorized dealers have been aware of the

    existence of the Defect and its potential dangers since at least 2010 by way of numerous public

    and private complaints about the Defect and subsequent malfunctions.

           669.    As a direct and proximate result of Volkswagen’s breach of the warranties of

    merchantability and fitness for a particular purpose, Plaintiffs Thomas Wilson, Jorge Cruz, and

    the entire Texas Consumer Sub-Class have been damaged in an amount to be proven at trial.

               M. Claims Brought on Behalf of the Utah Sub-Class

                                                COUNT 26

                          Violation of the Utah Consumer Sales Practices Act
                                   Utah Code Ann. §§ 13-11-1 et seq.

           670.    This claim is brought only on behalf of Ismael Orrantia and the entire Utah

    Consumer Sub-Class against Defendants, Volkswagen.

           671.    Plaintiff Ismael Orrantia and the Utah Consumer Sub-Class are “consumers”

    within the meaning of the Utah Consumer Sales Practices Act (“UCSPA”), and their purchases

    and leases of the Class Vehicles were “consumer transactions” as that term is defined in Utah

    Code Ann. § 13-11-3(2).

           672.    Volkswagen is a “supplier” as that term is defined in Utah Code Ann. § 13-11-

    3(6). The Utah UCSPA broadly prohibits deceptive and unconscionable acts or practices in

    connection with a consumer transaction. Specifically, and without limitation of the broad

    prohibition, the Utah UCSPA prohibits suppliers from representing: (a) “that the subject of a

    consumer transaction has sponsorship, approval, performance characteristics, accessories, uses,

    or benefits, if it has not;” (b) “that the subject of a consumer transaction of a particular standard,


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    quality, grade, style, or model, if it is not;” and (e) “that the subject of a consumer transaction has

    been supplied in accordance with a previous representation, if it has not.”

           673.    By failing to disclose and actively concealing the dangers and risks posed by the

    Class Vehicles, Volkswagen engaged in deceptive business practices prohibited by the Utah

    UCSPA, including: representing that the Class Vehicles have characteristics, uses, benefits, and

    qualities which they do not have; representing that they are of a particular standard, quality, and

    grade when they are not; representing that the subject of a transaction involving them has been

    supplied in accordance with a previous representation when it has not; and engaging in other

    unfair or deceptive acts or practices.

           674.    Volkswagen’s actions as set forth above occurred in the conduct of trade or

    commerce.

           675.    In the course of its business, Volkswagen failed to disclose and actively concealed

    the dangers and risks posed by the Class Vehicles as described herein and otherwise engaged in

    activities with a tendency or capacity to deceive.

           676.    Volkswagen also engaged in unlawful trade practices by employing deception,

    deceptive acts or practices, fraud, misrepresentations or concealment, suppression or omission of

    any material fact with intent that others rely upon such concealment, suppression or omission, in

    connection with the sale of the Class Vehicles.

           677.    Volkswagen and its network of authorized dealers have been aware of the

    existence of the Defect and its potential dangers since at least 2010 by way of numerous public

    and private complaints about the Defect and subsequent malfunctions.

           678.    By failing to disclose and by actively concealing the Defect in the Class Vehicles,

    by marketing them as safe, reliable, and of high quality, and by presenting itself as a reputable



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    manufacturer that values safety, Volkswagen engaged in unfair or deceptive business practices in

    violation of the Utah UCSPA. To ensure that consumers would purchase and/or lease the Class

    Vehicles, Volkswagen deliberately withheld the information about the propensity of the Defect

    to cause premature tire wear, irregular driving performance, and a variety of other complications,

    instead of addressing the Defect to ensure the comfort and protection of the consumers and

    vehicle occupants.

              679.   In the course of Volkswagen’s business, it willfully failed to disclose and actively

    concealed the dangerous risks posed by the many safety issues and serious defect discussed

    above. Volkswagen compounded the deception by repeatedly asserting that the Class Vehicles

    were safe, reliable, and of high quality, and by claiming to be reputable manufacturers that value

    safety.

              680.   Volkswagen’s unfair or deceptive acts or practices, including these concealments,

    omissions, and suppressions of material facts, had a tendency or capacity to mislead, tended to

    create a false impression in consumers, were likely to and did in fact deceive reasonable

    consumers, including the Plaintiffs, about the true safety and reliability of the Class Vehicles, the

    quality of Volkswagen’s brands, and the true value of the Class Vehicles.

              681.   Volkswagen intentionally and knowingly misrepresented material facts regarding

    the Class Vehicles with an intention to mislead the Plaintiffs and the Utah Sub-Class.

              682.   Volkswagen knew or should have known that its conduct violated the Utah

    UCSPA.

              683.   As alleged above, Volkswagen made material statements about the safety and

    reliability of the Class Vehicles that were either false or misleading. Volkswagen’s

    representations, omissions, statements, and commentary have included selling and marketing the



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    Class Vehicles as safe and reliable, despite its knowledge of the Defect or its failure to

    adequately investigate it.

           684.    To protect its profits and to avoid remediation costs and a public relations

    nightmare, Volkswagen concealed the dangers and risks posed by the Class Vehicles and their

    costly consequences, and allowed unsuspecting new and used car purchasers and lessees to

    continue to buy/lease the Class Vehicles, and allowed them to continue driving highly dangerous

    vehicles.

           685.    Volkswagen owed the Plaintiffs a duty to disclose the true safety and reliability of

    the Class Vehicles because Volkswagen:

                   a. Possessed exclusive knowledge of the dangers and risks posed by the

                       foregoing;

                   b. Intentionally concealed the foregoing from the Plaintiffs; and/or

                   c. Made incomplete representations about the safety and reliability of the

                       foregoing generally, while purposefully withholding material facts from the

                       Plaintiffs that contradicted these representations.

           686.    Because Volkswagen fraudulently concealed the Defect in the Class Vehicles,

    resulting in a raft of negative publicity once the Defect finally began to be disclosed, the value of

    the Class Vehicles has greatly diminished. In light of the stigma attached to the Class Vehicles

    by Volkswagen’s conduct, they are now worth significantly less than they otherwise would be.

           687.    Volkswagen’s failure to disclose and active concealment of the dangers and risks

    posed by the Defect in the Class Vehicles were material to the Plaintiffs and the Utah Sub-Class.

    A vehicle made by a reputable manufacturer of safe vehicles is worth more than an otherwise




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    comparable vehicle made by a disreputable manufacturer of unsafe vehicles that conceals defects

    rather than promptly remedies them.

            688.    Plaintiff Ismael Orrantia and the entire Utah Sub-Class suffered ascertainable loss

    caused by Volkswagen’s misrepresentations and its failure to disclose material information. Had

    they been aware of the Defect that existed in the Class Vehicles, and Volkswagen’s complete

    disregard for safety, the Plaintiffs either would have paid less for their vehicles or would not

    have purchased or leased them at all. The Plaintiffs did not receive the benefit of their bargain as

    a result of Volkswagen’s misconduct.

            689.    Volkswagen’s violations present a continuing risk to the Plaintiffs, the Utah Sub-

    Class, as well as to the general public. Volkswagen’s unlawful acts and practices complained of

    herein affect the public interest.

            690.    As a direct and proximate result of Volkswagen’s violations of the Utah UCSPA,

    Plaintiff Ismael Orrantia and the entire Utah Sub-Class have suffered injury-in-fact and/or actual

    damage.

            691.    As a result of the foregoing wrongful conduct of Volkswagen, Plaintiff Ismael

    Orrantia and the entire Utah Sub-Class have been damaged in an amount to be proven at trial,

    and seek all just and proper remedies, including, but not limited to, actual and statutory damages,

    an order enjoining Volkswagen’s deceptive and unfair conduct, costs, and reasonable attorneys’

    fees, pursuant to Utah Code Ann. § 13-11-1 et seq.

                                               COUNT 27

                            Breach of Implied Warranty of Merchantability
                                     Utah Code Ann. § 70A-2-314




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           692.    In the event the Court declines to certify a Nationwide Consumer Class under the

    Magnuson-Moss Warranty Act, this claim is brought only on behalf of Ismael Orrantia and the

    entire Utah Consumer Sub-Class against Volkswagen.

           693.    Volkswagen is and was at all relevant times a merchant with respect to motor

    vehicles within the meaning of Utah Code Ann. § 70A-2-314.

           694.    A warranty that the Class Vehicles were in merchantable condition was implied

    by law in Class Vehicle transactions, pursuant to Utah Code Ann. § 70A-2-314.

           695.    Volkswagen impliedly warranted that the Class Vehicles, which Volkswagen

    designed, manufactured, sold, and/or leased, were merchantable, fit for the ordinary purposes for

    which they were intended to be used, and were not otherwise injurious to consumers and their

    vehicles. The ordinary purpose for which the Class Vehicles are used is, among other things, to

    drive and operate in a manner that does not unnecessarily and unreasonably damage the vehicle

    and expose its owners, occupants, and nearby motorists to needless damage, harm, and risk.

           696.    Volkswagen breached the implied warranty when it designed, manufactured,

    distributed, sold and leased the Class Vehicles. The Class Vehicles, when sold or leased and at

    all times thereafter, were not merchantable or fit for the ordinary purpose of providing reliable,

    durable, and safe transportation. Specifically, they are defective and dangerous in that the Defect:

    (a) causes tires to prematurely wear; (b) causes uneven wear on tires; (c) causes vehicles to

    uncontrollably pull to one side; (d) causes discomfort for vehicle occupants; (e) minimizes

    friction between tires and the road, jeopardizing steering stability and vehicle performance; (f)

    allows sudden oscillations in the vehicle when traveling on uneven surfaces; and (g) does not

    allow for necessary correction and adjustment of the Vehicles’ front cambers.




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           697.    Volkswagen and its network of authorized dealers have been aware of the

    existence of the Defect and its potential dangers since at least 2010 by way of numerous public

    and private complaints about the Defect and subsequent malfunctions.

           698.    As a direct and proximate result of Volkswagen’s breach of the warranties of

    merchantability and fitness for a particular purpose, Plaintiff Ismael Orrantia and the entire Utah

    Consumer Sub-Class have been damaged in an amount to be proven at trial.

               N. Claims Brought on Behalf of the Virginia Sub-Class

                                               COUNT 28
                          Violation of the Virginia Consumer Protection Act
                                  Va. Code Ann. §§ 59.1-196, et seq.

           699.    This claim is brought only on behalf of Sydnee Johnson and the entire Virginia

    Consumer Sub-Class against Volkswagen.

           700.    Volkswagen is a “supplier” as that term is defined in Va. Code Ann. § 59.1-198.

           701.    The purchases and leases of the Class Vehicles were “consumer transactions”

    within meaning of Va. Code Ann. § 59.1-198.

           702.    The Virginia Consumer Protection Act (“Virginia CPA”) lists prohibited

    “practices” which include: “5. Misrepresenting that good or services have certain

    characteristics;” “6. Misrepresenting that goods or services are of a particular standard, quality,

    grade style, or model;” “8. Advertising goods or services with intent not to sell them as

    advertised, or with intent not to sell at the price or upon the terms advertised;” “9. Making false

    or misleading statements of fact concerning the reasons for, existence of, or amounts of price

    reductions;” and “14. Using any other deception, fraud, or misrepresentation in connection with a

    consumer transaction.” Va. Code Ann. § 59.1-200. Volkswagen violated the Virginia CPA by

    misrepresenting that the Class Vehicles had certain quantities, characteristics, ingredients, uses,


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    or benefits; misrepresenting that they were of a particular standard, quality, and grade when they

    are not; advertising them with intent not to sell or lease them as advertised; and otherwise “using

    any other deception, fraud, false pretense, false promise, or misrepresentation in connection with

    a consumer transaction.

           703.    In the course of its business, Volkswagen failed to disclose and actively concealed

    the dangers and risks posed by the Class Vehicles as described herein and otherwise engaged in

    activities with a tendency or capacity to deceive.

           704.    Volkswagen also engaged in unlawful trade practices by employing deception,

    deceptive acts or practices, fraud, misrepresentations or concealment, suppression or omission of

    any material fact with intent that others rely upon such concealment, suppression or omission, in

    connection with the sale of the Class Vehicles.

           705.    Volkswagen and its network of authorized dealers have been aware of the

    existence of the Defect and its potential dangers since at least 2010 by way of numerous public

    and private complaints about the Defect and subsequent malfunctions.

           706.    By failing to disclose and by actively concealing the Defect in the Class Vehicles,

    by marketing them as safe, reliable, and of high quality, and by presenting itself as a reputable

    manufacturer that values safety, Volkswagen engaged in unfair or deceptive business practices in

    violation of the Virginia CPA. To ensure that consumers would purchase and/or lease the Class

    Vehicles, Volkswagen deliberately withheld the information about the propensity of the Defect

    to cause premature tire wear, irregular driving performance, and a variety of other complications,

    instead of addressing the Defect to ensure the comfort and protection of the consumers and

    vehicle occupants.




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              707.   In the course of Volkswagen’s business, it willfully failed to disclose and actively

    concealed the dangerous risks posed by the many safety issues and serious defect discussed

    above. Volkswagen compounded the deception by repeatedly asserting that the Class Vehicles

    were safe, reliable, and of high quality, and by claiming to be reputable manufacturers that value

    safety.

              708.   Volkswagen’s unfair or deceptive acts or practices, including these concealments,

    omissions, and suppressions of material facts, had a tendency or capacity to mislead, tended to

    create a false impression in consumers, were likely to and did in fact deceive reasonable

    consumers, including the Plaintiffs, about the true safety and reliability of Class Vehicles, the

    quality of Volkswagen’s brands, and the true value of the Class Vehicles.

              709.   Volkswagen intentionally and knowingly misrepresented material facts regarding

    the Class Vehicles with an intention to mislead the Plaintiffs and the Virginia Sub-Class.

              710.   Volkswagen knew or should have known that its conduct violated the Virginia

    CPA.

              711.   As alleged above, Volkswagen made material statements about the safety and

    reliability of the Class Vehicles that were either false or misleading. Volkswagen’s

    representations, omissions, statements, and commentary have included selling and marketing the

    Class Vehicles as safe and reliable, despite its knowledge of the Defect or its failure to

    adequately investigate it.

              712.   To protect its profits and to avoid remediation costs and a public relations

    nightmare, Volkswagen concealed the dangers and risks posed by the Class Vehicles and their

    costly consequences, and allowed unsuspecting new and used car purchasers and lessees to




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    continue to buy/lease the Class Vehicles, and allowed them to continue driving highly dangerous

    vehicles.

           713.    Volkswagen owed the Plaintiffs a duty to disclose the true safety and reliability of

    the Class Vehicles because Volkswagen:

                a. Possessed exclusive knowledge of the dangers and risks posed by the foregoing;

                b. Intentionally concealed the foregoing from the Plaintiffs; and/or

                c. Made incomplete representations about the safety and reliability of the foregoing

                   generally, while purposefully withholding material facts from the Plaintiffs that

                   contradicted these representations.

           714.    Because Volkswagen fraudulently concealed the Defect in Class Vehicles,

    resulting in a cascade of negative publicity once the Defect finally began to be disclosed, the

    value of the Class Vehicles has greatly diminished. In light of the stigma attached to Class

    Vehicles by Volkswagen’s conduct, they are now worth significantly less than they otherwise

    would be.

           715.    Volkswagen’s failure to disclose and active concealment of the dangers and risks

    posed by the Defect in Class Vehicles were material to the Plaintiffs and the Virginia Sub-Class.

    A vehicle made by a reputable manufacturer of safe vehicles is worth more than an otherwise

    comparable vehicle made by a disreputable manufacturer of unsafe vehicles that conceals defects

    rather than promptly remedies them.

           716.    Plaintiff Sydnee Johnson, and the Virginia Sub-Class suffered ascertainable loss

    caused by Volkswagen’s misrepresentations and its failure to disclose material information. Had

    the Class Members been aware of the Defect that existed in the Class Vehicles and

    Volkswagen’s complete disregard for safety, the Plaintiffs either would have paid less for their



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    vehicles or would not have purchased or leased them at all. The Plaintiffs and the other Class

    Members did not receive the benefit of their bargain as a result of Volkswagen’s misconduct.

           717.      Volkswagen’s violations present a continuing risk to the Plaintiff, Virginia Sub-

    Class members, as well as to the general public. After all, the Plaintiff, Virginia Sub-Class

    members, will continue to own and lease a vehicle with an Defect and will continue to be

    exposed to the dangers posed by cupped and uneven tires, and will continue to own and lease

    vehicles whose value is diminished by the presence of the Defect. Volkswagen’s unlawful acts

    and practices complained of herein affect the public interest.

           718.      As a direct and proximate result of Volkswagen’s violations of the Virginia CPA,

    Plaintiff Sydnee Johnson and the entire Virginia Sub-Class have suffered injury-in-fact and/or

    actual damage.

           719.      Pursuant to Va. Code Ann. § 59.1-204, the Plaintiffs and the Virginia Sub-Class

    seek monetary relief against Volkswagen measured as the greater of (a) actual damages in an

    amount to be determined at trial and (b) statutory damages in the amount of $500 for each

    Plaintiff and each Virginia Sub-Class member. Because Volkswagen’s conduct was committed

    willfully and knowingly, the Plaintiffs are entitled to recover, for each Plaintiff and each Virginia

    Sub-Class member, the greater of (a) three times actual damages or (b) $1,000.

           720.      The Plaintiffs and the Sub-Class members seek an order enjoining Volkswagen’s

    unfair, unlawful, and/or deceptive practices, costs, attorneys’ fees, and any other just and proper

    relief available under General Business Law § 59.1-204, et seq.

                                                COUNT 29
                          Breach of the Implied Warranty of Merchantability
                                        Va. Code Ann. § 8.2-314




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           721.    In the event the Court declines to certify a Nationwide Consumer Class under the

    Magnuson-Moss Warranty Act, this claim is brought only on behalf of Sydnee Johnson and the

    entire Virginia Consumer Sub-Class against Defendants, Volkswagen.

           722.    Volkswagen is and was at all relevant times a merchant with respect to motor

    vehicles within the meaning of Va. Code Ann. § 8.2-314.

           723.    A warranty that the Class Vehicles were in merchantable condition was implied

    by law in Class Vehicle transactions, pursuant to Va. Code Ann. § 8.2-314.

           724.    The Class Vehicles, when sold and at all times thereafter, were not merchantable

    and are not fit for the ordinary purpose of providing reliable, durable, and safe transportation.

    Specifically, they are inherently defective and dangerous in that the Defect: (a) causes tires to

    prematurely wear; (b) causes uneven wear on tires; (c) causes vehicles to uncontrollably pull to

    one side; (d) causes discomfort for vehicle occupants; (e) minimizes friction between tires and

    the road, jeopardizing steering stability and vehicle performance; (f) allows sudden oscillations

    in the vehicle when traveling on uneven surfaces; and (g) does not allow for necessary correction

    and adjustment of the Vehicles’ front cambers.

           725.    Volkswagen was provided notice of these issues by its knowledge of the issues,

    by customer complaints, and by numerous individual letters and communications sent by the

    consumers.

           726.    As a direct and proximate result of Volkswagen’s breach of the warranties of

    merchantability, Plaintiff Sydnee Johnson and the entire Virginia Sub-Class have been damaged

    in an amount to be proven at trial.




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                                           PRAYER FOR RELIEF

            727.       The Plaintiffs, on behalf of themselves and all others similarly situated,

    respectfully request that the Court enter judgment against Volkswagen as follows:

            728.       An order certifying the proposed Classes, designating the Plaintiffs as the named

    representatives of the Classes, designating the undersigned as Class Counsel, and making such

    further orders for the protection of Class Members as the Court deems appropriate, under Fed. R.

    Civ. P. 23.

            729.       A declaration that the Class Vehicles contain the Defect;

            730.       A declaration that Volkswagen is financially responsible for notifying all Class

    Members about the defective nature of the Class Vehicles;

            731.       An order enjoining Volkswagen to desist from further deceptive distribution,

    sales, and lease practices with respect to the Class Vehicles, and such other injunctive relief that

    the Court deems just and proper;

            732.       An award to the Plaintiffs and Class Members of compensatory, exemplary, and

    punitive remedies and damages and statutory penalties, including interest, in an amount to be

    proven at trial;

            733.       An award to the Plaintiffs and the Class Members for the return of the purchase or

    lease prices of the Class Vehicles, with interest from the time it was paid, for the reimbursement

    of the reasonable expenses occasioned by the sale, for damages, and for reasonable attorney fees;

            734.       A declaration that Volkswagen must disgorge, for the benefit of the Plaintiffs and

    the Class Members, all or part of the ill-gotten profits it received from the sale or lease of the

    Class Vehicles, or make full restitution to the Plaintiffs and the Class Members;

            735.       An award of attorneys’ fees and costs, as allowed by law;



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            736.    An award of prejudgment and post judgment interest, as provided by law;

            737.    Leave to amend this Amended Complaint to conform to the evidence produced at

    trial; and

            738.    Such other relief as may be appropriate under the circumstances.

                                        DEMAND FOR JURY TRIAL

            Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, the Plaintiffs demand a

    jury trial as to all issues triable by a jury.

    DATED: November 20, 2017

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